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                 EXHIBIT A
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SOUND RECORDINGS FOR WHICH PLAINTIFFS SEEK STATUTORY DAMAGES

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                                                                                                        Registration   Publication       Registration      Infringement Infringement
               Plaintiff                       Artist                      Track Title                   Number           Date              Date             BeginDate    Enddate
Arista Music                     Christina Aguilera       Back In The Day                           SR0000393677                8/2/06           9/11/06           2/3/15      6/30/16
Arista Music                     Christina Aguilera       Genie In A Bottle                         SR0000274004               8/10/99           12/9/99           5/9/14       2/5/18
Arista Music                     Christina Aguilera       On Our Way                                SR0000393677                8/2/06           9/11/06           2/3/15      6/30/16
Arista Music                     Foo Fighters             A Matter Of Time                          SR0000677691               4/12/11           6/13/11           5/7/12      2/16/18
Arista Music                     Foo Fighters             Another Round                             SR0000396409               11/3/06           12/1/06          2/21/16     12/10/17
Arista Music                     Foo Fighters             Arlandria                                 SR0000677691               4/12/11           6/13/11           5/5/12      2/12/17
Arista Music                     Foo Fighters             Back & Forth                              SR0000677691               4/12/11           6/13/11           5/7/12      2/12/17
Arista Music                     Foo Fighters             Best Of You                               SR0000734391               5/28/05           6/13/11           5/8/12      2/16/18
Arista Music                     Foo Fighters             Congregation                              SR0000779002              11/10/14           12/2/14          1/26/15      2/12/17
Arista Music                     Foo Fighters             Dear Rosemary                             SR0000677691               4/12/11           6/13/11           5/5/12      2/12/17
Arista Music                     Foo Fighters             Everlong                                  SR0000297253                5/8/97           5/15/01          6/10/15     12/28/17
Arista Music                     Foo Fighters             Everlong                                  SR0000396409               11/3/06           12/1/06          2/21/16     12/10/17
Arista Music                     Foo Fighters             February Stars                            SR0000396409               11/3/06           12/1/06           5/9/12      2/16/18
Arista Music                     Foo Fighters             I Should Have Known                       SR0000677691               4/12/11           6/13/11           5/7/12      2/12/17
Arista Music                     Foo Fighters             In The Clear                              SR0000779002              11/10/14           12/2/14         12/16/14      2/12/17
Arista Music                     Foo Fighters             Learn To Fly                              SR0000285034                4/4/00           8/28/00         10/27/15       2/5/18
Arista Music                     Foo Fighters             Let It Die                                SR0000617325               9/21/07           11/5/07           5/8/12      2/16/18
Arista Music                     Foo Fighters             Miss The Misery                           SR0000677691               4/12/11           6/13/11           5/7/12      2/12/17
Arista Music                     Foo Fighters             Monkey Wrench                             SR0000297253                5/8/97           5/15/01           5/9/12     12/22/17
Arista Music                     Foo Fighters             My Hero                                   SR0000297253                5/8/97           5/15/01           5/9/12       2/5/18
Arista Music                     Foo Fighters             New Way Home                              SR0000297253                5/8/97           5/15/01           5/9/12      2/16/18
Arista Music                     Foo Fighters             Outside                                   SR0000779002              11/10/14           12/2/14         12/16/14      2/12/17
Arista Music                     Foo Fighters             Over And Out                              SR0000396409               11/3/06           12/1/06          2/21/16     12/10/17
Arista Music                     Foo Fighters             Rope                                      SR0000677691               4/12/11           6/13/11           5/5/12      2/16/18
Arista Music                     Foo Fighters             See You                                   SR0000297253                5/8/97           5/15/01           5/9/12     12/10/17
Arista Music                     Foo Fighters             Something From Nothing                    SR0000779003              10/17/14           12/2/14         11/21/14      2/12/17
Arista Music                     Foo Fighters             The Feast and The Famine                  SR0000779001               12/2/14           12/2/14         12/16/14      2/12/17
Arista Music                     Foo Fighters             These Days                                SR0000677691               4/12/11           6/13/11           5/5/12      2/16/18
Arista Music                     Foo Fighters             Up In Arms                                SR0000297253                5/8/97           5/15/01           5/9/12     12/10/17
Arista Music                     Foo Fighters             Walk                                      SR0000677691               4/12/11           6/13/11           5/9/12      2/12/17
Arista Music                     Foo Fighters             Wheels                                    SR0000636262              10/30/09           1/11/10           9/7/12     12/22/17
Arista Music                     Foo Fighters             Wind Up                                   SR0000297253                5/8/97           5/15/01           5/9/12      2/16/18
Arista Music                     Kings Of Leon            Camaro                                    SR0000609656               3/30/06            8/8/07          9/12/12       1/9/18
Arista Music                     Kings Of Leon            Charmer                                   SR0000609656               3/30/06            8/8/07          9/12/12       1/9/18
Arista Music                     Kings Of Leon            King Of The Rodeo                         SR0000368962               2/22/05           3/15/05          5/30/12       1/9/18
Arista Music                     Kings Of Leon            McFearless                                SR0000609656               3/30/06            8/8/07          6/19/12       1/9/18
Arista Music                     Kings Of Leon            Milk                                      SR0000368962               2/22/05           3/15/05          5/30/12       1/9/18
Arista Music                     Kings Of Leon            Pistol Of Fire                            SR0000368962               2/22/05           3/15/05          5/30/12       1/9/18
Arista Music                     Kings Of Leon            Ragoo                                     SR0000609656               3/30/06            8/8/07          9/12/12       1/9/18
Arista Music                     Kings Of Leon            Taper Jean Girl                           SR0000368962               2/22/05           3/15/05          5/30/12       1/9/18
Arista Music                     Kings Of Leon            Wasted Time                               SR0000330401               2/18/03            4/7/03          9/12/12       1/9/18
Arista Music                     The Strokes              Reptilia                                  SR0000342282              10/28/03          10/28/03          11/2/14       1/9/18
Arista Music                     The Strokes              The End Has No End                        SR0000342282              10/28/03          10/28/03         10/20/15       1/9/18
Arista Music                     The Strokes              The Way It Is                             SR0000342282              10/28/03          10/28/03         10/20/15       1/9/18
Arista Music                     The Strokes              Under Control                             SR0000342282              10/28/03          10/28/03          9/17/15       1/9/18
Arista Music                     The Strokes              You Talk Way Too Much                     SR0000342282              10/28/03          10/28/03          7/10/15       1/9/18
Arista Music                     Tyrese                   Do You Need                               SR0000237788               9/15/98          11/18/98          5/30/14     11/19/17
                                                                                                                       SR0000320120 /    SR0000320120 /
                                                                                                                          2002-02-14,       2002-08-13,
                                                                                                    SR0000320120 &     SR0000366945 /    SR0000366945 /
Arista Music                     Tyrese                   Get Up On It                              SR0000366945                   n/a       2004-10-18           5/30/14      4/29/18
Arista Music                     Tyrese                   Give Love A Try                           SR0000237788              9/15/98          11/18/98           5/30/14      4/29/18
Arista Music                     Tyrese                   Sweet Lady                                SR0000237788              9/15/98          11/18/98           5/30/14     11/19/17
Arista Records LLC               Brooks & Dunn            Rock My World (Little Country Girl)       SR0000168005              2/17/93           4/30/93           8/20/13       3/7/18
                                                                                                                       SR0000264091 /    SR0000264091 /
                                                                                                                          1998-09-29,       1999-02-01,
                                                                                                    SR0000264091 &     SR0000264092 /    SR0000264092 /
Arista Records LLC               OutKast                  Aquemini                                  SR0000264092           1999-02-01        1999-02-01           6/13/14       3/9/18
Arista Records LLC               OutKast                  Flip Flop Rock                            SR0000340520              9/23/03           10/6/03           12/5/14       3/9/18
Arista Records LLC               OutKast                  GhettoMusick                              SR0000340520              9/23/03           10/6/03            6/3/14      7/21/17
Arista Records LLC               OutKast                  Love Hater                                SR0000340520              9/23/03           10/6/03          11/23/14       3/8/18
                                                                                                                       SR0000264091 /    SR0000264091 /
                                                                                                                          1998-09-29,       1999-02-01,
                                                                                                    SR0000264091 &     SR0000264092 /    SR0000264092 /
Arista Records LLC               OutKast                  Rosa Parks                                SR0000264092           1999-02-01        1999-02-01           6/13/14       3/9/18
Arista Records LLC               OutKast                  Roses                                     SR0000340520              9/23/03           10/6/03           6/13/14       3/9/18
Arista Records LLC               OutKast                  Speakerboxxx: Bust                        SR0000340520              9/23/03           10/6/03           12/2/14       3/8/18
Arista Records LLC               OutKast                  Speakerboxxx: Tomb Of The Boom            SR0000340520              9/23/03           10/6/03           12/2/14       3/8/18
Arista Records LLC               OutKast                  Speakerboxxx: Unhappy                     SR0000340520              9/23/03           10/6/03          12/15/14      7/21/17
                                                                                                                       SR0000264091 /    SR0000264091 /
                                                                                                                          1998-09-29,       1999-02-01,
                                                                                                    SR0000264091 &     SR0000264092 /    SR0000264092 /
Arista Records LLC               OutKast                  SpottieOttieDopaliscious                  SR0000264092           1999-02-01        1999-02-01           7/19/14     12/10/17
Arista Records LLC               OutKast                  The Love Below: She Lives In My Lap       SR0000340520              9/23/03           10/6/03          11/23/14       3/9/18
Arista Records LLC               OutKast                  The Way You Move                          SR0000340520              9/23/03           2/13/04            6/3/14      3/12/18
Arista Records LLC               OutKast                  Unhappy                                   SR0000340520              9/23/03           10/6/03            6/3/14      7/21/17
Arista Records LLC               Run-DMC                  Walk This Way                             SR0000124846              5/14/86          12/13/90           7/10/13     12/28/17
Arista Records LLC               Whitney Houston          Where Do Broken Hearts Go                 SR0000089966              4/28/87           3/14/88          11/23/13       2/4/18
Atlantic Recording Corporation   Brandy                   Talk About Our Love (feat. Kanye West)    SR0000370673                6/9/04            3/1/05           5/7/16      5/31/16
Atlantic Recording Corporation   Brett Eldredge           Mean To Me                                SR0000751747                8/6/13          4/30/14           11/8/15      6/27/16
                                                                                                                       SR0000715738 /    SR0000715738 /
                                                                                                                          2012-12-11,       2013-02-19,
                                                                                                    SR0000715738,      SR0000756206 /    SR0000756206 /
Atlantic Recording Corporation   Bruno Mars               Gorilla                                   SR0000756206           2012-12-11        2014-10-14           2/14/13      2/23/18




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                                                                                                               Registration   Publication       Registration      Infringement Infringement
              Plaintiff                          Artist                     Track Title                         Number           Date              Date             BeginDate    Enddate
                                                                                                                              SR0000715738 /    SR0000715738 /
                                                                                                                                 2012-12-11,        2013-02-19,
                                                                                                           SR0000715738,      SR0000756206 /    SR0000756206 /
Atlantic Recording Corporation   Bruno Mars                 If I Knew                                      SR0000756206           2012-12-11         2014-10-14         10/11/13      2/16/18
                                                                                                                              SR0000715738 /    SR0000715738 /
                                                                                                                                 2012-12-11,        2013-02-19,
                                                                                                           SR0000715738,      SR0000756206 /    SR0000756206 /
Atlantic Recording Corporation   Bruno Mars                 Natalie                                        SR0000756206           2012-12-11         2014-10-14           1/8/14      2/24/18
                                                                                                                              SR0000715738 /    SR0000715738 /
                                                                                                                                 2012-12-11,        2013-02-19,
                                                                                                           SR0000715738,      SR0000756206 /    SR0000756206 /
Atlantic Recording Corporation   Bruno Mars                 Show Me                                        SR0000756206           2012-12-11         2014-10-14         10/11/13      2/25/18
Atlantic Recording Corporation   Bruno Mars                 Treasure                                       SR0000715738             12/11/12            2/19/13          2/14/13      6/25/17
                                                                                                                              SR0000715738 /    SR0000715738 /
                                                                                                                                 2012-12-11,        2013-02-19,
                                                                                                           SR0000715738,      SR0000756206 /    SR0000756206 /
Atlantic Recording Corporation   Bruno Mars                 When I Was Your Man                            SR0000756206           2012-12-11         2014-10-14           3/6/13      12/4/17
                                                                                                                              SR0000715738 /    SR0000715738 /
                                                                                                                                 2012-12-11,        2013-02-19,
                                                                                                           SR0000715738,      SR0000756206 /    SR0000756206 /
Atlantic Recording Corporation   Bruno Mars                 Young Girls                                    SR0000756206           2012-12-11         2014-10-14          2/14/13      2/25/18
                                                                                                                                                SR0000376828 /
                                                                                                                                                    2005-08-17,
                                                                                                           SR0000376828,      SR0000376828 /    SRu000573811 /
Atlantic Recording Corporation   Coldplay                   Talk                                           SRu000573811           2005-06-07         2005-03-10          3/27/16      2/12/18
Atlantic Recording Corporation   Gnarls Barkley             Crazy                                          SR0000398345              4/17/06           10/27/06          12/9/14     12/22/17
Atlantic Recording Corporation   INXS                       The Loved One (LP Version)                     SR0000085232             10/17/87           10/29/87          8/23/12      2/11/17
                                                            Adoration Of The Magi (feat. Crystal "Røvél"
Atlantic Recording Corporation   Lupe Fiasco                Torres)                                        SR0000768374              1/20/15             7/9/15           7/6/16       3/8/17
                                                                                                                              SR0000704469 /    SR0000704469 /
                                                                                                                                 2011-03-08,       2012-06-01,
                                                                                                           SR0000704469,      SR0000704967 /    SR0000704967 /
Atlantic Recording Corporation   Lupe Fiasco                Beautiful Lasers (2 Ways) [feat. MDMA]         SR0000704967           2011-03-08        2012-06-01           8/17/13      7/25/16
                                                            Chopper (feat. Billy Blue, Buk of
                                                            Psychodrama, Trouble, Trae Tha Truth, Fam
Atlantic Recording Corporation   Lupe Fiasco                Lay Glasses Malone)                            SR0000768374               1/20/15            7/9/15           7/6/16       3/8/17
Atlantic Recording Corporation   Lupe Fiasco                Coming Up (feat. MDMA)                         SR0000704469                3/8/11            6/1/12          8/17/13      7/25/16
Atlantic Recording Corporation   Lupe Fiasco                Deliver                                        SR0000768374               1/20/15            7/9/15           7/6/16       3/8/17
                                                            Madonna (And Other Mothers In The Hood)
Atlantic Recording Corporation   Lupe Fiasco                [feat. Nikki Jean]                             SR0000768374               1/20/15            7/9/15           7/6/16       3/8/17
                                                                                                                              SR0000704469 /    SR0000704469 /
                                                                                                                                 2011-03-08,       2012-06-01,
                                                                                                           SR0000704469,      SR0000704967 /    SR0000704967 /
Atlantic Recording Corporation   Lupe Fiasco                Never Forget You (feat. John Legend)           SR0000704967           2011-03-08        2012-06-01           8/17/13      7/25/16
Atlantic Recording Corporation   Matchbox Twenty            Disease                                        SR0000345857              11/4/02           1/20/04           5/31/14      6/26/16
Atlantic Recording Corporation   Matchbox Twenty            Push                                           SR0000227755              9/16/96           11/1/96           5/31/14     12/11/17
Atlantic Recording Corporation   Meek Mill                  Amen (feat. Drake)                             SRu001109021                   n/a         12/11/12           10/9/13      8/11/16
Atlantic Recording Corporation   Meek Mill                  Burn (feat. Big Sean)                          SRu001109021                   n/a         12/11/12           10/9/13      8/11/16
Atlantic Recording Corporation   Meek Mill                  Freak Show (feat. Sam Sneak 2 Chainz)          SRu001109021                   n/a         12/11/12           10/9/13      8/11/16
Atlantic Recording Corporation   Meek Mill                  Lay Up (feat. Wale, Rick Ross Trey Songz)      SRu001109021                   n/a         12/11/12           8/12/15       3/5/16
                                                            Maybach Curtains (feat. Nas, John Legend
Atlantic Recording Corporation   Meek Mill                  Rick Ross)                                     SRu001109021                   n/a         12/11/12           10/9/13      8/11/16
Atlantic Recording Corporation   Phil Collins               In The Air Tonight                             SR0000024682              2/17/81           2/20/81          10/13/14      2/12/18
Atlantic Recording Corporation   Phil Collins               Only You Know And I Know                       SR0000060788              2/11/85           2/22/85            4/8/14      9/21/17
                                                                                                                              SR0000656475 /    SR0000656475 /
                                                                                                                                 2008-10-09,       2009-06-15,
                                                                                                           SR0000656475,      SR0000715076 /    SR0000715076 /
Atlantic Recording Corporation   Plies                      Heard Of Me                                    SR0000715076           2008-12-16        2013-02-20          11/22/14      1/17/15
                                                                                                                              SR0000656475 /    SR0000656475 /
                                                                                                                                 2008-10-09,       2009-06-15,
                                                                                                           SR0000656475,      SR0000715076 /    SR0000715076 /
Atlantic Recording Corporation   Plies                      Make A Movie                                   SR0000715076           2008-12-16        2013-02-20          11/22/14      1/17/15
Atlantic Recording Corporation   Santigold                  Banshee                                        SR0000780293              2/26/16           3/16/16            7/8/16      1/28/17
Atlantic Recording Corporation   Shinedown                  Cyanide Sweet Tooth Suicide                    SR0000673788             11/22/10           3/24/11            5/4/14     12/19/17
Atlantic Recording Corporation   Shinedown                  Fake                                           SR0000393740              9/19/05          10/13/06           3/22/14     10/11/17
Atlantic Recording Corporation   Skid Row                   I Remember You                                 SR0000103783              1/16/89             4/7/89          5/14/14      11/4/17
Atlantic Recording Corporation   Skid Row                   Youth Gone Wild                                SR0000103783              1/16/89             4/7/89          5/14/14      11/4/17
Atlantic Recording Corporation   T.I.                       Hello (feat. CeeLo Green)                      SR0000715739              2/19/13           2/19/13           10/5/13      8/21/17
Atlantic Recording Corporation   T.I.                       Sorry (feat. Andre 3000)                       SR0000715739              2/19/13           2/19/13           10/5/13      8/21/17
Atlantic Recording Corporation   T.I.                       Wildside (feat. A$AP Rocky)                    SR0000715739              2/19/13           2/19/13           10/5/13      8/21/17
Atlantic Recording Corporation   Testament                  Agony                                          SR0000144072              5/12/92             6/9/92         12/28/14       5/8/17
Atlantic Recording Corporation   Testament                  Return To Serenity                             SR0000144072              5/12/92             6/9/92         12/28/14       5/8/17
Atlantic Recording Corporation   Testament                  The Sermon (LP Version)                        SR0000144072              5/12/92             6/9/92         12/28/14       5/8/17
Atlantic Recording Corporation   The Bravery                Ours                                           SR0000705933                6/8/10          6/26/12           9/27/14      9/27/14
Atlantic Recording Corporation   Trey Songz                 All We Do                                      SR0000766386                7/1/14          4/14/15            6/2/16       7/9/16
Atlantic Recording Corporation   Trey Songz                 Foreign                                        SR0000766386                7/1/14          4/14/15          10/24/15       7/9/16
Atlantic Recording Corporation   Trey Songz                 Touchin, Lovin (feat. Nicki Minaj)             SR0000766386                7/1/14          4/14/15          10/24/15       7/9/16
Atlantic Recording Corporation   Trey Songz                 Y.A.S.                                         SR0000766386                7/1/14          4/14/15            6/2/16       7/9/16
Atlantic Recording Corporation   Uncle Kracker              Hey Hey Hey                                    SR0000657108              9/15/09             9/3/10          4/15/15     10/19/16
Atlantic Recording Corporation   Wale                       Clappers (feat. Nicki Minaj Juicy J)           SR0000734288              6/25/13           7/22/13           10/1/13     11/16/17
                                                                                                                              SR0000769363 /    SR0000769363 /
                                                                                                                                 2015-03-31,       2015-07-14,
                                                                                                           SR0000769363,      SR0000769365 /    SR0000769365 /
Atlantic Recording Corporation   Wale                       The Girls On Drugs                             SR0000769365           2015-03-31        2015-07-14           6/26/16       6/7/17




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                                                                                                                    Registration   Publication       Registration      Infringement Infringement
              Plaintiff                               Artist                     Track Title                         Number           Date              Date             BeginDate    Enddate
                                                                                                                                   SR0000769363 /    SR0000769363 /
                                                                                                                                      2015-03-31,       2015-07-14,
                                                                                                                SR0000769363,      SR0000769365 /    SR0000769365 /
Atlantic Recording Corporation        Wale                       The Glass Egg                                  SR0000769365           2015-03-31        2015-07-14           4/15/15       6/7/17
                                                                                                                                   SR0000769363 /    SR0000769363 /
                                                                                                                                      2015-03-31,       2015-07-14,
                                                                                                                SR0000769363,      SR0000769365 /    SR0000769365 /
Atlantic Recording Corporation        Wale                       The Helium Balloon                             SR0000769365           2015-03-31        2015-07-14           6/26/16       6/7/17
                                                                                                                                   SR0000769363 /    SR0000769363 /
                                                                                                                                      2015-03-31,       2015-07-14,
                                                                                                                SR0000769363,      SR0000769365 /    SR0000769365 /
Atlantic Recording Corporation        Wale                       The Matrimony (feat. Usher)                    SR0000769365           2015-03-31        2015-07-14            5/1/16     12/19/17
                                                                                                                                   SR0000769363 /    SR0000769363 /
Atlantic Recording Corporation        Wale                       The Middle Finger                              SR0000769363           2015-03-31        2015-07-14           6/26/16       6/7/17
Atlantic Recording Corporation        Willie Nelson              Whiskey River                                  N-6971                      6/1/72         12/19/78           5/17/16     10/21/17
Atlantic Recording Corporation        Winger                     Easy Come Easy Go                              SR0000121022                7/9/90          9/10/90           7/30/16      7/30/16
Atlantic Recording Corporation        Winger                     Seventeen                                      SR0000093720              7/11/88           7/18/88           1/17/15      7/30/16
                                                                                                                                   SR0000780218 /    SR0000780218 /
                                                                                                                                      2014-08-19,       2015-04-13,
                                                                                                                SR0000780218,      SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation        Wiz Khalifa                Hope (feat. Ty Dolla $ign)                     SR0000780234           2014-08-19        2015-04-13           4/19/16     12/31/17
                                                                                                                                   SR0000780218 /    SR0000780218 /
                                                                                                                                      2014-08-19,       2015-04-13,
                                                                                                                SR0000780218,      SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation        Wiz Khalifa                House In The Hills (feat. Curren$y)            SR0000780234           2014-08-19        2015-04-13           4/19/16     12/31/17
Atlantic Recording Corporation        Wiz Khalifa                Medicated (feat. Chevy Woods Juicy J)          SR0000715951              12/4/12           2/19/13          10/21/13      7/10/17
                                                                                                                                   SR0000703961 /    SR0000703961 /
                                                                                                                                      2011-03-29,       2012-06-01,
                                                                 Middle Of You (feat. Chevy Woods, Nikkiya      SR0000703961,      SR0000703969 /    SR0000703969 /
Atlantic Recording Corporation        Wiz Khalifa                and MDMA) [Bonus Track]                        SR0000703969           2011-03-29        2012-06-01            4/4/14      7/10/17
                                                                                                                                   SR0000780218 /    SR0000780218 /
                                                                                                                                      2014-08-19,       2015-04-13,
                                                                                                                SR0000780218,      SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation        Wiz Khalifa                No Gain                                        SR0000780234           2014-08-19        2015-04-13           4/19/16     12/31/17
                                                                                                                                   SR0000703961 /    SR0000703961 /
                                                                                                                                      2011-03-29,       2012-06-01,
                                                                                                                SR0000703961,      SR0000703969 /    SR0000703969 /
Atlantic Recording Corporation        Wiz Khalifa                Taylor Gang (Bonus Track)                      SR0000703969           2011-03-29        2012-06-01           5/24/15      7/10/17
Atlantic Recording Corporation        Wiz Khalifa                The Plan (feat. Juicy J)                       SR0000715951              12/4/12           2/19/13          10/21/13      7/10/17
                                                                                                                                   SR0000780218 /    SR0000780218 /
                                                                                                                                      2014-08-19,       2015-04-13,
                                                                                                                SR0000780218,      SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation        Wiz Khalifa                We Dem Boyz                                    SR0000780234           2014-08-19        2015-04-13          10/19/15      2/14/18
                                                                                                                                   SR0000780218 /    SR0000780218 /
                                                                                                                                      2014-08-19,       2015-04-13,
                                                                 You And Your Friends (feat. Snoop Dogg Ty      SR0000780218,      SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation        Wiz Khalifa                Dolla $ign)                                    SR0000780234           2014-08-19        2015-04-13            5/4/16     12/31/17
Atlantic Recording Corporation        Zac Brown Band             Jolene                                         SR0000726687              11/18/08          2/20/13          10/19/13       9/1/16
Capitol Christian Music Group, Inc.   Britt Nicole               Sunshine Girl                                  SR0000406263               5/22/07          5/29/07           4/28/16      5/20/16
Capitol Records LLC                   5 Seconds Of Summer        Amnesia                                        SR0000752304                7/1/14            8/5/14          9/27/14     12/20/16
Capitol Records LLC                   5 Seconds Of Summer        She Looks So Perfect                           SR0000741298                4/1/14          4/22/14           4/21/14       5/8/17
                                                                                                                                   SRu000553759 /    SRu000553759 /
                                                                                                                                        2004-9-23,      2004-09-24,
                                                                                                                Sru000553759 /     SR0000375835 /    SR0000375835 /
Capitol Records LLC                   A Perfect Circle           Freedom of Choice                              SR0000375835           2004-11-02        2005-10-20           5/23/14     10/20/17
Capitol Records LLC                   BANKS                      Warm Water                                     SR0000759038                9/9/14          9/29/14          11/12/14      1/31/16
                                                                                                                                   SRu000154345 /    SRu000154345 /
                                                                                                                                        1989-6-23,      1989-06-27,
                                                                 3-Minute Rule (Explicit) (2009 Digital         SRu000154345 /     SRu000154347/     SRu000154347 /
Capitol Records LLC                   Beastie Boys               Remaster)                                      SRu000154347             1989-6-26       1989-06-27          12/24/13     12/11/17
                                                                                                                                   SRu000154345 /    SRu000154345 /
                                                                                                                                        1989-6-23,      1989-06-27,
                                                                 B-Boy Bouillabaisse: Stop That Train (2009     SRu000154345 /     SRu000154347/     SRu000154347 /
Capitol Records LLC                   Beastie Boys               Digital Remaster)                              SRu000154347             1989-6-26       1989-06-27          10/30/13       8/1/17
                                                                                                                                   SRu000154345 /    SRu000154345 /
                                                                                                                                        1989-6-23,      1989-06-27,
                                                                                                                SRu000154345 /     SRu000154347/     SRu000154347 /
Capitol Records LLC                   Beastie Boys               Car Thief (Explicit) (2009 Digital Remaster)   SRu000154347             1989-6-26       1989-06-27          10/30/13     12/11/17
                                                                                                                                   SRu000154345 /    SRu000154345 /
                                                                                                                                        1989-6-23,      1989-06-27,
                                                                                                                SRu000154345 /     SRu000154347/     SRu000154347 /
Capitol Records LLC                   Beastie Boys               Hey Ladies (2009 Digital Remaster)             SRu000154347             1989-6-26       1989-06-27           9/26/13     12/11/17
                                                                                                                                   SRu000154345 /    SRu000154345 /
                                                                                                                                        1989-6-23,      1989-06-27,
                                                                 Looking Down The Barrel Of A Gun (2009         SRu000154345 /     SRu000154347/     SRu000154347 /
Capitol Records LLC                   Beastie Boys               Digital Remaster)                              SRu000154347             1989-6-26       1989-06-27          10/30/13     12/11/17
                                                                                                                                   SRu000154345 /    SRu000154345 /
                                                                                                                                        1989-6-23,      1989-06-27,
                                                                                                                SRu000154345 /     SRu000154347/     SRu000154347 /
Capitol Records LLC                   Beastie Boys               To All The Girls (2009 Digital Remaster)       SRu000154347             1989-6-26       1989-06-27          10/30/13     12/11/17
                                                                                                                                   SRu000154345 /    SRu000154345 /
                                                                                                                                        1989-6-23,      1989-06-27,
                                                                 What Comes Around (Explicit) (2009 Digital     SRu000154345 /     SRu000154347/     SRu000154347 /
Capitol Records LLC                   Beastie Boys               Remaster)                                      SRu000154347             1989-6-26       1989-06-27          12/24/13     12/11/17
Capitol Records LLC                   Ben Harper                 Everything                                     SR0000328960               3/11/03          3/18/03            4/3/15      6/14/15
Capitol Records LLC                   Ben Harper                 Get Up!                                        SRu000587927              12/22/05         12/23/05           8/19/14      8/24/15
Capitol Records LLC                   Ben Harper                 Picture In A Frame                             SR0000328960               3/11/03          3/18/03            8/2/14      6/14/15
Capitol Records LLC                   Ben Harper                 Touch From Your Lust                           SR0000328960               3/11/03          3/18/03            4/3/15      6/14/15

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Capitol Records LLC          Ben Harper                           With My Own Two Hands                          SR0000328960                3/11/03              3/18/03            4/3/15      6/14/15
Capitol Records LLC          Big Moe                              The Letter                                     SR0000321029                4/11/02              10/1/02           7/31/16      2/25/17
                                                                                                                                      SR0000052131 /       SR0000052131 /
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                                                                                                                 SR0000052131 /       SR0000052736 /       SR0000052736 /
Capitol Records LLC          Billy Idol                           Catch My Fall                                  SR0000052736             1983-11-10           1984-02-27            8/5/13       1/7/17
Capitol Records LLC          Billy Idol                           Cradle Of Love                                 SR0000115717                4/30/90              5/21/90            8/5/13       5/2/17
                                                                                                                                      SR0000052131 /       SR0000052131 /
                                                                                                                                         1983-11-10,          1984-02-24,
                                                                                                                 SR0000052131 /       SR0000052736 /       SR0000052736 /
Capitol Records LLC          Billy Idol                           Eyes Without A Face                            SR0000052736             1983-11-10           1984-02-27            8/5/13     12/13/17
                                                                                                                                      SR0000052131 /       SR0000052131 /
                                                                                                                                         1983-11-10,          1984-02-24,
                                                                                                                 SR0000052131 /       SR0000052736 /       SR0000052736 /
Capitol Records LLC          Billy Idol                           Flesh For Fantasy                              SR0000052736             1983-11-10           1984-02-27            8/5/13       1/7/17
Capitol Records LLC          Billy Idol                           Hot In The City                                SR0000039672                  6/4/82             6/16/82            8/5/13       2/4/17
Capitol Records LLC          Billy Idol                           Mony Mony                                      SR0000029769                9/11/81              9/14/81          11/19/15      4/13/17
                                                                                                                                      SR0000052131 /       SR0000052131 /
                                                                                                                                         1983-11-10,          1984-02-24,
                                                                                                                 SR0000052131 /       SR0000052736 /       SR0000052736 /
Capitol Records LLC          Billy Idol                           Rebel Yell                                     SR0000052736             1983-11-10           1984-02-27            8/5/13       2/5/18
Capitol Records LLC          Blind Melon                          No Rain                                        SR0000384161                9/26/92                3/3/06           2/5/16     12/28/17
Capitol Records LLC          China Crisis                         Wishful Thinking                               SR0000054724               10/31/83              6/26/84            3/3/15      8/20/17
Capitol Records LLC          Eric Church                          I'm Gettin' Stoned                             SR0000681019                7/22/11              7/28/11          10/19/13      2/13/17
Capitol Records LLC          Eric Church                          Jack Daniels                                   SR0000681019                7/22/11              7/28/11          10/19/13      2/13/17
Capitol Records LLC          Eric Paslay                          Song About A Girl                              SR0000744946                  2/4/14             2/27/14           6/24/14      3/10/16
Capitol Records LLC          Heart                                Dreamboat Annie                                SR0000102964                5/17/76              11/7/88           1/31/16      8/13/17
Capitol Records LLC          Heart                                Heartless                                      SR0000102964                5/17/76              11/7/88           5/17/16      12/1/16
Capitol Records LLC          Heart                                Magic Man                                      SR0000114803                  4/3/90             4/20/90          11/16/15       1/1/18
Capitol Records LLC          Heart                                Stranded                                       SR0000114803                  4/3/90             4/20/90           7/27/15     11/23/16
Capitol Records LLC          Heart                                What About Love                                SR0000075726                6/21/85              8/12/86            5/1/16      12/1/16
Capitol Records LLC          Ice Cube                             Wicked                                         SR0000169617               11/17/92                6/1/93          11/9/13     12/29/16
                                                                  You Gotta Lotta That (edited version) (feat.
Capitol Records LLC          Ice Cube feat. Snoop Dogg            Snoop Dogg)                                    SR0000406207                    6/6/06            5/30/07          11/9/13      7/18/16
                             Ice Cube feat. Snoop Dogg & Lil      Go To Church (edited version) (feat. Snoop
Capitol Records LLC          Jon                                  Dogg & Lil Jon)                                SR0000406207                    6/6/06            5/30/07          4/30/14      4/30/14
                                                                                                                                    N00000045278 / 77-     RE0000919804 /
                                                                                                                                               8-17,           2005-08-05
                                                                                                                 N00000045278 /       RE0000919804 /       N00000045278 /
Capitol Records LLC          Iggy Pop                             Lust For Life                                  RE0000919804              1977-8-17           1977-08-17          12/29/13      5/31/17
                                                                                                                                    N00000045278 / 77-     RE0000919804 /
                                                                                                                                               8-17,           2005-08-05
                                                                                                                 N00000045278 /       RE0000919804 /       N00000045278 /
Capitol Records LLC          Iggy Pop                             The Passenger                                  RE0000919804              1977-8-17           1977-08-17          12/29/13      5/31/17
                                                                                                                                    N00000045278 / 77-     RE0000919804 /
                                                                                                                                               8-17,           2005-08-05
                                                                                                                 N00000045278 /       RE0000919804 /       N00000045278 /
Capitol Records LLC          Iggy Pop                             Tonight                                        RE0000919804              1977-8-17           1977-08-17          12/29/13     11/27/16
                                                                                                                                                           SRu000524007 /
                                                                                                                                       SRu000524007 /         2004-03-12,
                                                                                                                 SRu000524007 /     n/a, SR0000358804      SR0000358804 /
Capitol Records LLC          Janet Jackson                        Damita Jo (Explicit)                           SR0000358804              / 2004-03-30        2004-08-23           4/30/14     12/13/17
                                                                                                                                        SRu000524007:      SRu000524007 /
                                                                                                                                                    n/a,      2004-03-12,
                                                                                                                 SRu000524007 /         SR0000358804:      SR0000358804 /
Capitol Records LLC          Janet Jackson                        SloLove (Explicit)                             SR0000358804                2004-03-30        2004-08-23           1/10/15     12/13/17
                                                                                                                                                           SRu000524007 /
                                                                                                                                       SRu000524007 /         2004-03-12,
                                                                                                                 SRu000524007 /     n/a, SR0000358804      SR0000358804 /
Capitol Records LLC          Janet Jackson Featuring Kanye West   My Baby (Explicit)                             SR0000358804              / 2004-03-30        2004-08-23           1/10/15     12/13/17
Capitol Records LLC          Jennifer Lopez                       I Luh Ya Papi (Explicit)                       SR0000740643                   3/11/14             4/7/14          5/22/14      6/30/16
Capitol Records LLC          John Lee Hooker                      Boom Boom                                      SR0000147755                  10/26/92          11/19/92           3/14/12      9/18/17
Capitol Records LLC          Katrina & The Waves                  Walking On Sunshine                            SR0000357929                   3/22/85           7/20/04          11/12/14      2/24/18
Capitol Records LLC          Katy Perry                           Not Like The Movies (Explicit)                 SR0000662268                   8/24/10           9/29/10           3/28/14      5/18/17
Capitol Records LLC          Katy Perry                           Pearl (Explicit)                               SR0000662268                   8/24/10           9/29/10           3/18/14      5/18/17
Capitol Records LLC          Katy Perry                           Ur So Gay                                      SR0000638213                  11/20/07           6/23/08           9/25/12      7/15/17
Capitol Records LLC          Katy Perry                           Waking Up In Vegas                             SR0000638214                   6/17/08           6/23/08            8/3/14      7/15/17
Capitol Records LLC          Keith Richards                       Eileen                                         SR0000149124                  10/27/92           2/12/93           11/7/14       1/1/18
Capitol Records LLC          Keith Urban                          Better Life                                    SR0000353271                   9/21/04           9/24/04           8/30/13       3/6/18
Capitol Records LLC          Keith Urban                          But For The Grace of God                       SR0000273265                  10/19/99           11/3/99          10/12/13       3/6/18
Capitol Records LLC          Keith Urban                          Making Memories Of Us                          SR0000353271                   9/21/04           9/24/04          10/12/13       3/6/18
Capitol Records LLC          Keith Urban                          Shame                                          SR0000733375                   9/10/13          10/18/13          10/18/13      8/12/17
Capitol Records LLC          Keith Urban                          Tonight I Wanna Cry                            SR0000353271                   9/21/04           9/24/04          10/12/13      4/13/17
Capitol Records LLC          Keith Urban                          Who Wouldn't Wanna Be Me                       SR0000323344                   10/8/02           11/8/02          10/12/13      7/26/14
Capitol Records LLC          Keith Urban                          You're My Better Half                          SR0000353271                   9/21/04           9/24/04          10/12/13      7/26/14
Capitol Records LLC          Keith Urban                          Your Everything                                SR0000273265                  10/19/99           11/3/99          10/12/13       3/6/18
Capitol Records LLC          Kenny Rogers                         Lucille                                        N36674                         10/8/76          10/20/76           5/27/15      8/13/17
Capitol Records LLC          Lady Antebellum                      American Honey                                 SR0000644544                  12/21/09           2/22/10           3/30/14      8/12/15
Capitol Records LLC          Lady Antebellum                      Cold As Stone                                  SR0000686148                   9/13/11           9/19/11           8/16/13      8/19/17
Capitol Records LLC          Lady Antebellum                      Get To Me                                      SR0000724696                     5/7/13          6/17/13          12/21/13      8/19/17
Capitol Records LLC          Lady Antebellum                      Long Teenage Goodbye                           SR0000724696                     5/7/13          6/17/13          12/21/13      3/26/15
Capitol Records LLC          Lady Antebellum                      Nothin' Like The First Time                    SR0000724696                     5/7/13          6/17/13          12/21/13      8/11/14
Capitol Records LLC          Lady Antebellum                      Our Kind Of Love                               SR0000644546                   1/19/10           2/22/10           3/30/14      7/28/15
Capitol Records LLC          Lady Antebellum                      Ready To Love Again                            SR0000644547                   1/12/10           2/22/10           3/30/14      8/19/17
Capitol Records LLC          Lenny Kravitz                        American Woman                                 SR0000261538                   4/30/98             4/5/99          6/30/14       2/5/18




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                                                                                                                                                    SRu000865469 /
                                                                                                                                SRu000865469 /         2007-11-21,
                                                                                                         SRu000865469 /      n/a, SR0000641069      SR0000641069 /
Capitol Records LLC          Lenny Kravitz                    If You Want It                             SR0000641069               / 2008-02-01        2008-03-07           1/20/15      12/3/17
Capitol Records LLC          Lenny Kravitz                    Stand By My Woman                          SR0000128345                      4/2/91          4/18/91           6/30/14      12/3/17
                                                                                                                                                    SRu000865469 /
                                                                                                                                SRu000865469 /         2007-11-21,
                                                                                                         SRu000865469 /      n/a, SR0000641069      SR0000641069 /
Capitol Records LLC          Lenny Kravitz                    This Moment Is All There Is                SR0000641069               / 2008-02-01        2008-03-07           1/20/15      12/3/17
Capitol Records LLC          Little Big Town                  Girl Crush                                 SR0000762528                   10/21/14          11/12/14           1/24/15       1/8/17
Capitol Records LLC          Luke Bryan                       First Love Song                            SR0000612032                    8/14/07           10/1/07           3/22/14      8/19/15
Capitol Records LLC          Luke Bryan                       I See You                                  SR0000728445                    8/13/13           8/16/13          10/17/15     12/30/17
Capitol Records LLC          Luke Bryan                       Kiss Tomorrow Goodbye                      SR0000681898                      8/5/11          8/11/11           9/27/13      7/13/16
Capitol Records LLC          Mary Lambert                     Secrets (Explicit)                         SR0000746975                    7/15/14             8/7/14          10/7/14       3/9/17
                                                                                                                                SR0000320120 /      SR0000320120 /
                                                                                                                                     2002-02-14,       2002-08-13,
                                                                                                         SR0000320120 /         SR0000366945 /      SR0000366945 /
Capitol Records LLC          Norah Jones                      Lonestar                                   SR0000366945                         n/a       2004-10-18            5/8/16     10/16/16
                                                                                                                                SR0000320120 /      SR0000320120 /
                                                                                                                                     2002-02-14,       2002-08-13,
                                                                                                         SR0000320120 /         SR0000366945 /      SR0000366945 /
Capitol Records LLC          Norah Jones                      Nightingale                                SR0000366945                         n/a       2004-10-18            5/8/16     10/16/16
                                                                                                                               SR0000320120 /       SR0000320120 /
                                                                                                                                  2002-02-14,          2002-08-13,
                                                                                                         SR0000320120 /        SR0000366945 /       SR0000366945 /
Capitol Records LLC          Norah Jones                      Painter Song                               SR0000366945                     n/a           2004-10-18          12/14/13     10/16/16
                                                                                                                               SR0000320120 /       SR0000320120 /
                                                                                                                                  2002-02-14,          2002-08-13,
                                                                                                         SR0000320120 /        SR0000366945 /       SR0000366945 /
Capitol Records LLC          Norah Jones                      Seven Years                                SR0000366945                     n/a           2004-10-18            5/8/16     10/16/16
                                                                                                                               SR0000320120 /       SR0000320120 /
                                                                                                                                  2002-02-14,          2002-08-13,
                                                                                                         SR0000320120 /        SR0000366945 /       SR0000366945 /
Capitol Records LLC          Norah Jones                      Shoot The Moon                             SR0000366945                     n/a           2004-10-18            5/8/16     10/16/16
                                                                                                                               SR0000320120 /       SR0000320120 /
                                                                                                                                  2002-02-14,          2002-08-13,
                                                                                                         SR0000320120 /        SR0000366945 /       SR0000366945 /
Capitol Records LLC          Norah Jones                      The Long Day Is Over                       SR0000366945                     n/a           2004-10-18            5/8/16     10/16/16
Capitol Records LLC          Pat Benatar                      Fire And Ice                               SR0000028224                  7/6/81              7/14/81           12/5/14      5/20/17
Capitol Records LLC          Pat Benatar                      Hell Is For Children                       SR0000020348                  8/6/80              8/20/80           11/4/13      5/20/17
Capitol Records LLC          Pat Benatar                      Invincible                                 SR0000077543                11/13/85              7/28/86           11/4/13      5/20/17
Capitol Records LLC          Pat Benatar                      Love Is A Battlefield                      SR0000052157                 9/22/83              2/27/84           11/4/13      8/20/17
Capitol Records LLC          Pat Benatar                      Promises In The Dark                       SR0000028224                  7/6/81              7/14/81           11/4/13      5/20/17
Capitol Records LLC          Richard Marx                     Again                                      SR0000355079                 8/10/04              8/31/04            1/5/16      2/22/16
Capitol Records LLC          Richard Marx                     Children Of The Night                      SR0000103712                 4/26/89              5/22/89           7/15/15      5/18/16
Capitol Records LLC          Richard Marx                     Endless Summer Nights                      SR0000091050                 5/15/87              5/12/88           3/21/15      10/1/16
Capitol Records LLC          Richard Marx                     Goodbye, Hollywood                         SR0000210246                  2/8/94              2/26/95            1/5/16      2/22/16
Capitol Records LLC          Richard Marx                     Heart On The Line                          SR0000103712                 4/26/89              5/22/89           3/21/15      2/22/16
Capitol Records LLC          Richard Marx                     Hold On To The Nights                      SR0000091050                 5/15/87              5/12/88           7/31/15      6/18/17
Capitol Records LLC          Richard Marx                     My Confession                              SR0000241682                 3/27/97                9/2/98          2/21/16      2/22/16
Capitol Records LLC          Richard Marx                     Now And Forever                            SR0000210246                  2/8/94              2/26/95           7/31/15      5/18/16
Capitol Records LLC          Richard Marx                     Real World                                 SR0000103712                 4/26/89              5/22/89            1/5/16      2/22/16
Capitol Records LLC          Richard Marx                     Someone Special                            SR0000355079                 8/10/04              8/31/04           3/21/15      2/22/16
Capitol Records LLC          Richard Marx                     That Was Lulu                              SR0000103712                 4/26/89              5/22/89            1/5/16      2/22/16
Capitol Records LLC          Richard Marx                     The Way She Loves Me                       SR0000210246                  2/8/94              2/26/95           7/31/15      5/19/16
Capitol Records LLC          Richard Marx                     Too Late To Say Goodbye                    SR0000103712                 4/26/89              5/22/89           7/14/15      2/22/16
Capitol Records LLC          Richard Marx                     Touch Of Heaven                            SR0000241682                 3/27/97                9/2/98          7/31/15      5/19/16
Capitol Records LLC          Richard Marx                     Until I Find You Again                     SR0000241682                 3/27/97                9/2/98          7/31/15      5/18/16
Capitol Records LLC          Richard Marx                     What You Want                              SR0000210246                  2/8/94              2/26/95            1/5/16      2/22/16
Capitol Records LLC          Richard Marx                     You Never Take Me Dancing                  SR0000241682                 3/27/97                9/2/98           1/5/16      2/22/16
Capitol Records LLC          Simple Minds                     Alive And Kicking                          SR0000069517                10/14/85                3/5/86           3/4/15      10/4/17
                                                                                                                               SR0000104636 /       SR0000104636 /
                                                                                                                                  1989-04-25,          1989-05-18,
                                                                                                         SR0000104636 /        SR0000132719 /       SR0000132719 /
Capitol Records LLC          Simple Minds                     Kick It In (Edit)                          SR0000132719                     n/a           1991-03-28           12/3/14      10/4/17
                                                                                                                               SR0000104636 /       SR0000104636 /
                                                                                                                                  1989-04-25,          1989-05-18,
                                                                                                           SR0000104636 /      SR0000132719 /       SR0000132719 /
Capitol Records LLC          Simple Minds                     Let It All Come Down (2002 Digital Remaster) SR0000132719                   n/a           1991-03-28           5/11/15      10/4/17
                                                                                                                               SR0000104636 /       SR0000104636 /
                                                                                                                                  1989-04-25,          1989-05-18,
                                                                                                         SR0000104636 /        SR0000132719 /       SR0000132719 /
Capitol Records LLC          Simple Minds                     This Is Your Land                          SR0000132719                     n/a           1991-03-28           5/11/15      10/4/17
Capitol Records LLC          Slaughter                        Fly To The Angels                          SR0000112740                 1/15/90                2/7/90          1/17/15       3/6/15
Capitol Records LLC          Snoop Dogg                       G Bedtime Stories (Explicit)               SR0000179189                 5/11/99              7/15/99           5/18/14      4/28/18
Capitol Records LLC          Snoop Dogg                       In Love With A Thug (Explicit)             SR0000179189                 5/11/99              7/15/99          12/14/14      4/29/18
Capitol Records LLC          Snoop Dogg                       My Heat Goes Boom (Explicit)               SR0000179189                 5/11/99              7/15/99          12/14/14      4/29/18
Capitol Records LLC          Snoop Dogg                       Suited N Booted (Explicit)                 SR0000324295                11/26/02             12/20/02          12/14/14      4/27/18
Capitol Records LLC          Snoop Dogg                       Upside Down (feat. Nipsey Hussle)          SR0000636395                 12/7/09                1/7/10          5/29/14      4/29/18
Capitol Records LLC          Snoop Dogg Featuring Eve         Ready 2 Ryde (Explicit)                    SR0000317638                12/18/00              9/19/02            7/6/16      4/29/18
                             Snoop Dogg Featuring Jazmine     Different Languages (Featuring Jazmine
Capitol Records LLC          Sullivan                         Sullivan) (Explicit)                       SR0000636395                    12/7/09             1/7/10           7/6/16      4/27/18
                             Snoop Dogg Featuring Lady Of
Capitol Records LLC          Rage, RBX                        Batman And Robin (Explicit)                SR0000324295                   11/26/02           12/20/02           7/6/16      4/29/18
                             Snoop Dogg Featuring LaToiya
Capitol Records LLC          Williams                         I Believe In You (Explicit)                SR0000324295                   11/26/02           12/20/02         12/14/14      4/29/18



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              Plaintiff                          Artist                               Track Title                     Number               Date               Date             BeginDate    Enddate
                                   Snoop Dogg Featuring Master P,
                                   Nate Dogg, Butch Cassidy And Tha
Capitol Records LLC                Eastsidaz                          Lay Low (Explicit)                         SR0000317638                  12/18/00            9/19/02         10/22/13      4/29/18
                                   Snoop Dogg Featuring Mr. Kane,
Capitol Records LLC                Goldie Loc                         Hourglass (Explicit)                       SR0000324295                  11/26/02           12/20/02           7/6/16      11/6/17
                                   Snoop Dogg Featuring Redman,
Capitol Records LLC                Nate Dogg, Warren G                From Long Beach 2 Brick City (Explicit)    SR0000324295                  11/26/02           12/20/02          9/10/14      4/27/18
                                   Snoop Dogg Featuring Silkk The
Capitol Records LLC                Shocker                            Gangsta Ride (Explicit)                    SR0000179189                   5/11/99            7/15/99          9/10/14      4/29/18
Capitol Records LLC                The Cramps                         Beautiful Gardens                          SR0000025949                   3/27/81            4/30/81          6/26/15      9/23/17
Capitol Records LLC                The Cramps                         Caveman                                    SR0000025949                   3/27/81            4/30/81          2/22/16      9/23/17
                                                                      I Was A Teenage Werewolf (1989 Digital
Capitol Records LLC                The Cramps                         Remaster)                                  SR0000017457                    3/7/80             5/8/80          6/26/15      9/23/17
Capitol Records LLC                The Cramps                         Under The Wires                            SR0000025949                   3/27/81            4/30/81          6/26/15      9/23/17
Capitol Records LLC                The Decemberists                   Rise To Me                                 SR0000671437                   1/18/11            2/22/11          3/17/14      2/22/17
Capitol Records LLC                The Decemberists                   The Crane Wife 3                           SR0000399123                   10/3/06           10/13/06          12/8/15      2/22/17
Capitol Records LLC                The Dukes Of Stratosphear          My Love Explodes (2001 Digital Remaster)   SR0000348310                    4/1/85           12/29/03          2/23/15      1/31/17
Capitol Records LLC                The Kooks                          It Was London                              SR0000756257                    9/9/14           10/16/14         12/30/14       7/7/17
Capitol Records LLC                The Kooks                          Sofa Song                                  SR0000613055                   1/20/06            11/6/07          4/27/14     11/26/16
Capitol Records LLC                XTC                                Cynical Days                               SR0000101881                   2/28/89            3/17/89          2/23/15      1/31/17
Elektra Entertainment Group Inc.   Bjork                              Heirloom                                   SR0000313809                   8/10/01            3/22/02           2/9/15      4/28/15
Elektra Entertainment Group Inc.   Bruno Mars                         Count On Me                                SR0000671062                   10/5/10            2/10/11          5/16/12      2/25/18
Elektra Entertainment Group Inc.   Bruno Mars                         Grenade                                    SR0000671062                   10/5/10            2/10/11          5/16/12      2/25/18
Elektra Entertainment Group Inc.   Bruno Mars                         Just The Way You Are                       SR0000671062                   10/5/10            2/10/11          5/16/12      2/25/18
Elektra Entertainment Group Inc.   Bruno Mars                         Marry You                                  SR0000671062                   10/5/10            2/10/11          5/16/12      2/25/18
Elektra Entertainment Group Inc.   Bruno Mars                         Our First Time                             SR0000671062                   10/5/10            2/10/11          5/16/12      2/23/18
Elektra Entertainment Group Inc.   Bruno Mars                         Runaway Baby                               SR0000671062                   10/5/10            2/10/11          5/16/12      2/23/18
Elektra Entertainment Group Inc.   Bruno Mars                         The Lazy Song                              SR0000671062                   10/5/10            2/10/11          5/15/12      2/13/18
                                                                                                                                        SR0000673158 /     SR0000673158 /
                                                                                                                                            2010-11-09,       2011-03-24,
                                                                                                                 SR0000673158,          SR0000673160 /     SR0000673160 /
Elektra Entertainment Group Inc.   CeeLo Green                        Bright Lights Bigger City                  SR0000673160                2010-11-09        2011-03-24            4/3/14       5/8/17
                                                                                                                                        SR0000673158 /     SR0000673158 /
                                                                                                                                            2010-11-09,       2011-03-24,
                                                                                                                 SR0000673158,          SR0000673160 /     SR0000673160 /
Elektra Entertainment Group Inc.   CeeLo Green                        F**k You                                   SR0000673160                2010-11-09        2011-03-24           5/16/12       5/8/17
                                                                                                                                        SR0000673158 /     SR0000673158 /
                                                                                                                                            2010-11-09,       2011-03-24,
                                                                                                                 SR0000673158,          SR0000673160 /     SR0000673160 /
Elektra Entertainment Group Inc.   CeeLo Green                        Love Gun (feat. Lauren Bennett)            SR0000673160                2010-11-09        2011-03-24            4/3/14       7/9/16
Elektra Entertainment Group Inc.   Eagles                             Heartache Tonight                          SR0000013182                   9/24/79          10/29/79            2/7/16     12/28/17
Elektra Entertainment Group Inc.   Ed Sheeran                         This                                       SR0000704259                   6/12/12           6/26/12           2/14/14      2/25/18
Elektra Entertainment Group Inc.   The Stooges                        Down On The Street                         SR0000382302                   8/16/05          12/20/05            9/8/14     11/26/17
Elektra Entertainment Group Inc.   The Stooges                        Loose                                      SR0000382302                   8/16/05          12/20/05          10/27/14     11/26/17
                                                                                                                                        SR0000059802 /     SR0000059802 /
                                                                                                                                            1984-12-15,       1985-01-23,
                                                                                                                 SR0000059802 /         SR0000133985 /     SR0000133985 /
Fonovisa Inc.                      Los Tigres Del Norte               Contrabando Y Traición                     SR0000133985                  1989-1-6         1989-9-18            2/5/15      4/14/17
Fueled by Ramen LLC                twenty one pilots                  Holding On To You                          SR0000715861                     1/8/13          2/19/13            7/2/14      7/30/17
LaFace Records LLC                 OutKast                            Babylon                                    SR0000233296                   8/27/96             4/8/97          5/18/14       3/9/18
LaFace Records LLC                 OutKast                            Decatur Psalm                              SR0000233296                   8/27/96             4/8/97          5/18/14       3/9/18
LaFace Records LLC                 OutKast                            Greatest Show On Earth                     SR0000395944                     8/9/06         10/23/06          11/19/14      6/28/17
LaFace Records LLC                 OutKast                            Ms. Jackson (Explicit)                     SR0000306741                   12/4/01           1/30/01          12/25/14       3/9/18
LaFace Records LLC                 OutKast                            PJ & Rooster (Explicit)                    SR0000395944                     8/9/06         10/23/06          11/19/14       3/9/18
LaFace Records LLC                 OutKast                            Spaghetti Junction                         SR0000306741                   12/4/01           1/30/01           1/25/14       3/8/18
LaFace Records LLC                 OutKast                            The Whole World                            SR0000326671                   12/4/01           12/4/01           7/19/14       3/9/18
LaFace Records LLC                 OutKast                            Toilet Tisha                               SR0000306741                   12/4/01           1/30/01           7/18/14       3/3/18
LaFace Records LLC                 OutKast                            You May Die                                SR0000233296                   8/27/96             4/8/97         12/18/13       3/9/18
LaFace Records LLC                 Pink                               Sober                                      SR0000619959                  10/24/08          12/12/08           10/2/13      10/2/17
LaFace Records LLC                 Pink                               There You Go                               SR0000279958                     4/4/00          5/17/00           10/2/13     12/17/16
LaFace Records LLC                 TLC                                Kick Your Game                             SR0000198743                  11/15/94           3/27/95           2/26/16       6/3/17
LaFace Records LLC                 TLC                                Waterfalls                                 SR0000198743                  11/15/94           3/27/95          10/18/13     12/31/17
LaFace Records LLC                 Usher                              Before I Met You                           SR0000620940                   5/23/08             9/8/08          3/24/14      8/31/17
LaFace Records LLC                 Usher                              Can U Help Me                              SR0000307207                     8/7/01          9/19/01           7/25/16      8/31/17
LaFace Records LLC                 Usher                              Prayer For You: Interlude                  SR0000620940                   5/23/08             9/8/08          7/25/16      8/31/17
LaFace Records LLC                 Usher                              Something Special                          SR0000620940                   5/23/08             9/8/08          3/24/14       1/9/18
LaFace Records LLC                 Usher                              U-Turn                                     SR0000307207                     8/7/01          9/19/01           7/25/16      8/31/17
Nonesuch Records Inc.              Devendra Banhart                   A Gain                                     SR0000722187                   3/11/13           5/10/13            5/7/14      4/11/17
Nonesuch Records Inc.              Devendra Banhart                   Mi Negrita                                 SR0000722187                   3/11/13           5/10/13            5/7/14      4/11/17
Rhino Entertainment Company        Chicago                            25 Or 6 To 4                               N-32196 (RE 888-258)           11/7/75             4/1/77          7/25/14     12/28/17
Rhino Entertainment Company        Chicago                            Old Days                                   N-24129 (RE 928-381)           3/21/75             8/1/75          7/28/14       8/8/17
Rhino Entertainment Company        Chicago                            Saturday In The Park                       N-22595 (RE 928-062)           1/17/75           6/13/75           7/25/14     12/28/17
                                                                                                                                         SR0000273892      SR0000273892 /
                                                                                                                                           /1999-10-05,       1999-11-18,
                                                                                                                 SR0000273892,          SR0000282506 /     SR0000282506 /
Rhino Entertainment Company        David Bowie                        Brilliant Adventure                        SR0000282506                1999-08-01        1999-12-03           1/29/14       1/9/18
                                                                                                                                         SR0000273892      SR0000273892 /
                                                                                                                                           /1999-10-05,       1999-11-18,
                                                                                                                 SR0000273892,          SR0000282506 /     SR0000282506 /
Rhino Entertainment Company        David Bowie                        New Angels Of Promise                      SR0000282506                1999-08-01        1999-12-03           1/29/14       1/9/18
Rhino Entertainment Company        George McCrae                      Rock Your Baby                             SR0000072555                  12/12/85          10/23/86          11/20/15      8/13/17
Rhino Entertainment Company        Grateful Dead                      Little Red Rooster                         SR0000029230                   8/26/81             9/8/81          5/18/14      6/28/17
                                                                      Aqualung (Mixed And Mastered By Steven
Rhino Entertainment Company        Jethro Tull                        Wilson)                                    SR0000701479                   11/1/11             6/4/12          4/14/14       1/1/18
Roadrunner Records, Inc.           Slipknot                           Left Behind                                SR0000330440                   8/28/01             6/6/03         10/26/15     12/12/17
Roc-A-Fella Records, LLC           JAY Z                              Murder To Excellence                       SR0000683714                    8/8/11             9/2/11          7/13/12      3/13/18
Roc-A-Fella Records, LLC           JAY Z                              No Church In The Wild                      SR0000683714                    8/8/11             9/2/11           6/7/17      3/14/18


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                                                                                                             Registration   Publication      Registration     Infringement Infringement
             Plaintiff                     Artist                              Track Title                    Number           Date             Date            BeginDate    Enddate
Roc-A-Fella Records, LLC       JAY Z                            Otis                                     SR0000683713              7/23/11           9/2/11          7/25/13     12/23/17
Roc-A-Fella Records, LLC       JAY-Z                            Dig A Hole                               SR0000412367             11/10/06          12/5/06         11/18/14      12/1/17
Roc-A-Fella Records, LLC       JAY-Z                            Encore                                   SR0000337758             11/14/03         11/17/03         10/31/15      4/17/18
Roc-A-Fella Records, LLC       JAY-Z                            Lucifer                                  SR0000337758             11/14/03         11/17/03          7/22/14      4/18/18
Roc-A-Fella Records, LLC       JAY-Z                            Some How Some Way                        SR0000322381             11/12/02          1/14/03         11/23/14      9/11/17
Roc-A-Fella Records, LLC       JAY-Z                            Where Have You Been                      SR0000295613             10/31/00         12/11/00         11/18/14      9/11/17
Roc-A-Fella Records, LLC       Kanye West                       All Falls Down                           SR0000347391              2/10/04           3/3/04         10/20/15      3/16/18
Roc-A-Fella Records, LLC       Kanye West                       All Of The Lights                        SR0000683430             11/22/10          12/6/10         10/17/15      3/16/18
Roc-A-Fella Records, LLC       Kanye West                       Big Brother                              SR0000615020              9/11/07          9/24/07          5/14/16      3/14/18
Roc-A-Fella Records, LLC       Kanye West                       Blame Game                               SR0000683430             11/22/10          12/6/10         11/15/13     12/23/17
Roc-A-Fella Records, LLC       Kanye West                       Breathe In Breathe Out                   SR0000347391              2/10/04           3/3/04          12/8/14      3/13/18
Roc-A-Fella Records, LLC       Kanye West                       Dark Fantasy                             SR0000683430             11/22/10          12/6/10         11/15/13      12/1/17
Roc-A-Fella Records, LLC       Kanye West                       Diamonds From Sierra Leone               SR0000615020              9/11/07          9/24/07          1/27/14     12/23/17
Roc-A-Fella Records, LLC       Kanye West                       Everything I Am                          SR0000615020              9/11/07          9/24/07          5/14/16      3/14/18
Roc-A-Fella Records, LLC       Kanye West                       Flashing Lights                          SR0000615020               39336           9/24/07         10/17/15     12/23/17
Roc-A-Fella Records, LLC       Kanye West                       Good Life                                SR0000615020              9/11/07          9/24/07          1/23/14      12/1/17
Roc-A-Fella Records, LLC       Kanye West                       Graduation Day                           SR0000347391              2/10/04           3/3/04          2/12/14      3/16/18
Roc-A-Fella Records, LLC       Kanye West                       Hell Of A Life                           SR0000683430             11/22/10          12/6/10          1/11/14     12/23/17
Roc-A-Fella Records, LLC       Kanye West                       Homecoming                               SR0000615020              9/11/07          9/24/07         10/17/15      3/14/18
Roc-A-Fella Records, LLC       Kanye West                       I Wonder                                 SR0000615020              9/11/07          9/24/07          3/23/16      3/14/18
Roc-A-Fella Records, LLC       Kanye West                       Jesus Walks                              SR0000347391              2/10/04           3/3/04         10/20/15      4/17/18
Roc-A-Fella Records, LLC       Kanye West                       Lost In The World                        SR0000683430             11/22/10          12/6/10         11/15/13      12/1/17
Roc-A-Fella Records, LLC       Kanye West                       Love Lockdown                            SR0000618708              9/18/08         10/28/08         10/18/15     12/23/17
Roc-A-Fella Records, LLC       Kanye West                       Monster (Explicit)                       SR0000669550             10/23/10          12/6/10         11/15/13      12/1/17
Roc-A-Fella Records, LLC       Kanye West                       POWER                                    SR0000661584               7/1/10          9/29/10         10/17/15     12/23/17
Roc-A-Fella Records, LLC       Kanye West                       See You In My Nightmares                 SR0000620203             11/24/08         12/11/08         12/14/13     12/23/17
Roc-A-Fella Records, LLC       Kanye West                       Stronger                                 SR0000615019              7/31/07          9/24/07         10/17/15      3/14/18
Roc-A-Fella Records, LLC       Kanye West                       The Glory                                SR0000615020              9/11/07          9/24/07          3/23/16      3/14/18
Roc-A-Fella Records, LLC       Kanye West                       The New Workout Plan                     SR0000347391              2/10/04           3/3/04          2/12/14      3/16/18
Roc-A-Fella Records, LLC       Kanye West                       Through The Wire                         SR0000343120              9/30/03         11/10/03          12/8/14     12/23/17
                               Kanye West, JAY-Z, Pusha T,
                               Prynce Cy Hi, Swizz Beatz, The
Roc-A-Fella Records, LLC       RZA                              So Appalled                              SR0000683430             11/22/10          12/6/10         11/15/13     12/23/17
Roc-A-Fella Records, LLC       Kanye West, KiD CuDi, Raekwon    Gorgeous                                 SR0000683430             11/22/10          12/6/10         11/15/13      12/1/17
Roc-A-Fella Records, LLC       Young Jeezy                      And Then What                            SR0000375085               6/7/05          8/22/05          4/19/16       3/1/18
Sony Music Entertainment       A$AP Ferg                        Work REMIX (Explicit)                    SR0000727760              5/14/13          8/14/13          4/23/14      1/27/17
Sony Music Entertainment       A$AP Rocky                       1Train                                   SR0000724848              1/15/13           2/8/13          10/4/13     11/14/17
Sony Music Entertainment       A$AP Rocky                       Fashion Killa                            SR0000724848              1/15/13           2/8/13         10/24/15     11/14/17
Sony Music Entertainment       Adele                            One And Only                             SR0000673074              2/22/11           4/4/11          9/28/13     12/26/17
Sony Music Entertainment       Adele                            Right As Rain (album)                    SR0000616701               6/6/08          6/30/08         10/19/15      11/5/17
Sony Music Entertainment       Adele                            Set Fire To The Rain                     SR0000673074              2/22/11           4/4/11          9/28/13     12/26/17
Sony Music Entertainment       Adele                            Someone Like You                         SR0000673074              2/22/11           4/4/11          9/28/13       2/3/18
Sony Music Entertainment       Adele                            Someone Like You (Live)                  SR0000712749             11/29/11          10/1/12          3/18/14       7/1/17
Sony Music Entertainment       Adele                            Take It All                              SR0000673074              2/22/11           4/4/11           8/3/14     12/26/17
Sony Music Entertainment       Aerosmith                        Attitude Adjustment                      SR0000246031               3/5/97           6/5/97         12/31/14     11/20/17
Sony Music Entertainment       Aerosmith                        Bright Light Fright                      RE0000927389              12/9/77         12/16/05          8/30/14     11/20/17
Sony Music Entertainment       Aerosmith                        Closer                                   SR0000714021              11/6/12          1/14/13          3/26/16     11/20/17
Sony Music Entertainment       Aerosmith                        Falling In Love (Is Hard On The Knees)   SR0000246031               3/5/97           6/5/97           2/5/15     11/20/17
Sony Music Entertainment       Aerosmith                        Just Push Play                           SR0000299932              2/21/01           6/5/97           2/5/15     11/20/17
Sony Music Entertainment       Aerosmith                        Make It                                  RE0000928145               1/5/73           6/2/06          8/30/14     11/20/17
Sony Music Entertainment       Aerosmith                        Mama Kin                                 RE0000928145               1/5/73           6/2/06           4/9/14       2/3/18
Sony Music Entertainment       Aerosmith                        Nine Lives                               SR0000246031               3/5/97           6/5/97          8/30/14     11/20/17
Sony Music Entertainment       Aerosmith                        One Way Street                           RE0000928145               1/5/73           6/2/06          8/30/14     11/20/17
Sony Music Entertainment       Aerosmith                        Pink                                     SR0000246031               3/5/97           6/5/97           2/5/15     11/20/17
Sony Music Entertainment       Aerosmith                        Same Old Song And Dance                  RE0000871991               3/8/74          11/6/02          3/22/14     11/20/17
Sony Music Entertainment       Alice In Chains                  Am I Inside                              SR0000209175              2/20/92          7/12/95          3/28/14     12/26/15
Sony Music Entertainment       Alice In Chains                  Angry Chair                              SR0000148348              9/16/92         12/21/92          8/21/13      3/19/18
Sony Music Entertainment       Alice In Chains                  Bleed The Freak (Demo)                   SR0000121380              8/24/90          9/18/90          9/14/13      3/19/18
Sony Music Entertainment       Alice In Chains                  Confusion                                SR0000121380              8/24/90          9/18/90          3/24/14      9/24/17
Sony Music Entertainment       Alice In Chains                  Dirt                                     SR0000148348              9/16/92         12/21/92         12/22/13      9/24/17
Sony Music Entertainment       Alice In Chains                  Get Born Again                           SR0000267396              6/16/99          8/16/99          3/24/14      9/24/17
Sony Music Entertainment       Alice In Chains                  God Smack                                SR0000148348              9/16/92         12/21/92         12/22/13      9/24/17
Sony Music Entertainment       Alice In Chains                  I Stay Away                              SR0000187667              1/12/94           4/8/94          8/21/13      9/24/17
Sony Music Entertainment       Alice In Chains                  Jar Of Flies: Nutshell                   SR0000187667              1/12/94           4/8/94          9/27/14      2/22/17
Sony Music Entertainment       Alice In Chains                  Jar Of Flies: Rotten Apple               SR0000187667              1/12/94           4/8/94          3/28/14      3/19/18
Sony Music Entertainment       Alice In Chains                  Jar Of Flies: Swing On This              SR0000187667              1/12/94           4/8/94          3/28/14      3/19/18
Sony Music Entertainment       Alice In Chains                  Junkhead                                 SR0000148348              9/16/92         12/21/92         12/22/13      9/24/17
Sony Music Entertainment       Alice In Chains                  Nutshell                                 SR0000187667              1/12/94           4/8/94          3/28/14      3/19/18
Sony Music Entertainment       Alice In Chains                  Rain When I Die                          SR0000148348              9/16/92         12/21/92         12/22/13      3/19/18
Sony Music Entertainment       Alice In Chains                  Sea Of Sorrow (Demo)                     SR0000121380              8/24/90          9/18/90          9/14/13      9/24/17
Sony Music Entertainment       Alice In Chains                  Sickman                                  SR0000148348              9/16/92         12/21/92         12/22/13      3/19/18
Sony Music Entertainment       Beyoncé                          Be With You                              SR0000342236              6/18/03         10/31/03          7/29/13      12/1/17
Sony Music Entertainment       Beyoncé                          Best Thing I Never Had                   SR0000683948              6/28/11          8/22/11          7/31/13      12/1/17
Sony Music Entertainment       Beyoncé                          Drunk in Love (Explicit)                 SR0000747291             12/20/13           4/2/14          1/14/15      4/30/18
Sony Music Entertainment       Beyoncé                          Flaws and All                            SR0000654700               4/3/07         10/31/08          1/16/14      12/1/17
Sony Music Entertainment       Beyoncé                          Gift From Virgo                          SR0000342236              6/18/03         10/31/03          7/29/13      12/1/17
Sony Music Entertainment       Beyoncé                          If I Were a Boy                          SR0000718926             10/21/08           3/7/13          8/17/13       2/4/18
Sony Music Entertainment       Beyoncé                          Lay Up Under Me                          SR0000683948              6/28/11          8/22/11         10/23/15      12/1/17
Sony Music Entertainment       Beyoncé                          Party                                    SR0000683948              6/28/11          8/22/11          7/17/13      12/1/17
Sony Music Entertainment       Beyoncé                          Ring The Alarm                           SR0000395861              8/30/06         10/23/06           4/4/14      12/1/17
Sony Music Entertainment       Beyoncé                          Speechless                               SR0000342236              6/18/03         10/31/03         10/17/14       6/6/15
Sony Music Entertainment       Beyoncé                          Upgrade U                                SR0000395861              8/30/06         10/23/06           4/4/14      12/1/17
Sony Music Entertainment       Beyoncé                          World Wide Woman                         SR0000654700               4/3/07         10/31/08          4/24/14      8/10/14
Sony Music Entertainment       Britney Spears                   It Should Be Easy                        SR0000738040              12/3/13         12/20/13         12/20/13      11/6/15
Sony Music Entertainment       Britney Spears                   Perfume                                  SR0000738038              11/5/13         12/20/13         12/20/13       3/8/18
Sony Music Entertainment       Britney Spears                   Tik Tik Boom                             SR0000738040              12/3/13         12/20/13         12/20/13       3/8/18
Sony Music Entertainment       Calvin Harris                    Blame                                    SR0000763014               9/7/14         11/26/14          10/7/14      12/1/17

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             Plaintiff                     Artist                    Track Title                Number           Date             Date            BeginDate    Enddate
Sony Music Entertainment       Calvin Harris          Pray to God                          SR0000763016              11/4/14         11/26/14         10/26/15      12/1/17
Sony Music Entertainment       Carrie Underwood       Do You Think About Me                SR0000700157               5/1/12          5/21/12          10/1/13       6/1/17
Sony Music Entertainment       Carrie Underwood       Forever Changed                      SR0000700157               5/1/12          5/21/12          10/1/13       6/1/17
Sony Music Entertainment       Carrie Underwood       Good In Goodbye                      SR0000700157               5/1/12          5/21/12          10/1/13       6/1/17
Sony Music Entertainment       Carrie Underwood       Just A Dream                         SR0000627157               5/1/12          5/21/12           8/1/13      4/19/17
Sony Music Entertainment       Carrie Underwood       Last Name                            SR0000627157               5/1/12          5/21/12           8/1/13      4/19/17
Sony Music Entertainment       Carrie Underwood       Leave Love Alone                     SR0000700157               5/1/12          5/21/12          10/1/13      5/25/17
Sony Music Entertainment       Carrie Underwood       Nobody Ever Told You                 SR0000700157               5/1/12          5/21/12          10/1/13       6/1/17
Sony Music Entertainment       Carrie Underwood       Twisted                              SR0000700157               5/1/12          5/21/12          3/20/14      1/15/17
Sony Music Entertainment       Chris Brown            Autumn Leaves                        SR0000760908              9/16/14          10/9/14          10/9/14     11/14/15
Sony Music Entertainment       Chris Brown            B****es N Marijuana                  SR0000767465              2/24/15          5/11/15          7/24/15     10/26/16
Sony Music Entertainment       Chris Brown            Drown In It                          SR0000760908              9/16/14          10/9/14          10/9/14      9/23/15
Sony Music Entertainment       Chris Brown            Fine China                           SR0000760909               4/1/13          10/9/14          10/9/14       3/8/17
Sony Music Entertainment       Chris Brown            New Flame (Explicit)                 SR0000760917              6/30/14          10/9/14         10/25/14       5/5/17
Sony Music Entertainment       Chris Brown            X (Explicit)                         SR0000760911              8/25/14          10/9/14          11/3/14     11/14/15
Sony Music Entertainment       Cyndi Lauper           Girls Just Want to Have Fun          SR0000050827              9/12/83         12/27/83         11/21/15      8/21/17
Sony Music Entertainment       Cyndi Lauper           I Drove All Night                    SR0000105504              4/12/89          6/26/89          4/22/16      8/21/17
Sony Music Entertainment       Cyndi Lauper           Iko Iko                              SR0000072315               9/4/86         10/20/86         11/21/15      8/21/17
Sony Music Entertainment       Cyndi Lauper           Time After Time                      SR0000050827              9/12/83         12/27/83         11/18/15      3/12/18
Sony Music Entertainment       Cypress Hill           EZ Come EZ Go                        SR0000384639             11/30/05          3/27/06          5/19/14      5/20/17
Sony Music Entertainment       Cypress Hill           Latin Thugs (Reggaeton Mix)          SR0000354123              3/17/04          5/12/04          7/23/14      3/12/18
Sony Music Entertainment       Daft Punk              Beyond                               SR0000725802              5/21/13          6/13/13          6/14/13      3/12/18
Sony Music Entertainment       Daft Punk              Contact                              SR0000725802              5/21/13          6/13/13         10/27/13       1/9/18
Sony Music Entertainment       Daft Punk              Fragments of Time                    SR0000725802              5/21/13          6/13/13           7/3/14      3/12/18
Sony Music Entertainment       Daft Punk              Get Lucky                            SR0000725802              5/21/13          6/13/13           9/3/14       1/9/18
Sony Music Entertainment       Daft Punk              Giorgio by Moroder                   SR0000725802              5/21/13          6/13/13           7/3/14       1/9/18
Sony Music Entertainment       Daft Punk              Give Life Back to Music              SR0000725802              5/21/13          6/13/13           7/3/14       1/9/18
Sony Music Entertainment       Daft Punk              Instant Crush                        SR0000725802              5/21/13          6/13/13           7/3/14       1/9/18
Sony Music Entertainment       Daft Punk              Lose Yourself to Dance               SR0000725802              5/21/13          6/13/13           7/3/14      3/12/18
Sony Music Entertainment       Daft Punk              Motherboard                          SR0000725802              5/21/13          6/13/13           7/3/14      3/12/18
Sony Music Entertainment       Daft Punk              The Game of Love                     SR0000725802              5/21/13          6/13/13           7/3/14      3/12/18
Sony Music Entertainment       Daft Punk              Touch                                SR0000725802              5/21/13          6/13/13          6/14/13      3/12/18
Sony Music Entertainment       Daft Punk              Within                               SR0000725802              5/21/13          6/13/13           7/3/14       1/9/18
Sony Music Entertainment       Destiny's Child        Bug A Boo                            SR0000268936              6/18/03         10/31/03          1/27/14      7/29/16
Sony Music Entertainment       Destiny's Child        Survivor                             SR0000289199              4/18/01          7/23/01           4/9/14      12/1/17
Sony Music Entertainment       Fantasia               Bore Me (Yawn)                       SR0000405173             11/29/06           4/9/07           5/5/14       1/5/16
Sony Music Entertainment       Fantasia               Hood Boy (Ultimix Mixshow 2)         SR0000405173             11/29/06           4/9/07           5/5/14       1/5/16
Sony Music Entertainment       Foo Fighters           Another Round                        SR0000377762               6/7/05          10/3/05           5/9/12      2/16/18
Sony Music Entertainment       Foo Fighters           Cold Day In The Sun                  SR0000377762               6/7/05          10/3/05           5/9/12     12/10/17
Sony Music Entertainment       Foo Fighters           End Over End                         SR0000377762               6/7/05          10/3/05           5/8/12      2/16/18
Sony Music Entertainment       Foo Fighters           Free Me                              SR0000377762               6/7/05          10/3/05           5/8/12      2/16/18
Sony Music Entertainment       Foo Fighters           In Your Honor                        SR0000377762               6/7/05          10/3/05           5/8/12     12/10/17
Sony Music Entertainment       Foo Fighters           Miracle                              SR0000377762               6/7/05          10/3/05           5/9/12      2/16/18
Sony Music Entertainment       Foo Fighters           No Way Back                          SR0000377762               6/7/05          10/3/05           5/8/12      6/25/16
Sony Music Entertainment       Foo Fighters           On The Mend                          SR0000377762               6/7/05          10/3/05           5/9/12     12/10/17
Sony Music Entertainment       Foo Fighters           Over And Out                         SR0000377762               6/7/05          10/3/05           5/9/12     12/10/17
Sony Music Entertainment       Foo Fighters           Resolve                              SR0000377762               6/7/05          10/3/05           5/8/12     12/10/17
Sony Music Entertainment       Foo Fighters           Still                                SR0000377762               6/7/05          10/3/05           5/9/12      2/16/18
Sony Music Entertainment       Foo Fighters           The Deepest Blues Are Black          SR0000377762               6/7/05          10/3/05           5/8/12      2/16/18
Sony Music Entertainment       Foo Fighters           The Last Song                        SR0000377762               6/7/05          10/3/05           5/8/12     12/10/17
Sony Music Entertainment       Future                 I Won (Explicit)                     SR0000762569              4/22/14          12/2/14         10/26/15      4/24/17
Sony Music Entertainment       Hozier                 Cherry Wine (Live)                   SR0000763599              12/3/13         11/26/14          11/3/15      7/12/17
Sony Music Entertainment       Hozier                 From Eden                            SR0000751287              3/25/14         10/24/14         10/16/15      7/12/17
Sony Music Entertainment       Hozier                 In A Week                            SR0000763602             10/14/14         11/26/14         10/22/15      7/12/17
Sony Music Entertainment       Hozier                 In The Woods Somewhere               SR0000766300             11/24/14          3/30/15         10/25/15      7/12/17
Sony Music Entertainment       Hozier                 Jackie And Wilson                    SR0000763602             10/14/14         11/26/14         10/22/15      7/12/17
Sony Music Entertainment       Hozier                 Like Real People Do                  SR0000763599              12/3/13         11/26/14         10/17/15      7/12/17
Sony Music Entertainment       Hozier                 Someone New                          SR0000763600              8/19/14         11/26/14         10/17/15      7/12/17
Sony Music Entertainment       Hozier                 Take Me To Church                    SR0000763599              12/3/13         11/26/14         10/22/15     12/12/17
Sony Music Entertainment       Hozier                 Work Song                            SR0000751287              3/25/14         10/24/14         10/17/15      7/12/17
Sony Music Entertainment       John Legend            All Of Me                            SR0000732356               8/8/13          10/1/13          9/25/13       3/6/18
Sony Music Entertainment       John Legend            Angel (Interlude)                    SR0000732352               9/3/13          10/1/13          9/25/13       4/4/17
Sony Music Entertainment       John Legend            Asylum                               SR0000732352               9/3/13          10/1/13          9/25/13      8/22/17
Sony Music Entertainment       John Legend            Caught Up                            SR0000732352               9/3/13          10/1/13          9/25/13      8/22/17
Sony Music Entertainment       John Legend            Dreams                               SR0000732352               9/3/13          10/1/13          9/25/13      8/22/17
Sony Music Entertainment       John Legend            Hold On Longer                       SR0000732352               9/3/13          10/1/13          9/25/13      8/22/17
Sony Music Entertainment       John Legend            Love In The Future (Intro)           SR0000732352               9/3/13          10/1/13          9/25/13       4/4/17
Sony Music Entertainment       John Legend            Save The Night                       SR0000732352               9/3/13          10/1/13          9/25/13      8/22/17
Sony Music Entertainment       John Legend            Tomorrow                             SR0000732352               9/3/13          10/1/13          9/25/13      8/22/17
Sony Music Entertainment       John Legend            Wanna Be Loved                       SR0000732352               9/3/13          10/1/13          9/25/13      8/22/17
Sony Music Entertainment       John Legend            You & I (Nobody in the World)        SR0000732352               9/3/13          10/1/13          9/25/13      8/22/17
Sony Music Entertainment       John Mayer             A Face To Call Home                  SR0000701446              5/22/12           6/4/12          3/23/16      3/23/16
Sony Music Entertainment       John Mayer             If I Ever Get Around To Living       SR0000701446              5/22/12           6/4/12           3/5/16      3/23/16
Sony Music Entertainment       John Mayer             Love Is A Verb                       SR0000701446              5/22/12           6/4/12          3/23/16      3/23/16
Sony Music Entertainment       John Mayer             Queen of California                  SR0000701446              5/22/12           6/4/12           3/5/16      3/23/16
Sony Music Entertainment       John Mayer             Something Like Olivia                SR0000701446              5/22/12           6/4/12           3/5/16      3/23/16
Sony Music Entertainment       John Mayer             The Age of Worry                     SR0000701446              5/22/12           6/4/12           3/5/16      3/23/16
Sony Music Entertainment       John Mayer             Wildfire                             SR0000729089              7/16/13          9/16/13          9/18/13      6/26/17
Sony Music Entertainment       Journey                Wheel In The Sky                     SR0000000388              1/20/78          2/27/78          9/28/13      2/24/18
Sony Music Entertainment       Judas Priest           Battle Cry                           SR0000779738              3/25/16          4/14/16           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest           Beginning of the End                 SR0000757800               7/8/14          10/9/14           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest           Blood Red Skies                      SR0000099987              5/16/88          7/15/88           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest           Breaking the Law                     SR0000020171              3/28/80          8/25/80         11/29/15       2/5/18
Sony Music Entertainment       Judas Priest           Breaking The Law                     SR0000086506              5/20/87         10/23/87           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest           Bring It On                          SR0000757800               7/8/14          10/9/14           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest           Creatures                            SR0000757800               7/8/14          10/9/14           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest           Deal With The Devil                  SR0000376466              2/16/05          6/17/05           5/9/16       1/9/18

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                                                                                               Registration   Publication      Registration     Infringement Infringement
             Plaintiff                       Artist                  Track Title                Number           Date             Date            BeginDate    Enddate
Sony Music Entertainment       Judas Priest             Down in Flames                     SR0000757800               7/8/14          10/9/14           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Eulogy                             SR0000376466              2/16/05          6/17/05           6/7/16       1/9/18
Sony Music Entertainment       Judas Priest             Halls of Valhalla                  SR0000757800               7/8/14          10/9/14           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Hard as Iron                       SR0000099987              5/16/88          7/15/88           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Judas Rising                       SR0000770684              3/31/15          8/20/15           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Living After Midnight              SR0000020171              3/28/80          8/25/80         11/29/15       1/9/18
Sony Music Entertainment       Judas Priest             Love Zone                          SR0000099987              5/16/88          7/15/88           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Monsters of Rock                   SR0000099987              5/16/88          7/15/88           6/6/16       1/9/18
Sony Music Entertainment       Judas Priest             Peace                              SR0000619960              6/13/08         12/12/08           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Prophecy                           SR0000619960              6/13/08         12/12/08           6/3/16       1/9/18
Sony Music Entertainment       Judas Priest             Ram It Down                        SR0000099987              5/16/88          7/15/88           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Redeemer of Souls                  SR0000757801              4/29/14          10/9/14           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Revelations                        SR0000619960              6/13/08         12/12/08           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Sands of Time                      SR0000619960              6/13/08         12/12/08           6/3/16       1/9/18
Sony Music Entertainment       Judas Priest             Screaming for Vengeance            SR0000037202              6/25/82          7/26/82           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Sword of Damocles                  SR0000757800               7/8/14          10/9/14           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Turbo Lover                        SR0000071258              3/12/86          6/10/86         11/29/15       1/9/18
Sony Music Entertainment       Judas Priest             Visions                            SR0000619960              6/13/08         12/12/08           5/9/16       1/9/18
Sony Music Entertainment       Judas Priest             Wheels of Fire                     SR0000376466              2/16/05          6/17/05          4/10/16       1/9/18
Sony Music Entertainment       Juicy J                  All I Blow Is Loud                 SR0000729084              8/27/13          9/16/13          10/1/13       3/5/18
Sony Music Entertainment       Juicy J                  Bounce It (Explicit)               SR0000729083              6/25/13          9/16/13          10/1/13       3/6/18
Sony Music Entertainment       Juicy J                  Gun Plus A Mask                    SR0000729084              8/27/13          9/16/13          10/1/13       3/9/18
Sony Music Entertainment       Juicy J                  Having Sex (Explicit)              SR0000729084              8/27/13          9/16/13         12/14/13       3/8/18
Sony Music Entertainment       Juicy J                  Money A Do It                      SR0000729084              8/27/13          9/16/13          10/1/13       3/9/18
Sony Music Entertainment       Juicy J                  No Heart No Love                   SR0000729084              8/27/13          9/16/13          10/1/13       3/9/18
Sony Music Entertainment       Juicy J                  One of Those Nights                SR0000729087              3/12/13          9/16/13         12/14/13       3/5/18
Sony Music Entertainment       Juicy J                  Scholarship                        SR0000729084              8/27/13          9/16/13         11/27/13       3/6/18
Sony Music Entertainment       Juicy J                  Show Out                           SR0000729085              1/25/13          9/16/13          10/1/13       3/6/18
Sony Music Entertainment       Juicy J                  Smoke A Ni**a                      SR0000729084              8/27/13          9/16/13          10/1/13       3/8/18
Sony Music Entertainment       Juicy J                  So Much Money                      SR0000729084              8/27/13          9/16/13          10/1/13       3/9/18
Sony Music Entertainment       Juicy J                  Stop It                            SR0000729084              8/27/13          9/16/13          10/1/13       3/9/18
Sony Music Entertainment       Juicy J                  The Woods                          SR0000729084              8/27/13          9/16/13          10/1/13       3/5/18
Sony Music Entertainment       Juicy J                  Wax                                SR0000729084              8/27/13          9/16/13          10/1/13       3/6/18
Sony Music Entertainment       Justin Timberlake        Amnesia                            SR0000743696              9/30/13         11/12/13           6/3/14      7/15/16
Sony Music Entertainment       Justin Timberlake        Cabaret                            SR0000743696              9/30/13         11/12/13           6/3/14      7/15/16
Sony Music Entertainment       Justin Timberlake        Drink You Away                     SR0000743696              9/30/13         11/12/13          1/22/15      2/20/18
Sony Music Entertainment       Justin Timberlake        Mirrors                            SR0000723769              2/11/13          3/20/13          1/15/15      2/20/18
Sony Music Entertainment       Justin Timberlake        Not a Bad Thing                    SR0000743696              9/30/13         11/12/13         10/28/15      2/20/18
Sony Music Entertainment       Justin Timberlake        Suit & Tie (feat. Jay-Z)           SR0000714855              1/14/13          1/18/13          1/15/15      8/24/17
Sony Music Entertainment       Justin Timberlake        Take Back the Night                SR0000743698              7/12/13         11/12/13          1/10/15      2/20/18
Sony Music Entertainment       Kelly Clarkson           Heartbeat Song                     SR0000765819              1/12/15          3/23/15           2/6/15     11/29/17
Sony Music Entertainment       Kid Ink                  Blunted                            SR0000766206             12/23/14           3/4/15          7/13/16      8/28/17
Sony Music Entertainment       Kid Ink                  Cool Back (Explicit)               SR0000766205             12/15/14           3/4/15          6/24/16      8/28/17
Sony Music Entertainment       Kid Ink                  Diamonds & Gold                    SR0000766243               2/3/15           3/4/15          6/24/16      8/28/17
Sony Music Entertainment       Kid Ink                  Dolo                               SR0000766243               2/3/15           3/4/15          6/24/16      8/28/17
Sony Music Entertainment       Kid Ink                  Every City We Go                   SR0000766243               2/3/15           3/4/15          6/24/16      8/28/17
Sony Music Entertainment       Kid Ink                  Faster                             SR0000766243               2/3/15           3/4/15          6/24/16      8/28/17
Sony Music Entertainment       Kid Ink                  Like a Hott Boyy                   SR0000766207              1/14/15           3/4/15          6/24/16      8/28/17
Sony Music Entertainment       Kid Ink                  More Than a King                   SR0000742556               1/7/14           4/2/14          1/23/14      5/10/17
Sony Music Entertainment       Kid Ink                  What It Feels Like                 SR0000766243               2/3/15           3/4/15          6/24/16      8/28/17
Sony Music Entertainment       Kings Of Leon            Comeback Story                     SR0000734388              9/24/13         10/28/13          10/9/13       1/9/18
Sony Music Entertainment       Kings Of Leon            Coming Back Again                  SR0000734388              9/24/13         10/28/13          10/9/13       1/9/18
Sony Music Entertainment       Kings Of Leon            Family Tree                        SR0000734388              9/24/13         10/28/13          10/9/13       1/9/18
Sony Music Entertainment       Kings Of Leon            Last Mile Home                     SR0000734388              9/24/13         10/28/13          10/9/13       1/9/18
Sony Music Entertainment       Kings Of Leon            Rock City                          SR0000734388              9/24/13         10/28/13          10/9/13       1/9/18
Sony Music Entertainment       Kings Of Leon            Supersoaker                        SR0000726617              7/23/13          7/26/13          8/17/13       1/9/18
Sony Music Entertainment       Kings Of Leon            Temple                             SR0000734388              9/24/13         10/28/13          10/9/13       1/9/18
Sony Music Entertainment       Kings Of Leon            Wait for Me                        SR0000734389               8/6/13         10/28/13          10/9/13       1/9/18
Sony Music Entertainment       Kings Of Leon            Work On Me                         SR0000734388              9/24/13         10/28/13          10/9/13       1/9/18
Sony Music Entertainment       MAGIC!                   How Do You Want to Be Remembered   SR0000763849               7/1/14         11/26/14          12/4/14      4/10/16
Sony Music Entertainment       MAGIC!                   Stupid Me                          SR0000763849               7/1/14         11/26/14          12/4/14      4/10/16
Sony Music Entertainment       Maren Morris             My Church                          SR0000774701              11/6/15         11/10/15          5/13/16      8/31/17
Sony Music Entertainment       MGMT                     Alien Days                         SR0000732393              4/16/13          10/1/13         12/11/13      6/25/15
Sony Music Entertainment       MGMT                     An Orphan Of Fortune               SR0000732390              9/17/13          10/1/13         12/11/13      6/25/15
Sony Music Entertainment       MGMT                     Astro-Mancy                        SR0000732390              9/17/13          10/1/13         12/11/13      6/25/15
Sony Music Entertainment       MGMT                     Electric Feel                      SR0000670166              1/18/08          4/23/08          8/20/13     12/22/17
Sony Music Entertainment       MGMT                     Mystery Disease                    SR0000732390              9/17/13          10/1/13         12/11/13      6/25/15
Sony Music Entertainment       MGMT                     Plenty Of Girls In The Sea         SR0000732390              9/17/13          10/1/13         12/11/13      6/25/15
Sony Music Entertainment       MGMT                     The Youth                          SR0000670166              1/18/08          4/23/08          8/20/13      9/13/17
Sony Music Entertainment       MGMT                     Time to Pretend                    SR0000697485              1/28/08          4/13/12          8/20/13     12/22/17
Sony Music Entertainment       Michael Jackson          2000 Watts                         SR0000304780             10/17/01          1/15/02          3/13/16       3/3/18
Sony Music Entertainment       Michael Jackson          Billie Jean                        SR0000041965             11/19/82          1/27/83         10/30/15      3/17/18
Sony Music Entertainment       Michael Jackson          Black or White                     SR0000178165             11/22/91          2/10/92         10/30/15       3/5/18
Sony Music Entertainment       Michael Jackson          Break Of Dawn                      SR0000304780             10/17/01          1/15/02         10/30/15       3/3/18
Sony Music Entertainment       Michael Jackson          Get On The Floor                   SR0000011120              8/10/79          8/17/79          8/31/13       3/3/18
Sony Music Entertainment       Michael Jackson          Heartbreaker                       SR0000304780             10/17/01          1/15/02           4/2/14       1/1/18
Sony Music Entertainment       Michael Jackson          Heaven Can Wait                    SR0000304780             10/17/01          1/15/02          3/13/16       3/3/18
Sony Music Entertainment       Michael Jackson          In The Closet                      SR0000178165             11/22/91          2/10/92          6/19/15       3/3/18
Sony Music Entertainment       Michael Jackson          Keep The Faith                     SR0000178165             11/22/91          2/10/92          8/31/13       1/1/18
Sony Music Entertainment       Michael Jackson          Leave Me Alone                     SR0000084256              8/19/87          11/4/87         10/30/15      3/17/18
Sony Music Entertainment       Michael Jackson          Love Never Felt So Good            SR0000754292              5/13/14          6/30/14         10/31/15       5/8/17
Sony Music Entertainment       Michael Jackson          Man in the Mirror                  SR0000084256              8/19/87          11/4/87          8/31/13       3/3/18
Sony Music Entertainment       Michael Jackson          P.Y.T. (Pretty Young Thing)        SR0000041965             11/19/82          1/27/83          8/31/13      3/17/18
Sony Music Entertainment       Michael Jackson          Privacy                            SR0000304780             10/17/01          11/4/87         10/30/15       1/1/18
Sony Music Entertainment       Michael Jackson          Smooth Criminal                    SR0000084256              8/19/87          11/4/87         10/30/15      3/17/18
Sony Music Entertainment       Michael Jackson          Speechless                         SR0000304780             10/17/01          1/15/02          3/13/16       1/1/18
Sony Music Entertainment       Michael Jackson          Speed Demon                        SR0000084256              8/19/87          11/4/87         10/30/15      3/17/18

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                                                                                                                                 Registration   Publication      Registration       Infringement Infringement
             Plaintiff                                Artist                                    Track Title                       Number           Date             Date              BeginDate    Enddate
Sony Music Entertainment               Michael Jackson                       The Lost Children                              SR0000304780              10/17/01            1/15/02          3/13/16       3/3/18
Sony Music Entertainment               Michael Jackson                       The Way You Make Me Feel                       SR0000084256               8/19/87            11/4/87         10/30/15      3/17/18
Sony Music Entertainment               Michael Jackson                       Unbreakable                                    SR0000304780              10/17/01            1/15/02          3/22/14       1/1/18
Sony Music Entertainment               Michael Jackson                       Whatever Happens                               SR0000304780              10/17/01            1/15/02          3/13/16       3/3/18
Sony Music Entertainment               Miguel                                face the sun                                   SR0000769254               6/16/15            7/24/15          6/22/16      7/27/16
Sony Music Entertainment               Miguel                                leaves                                         SR0000769253               6/29/15            7/24/15          6/22/16      7/27/16
Sony Music Entertainment               Miguel                                NWA                                            SR0000769255               6/16/15            7/24/15          6/22/16      7/27/16
Sony Music Entertainment               Miley Cyrus                           Do My Thang                                    SR0000735242               10/8/13           10/28/13         10/18/13      6/26/17
Sony Music Entertainment               Miley Cyrus                           Drive                                          SR0000735242               10/8/13           10/28/13          11/2/15      4/26/17
Sony Music Entertainment               Miley Cyrus                           FU                                             SR0000735242               10/8/13           10/28/13         10/18/13      6/26/17
Sony Music Entertainment               Miley Cyrus                           Hands in the Air                               SR0000735242               10/8/13           10/28/13          11/2/15      6/26/17
Sony Music Entertainment               Miley Cyrus                           On My Own                                      SR0000735242               10/8/13           10/28/13          11/2/15      4/26/17
Sony Music Entertainment               Miley Cyrus                           Someone Else                                   SR0000735242               10/8/13           10/28/13          11/2/15      4/26/17
Sony Music Entertainment               New Politics                          Berlin                                         SR0000734589               5/21/13            6/13/13          1/31/14      10/7/15
Sony Music Entertainment               New Politics                          Die Together                                   SR0000734589               5/21/13            6/13/13          1/31/14      10/7/15
Sony Music Entertainment               New Politics                          Fall Into These Arms                           SR0000734589               5/21/13            6/13/13          1/31/14      10/7/15
Sony Music Entertainment               New Politics                          Give Me Hope                                   SR0000734589               5/21/13            6/13/13          1/31/14      10/7/15
Sony Music Entertainment               New Politics                          Harlem                                         SR0000734587               1/22/13            6/13/13         11/18/13      10/7/15
Sony Music Entertainment               New Politics                          Just Like Me                                   SR0000734589               5/21/13            6/13/13          1/31/14      10/7/15
Sony Music Entertainment               New Politics                          Overcome                                       SR0000734589               5/21/13            6/13/13          1/31/14      10/7/15
Sony Music Entertainment               New Politics                          Stuck On You                                   SR0000734589               5/21/13            6/13/13          1/31/14      10/7/15
Sony Music Entertainment               One Direction                         Act My Age                                     SR0000766248              11/17/14            2/12/15          1/23/15      9/17/15
Sony Music Entertainment               One Direction                         Alive                                          SR0000740363              11/25/13           12/16/13         12/24/13     11/12/15
Sony Music Entertainment               One Direction                         Back For You                                   SR0000714020              11/13/12            1/14/13          9/26/13      5/29/15
Sony Music Entertainment               One Direction                         Best Song Ever                                 SR0000737314               7/22/13           11/18/13         12/24/13      2/17/17
Sony Music Entertainment               One Direction                         Better Than Words                              SR0000740363              11/25/13           12/16/13         12/12/13     11/12/15
Sony Music Entertainment               One Direction                         Change Your Ticket                             SR0000766248              11/17/14            2/12/15          1/23/15      9/17/15
Sony Music Entertainment               One Direction                         Clouds                                         SR0000766248              11/17/14            2/12/15          1/23/15      9/17/15
Sony Music Entertainment               One Direction                         Diana                                          SR0000740363              11/25/13           12/16/13         12/24/13     11/12/15
Sony Music Entertainment               One Direction                         Everything About You                           SR0000703645               3/13/12             6/4/12          8/20/14      6/20/15
Sony Music Entertainment               One Direction                         Fireproof                                      SR0000766248              11/17/14            2/12/15         11/23/14      9/17/15
Sony Music Entertainment               One Direction                         Girl Almighty                                  SR0000766245              11/12/14            2/12/15          1/23/15      9/17/15
Sony Music Entertainment               One Direction                         Half a Heart                                   SR0000740363              11/25/13           12/16/13          11/5/14     11/12/15
Sony Music Entertainment               One Direction                         Happily                                        SR0000740363              11/25/13           12/16/13         12/12/13     11/12/15
Sony Music Entertainment               One Direction                         Heart Attack                                   SR0000714020              11/13/12            1/14/13          9/26/13      5/29/15
Sony Music Entertainment               One Direction                         I Wish                                         SR0000703645               3/13/12             6/4/12          5/19/14      6/20/15
Sony Music Entertainment               One Direction                         Illusion                                       SR0000766248              11/17/14            2/12/15          1/23/15      9/17/15
Sony Music Entertainment               One Direction                         Kiss You                                       SR0000714020              11/13/12            1/14/13          9/26/13      7/21/15
Sony Music Entertainment               One Direction                         Last First Kiss                                SR0000714020              11/13/12            1/14/13          9/26/13      5/29/15
Sony Music Entertainment               One Direction                         Little Black Dress                             SR0000740363              11/25/13           12/16/13         12/24/13     11/12/15
Sony Music Entertainment               One Direction                         Little White Lies                              SR0000740363              11/25/13           12/16/13         12/12/13     11/12/15
Sony Music Entertainment               One Direction                         Midnight Memories                              SR0000740363              11/25/13       12/16/2013*          12/24/13     11/12/15
Sony Music Entertainment               One Direction                         Night Changes                                  SR0000766250              11/14/14            2/12/15          1/11/15     11/29/17
Sony Music Entertainment               One Direction                         No Control                                     SR0000766248              11/17/14            2/12/15         11/20/14      9/17/15
Sony Music Entertainment               One Direction                         One Thing                                      SR0000703645               3/13/12             6/4/12         10/16/13       5/8/17
Sony Music Entertainment               One Direction                         Same Mistakes                                  SR0000703645               3/13/12             6/4/12          8/13/14      6/20/15
Sony Music Entertainment               One Direction                         Spaces                                         SR0000766248              11/17/14            2/12/15         11/20/14      9/17/15
Sony Music Entertainment               One Direction                         Stockholm Syndrome                             SR0000766248              11/17/14            2/12/15          1/23/15      9/17/15
Sony Music Entertainment               One Direction                         Story of My Life                               SR0000740364              10/28/13           12/16/13          12/5/13      1/20/17
Sony Music Entertainment               One Direction                         Strong                                         SR0000740363              11/25/13           12/16/13         12/12/13     11/12/15
Sony Music Entertainment               One Direction                         Tell Me a Lie                                  SR0000703645               3/13/12             6/4/12         10/16/13      6/20/15
Sony Music Entertainment               One Direction                         You & I                                        SR0000740363              11/25/13           12/16/13         12/13/13      7/16/16
Sony Music Entertainment               Ozzy Osbourne                         Let Me Hear You Scream                         SR0000655472               6/14/10            7/27/10          6/18/14       3/8/18
Sony Music Entertainment               Passion Pit                           Mirrored Sea                                   SR0000710923               7/24/12            9/28/12           7/6/16      12/9/16
Sony Music Entertainment               Passion Pit                           On My Way                                      SR0000710923               7/24/12            9/28/12           7/6/16      12/9/16
Sony Music Entertainment               Passion Pit                           Two Veils To Hide My Face                      SR0000710923               7/24/12            9/28/12           7/6/16      12/9/16
Sony Music Entertainment               Passion Pit                           Where We Belong                                SR0000710923               7/24/12            9/28/12           7/6/16      12/9/16
Sony Music Entertainment               Pink                                  Beam Me Up                                     SR0000709056               11/9/09            10/1/12           1/5/14      5/25/16
Sony Music Entertainment               Pink                                  The Truth About Love                           SR0000709056               11/9/09            10/1/12          1/22/14      5/25/16
Sony Music Entertainment               Pink                                  Try                                            SR0000709056               11/9/09            10/1/12          3/24/14       2/5/18
Sony Music Entertainment               Pink                                  Where Did the Beat Go?                         SR0000709056               11/9/09            10/1/12          3/29/14      5/25/16
Sony Music Entertainment               Pink Floyd                            Side 1, Pt. 1: Things Left Unsaid              SR0000763779              11/10/14             1/5/15         12/18/14       1/9/18
Sony Music Entertainment               Pink Floyd                            Side 2, Pt. 1: Sum                             SR0000763779              11/10/14             1/5/15          12/3/14       1/9/18
Sony Music Entertainment               Pink Floyd                            Side 2, Pt. 2: Skins                           SR0000763779              11/10/14             1/5/15          12/3/14       1/9/18
Sony Music Entertainment               Pink Floyd                            Side 2, Pt. 4: Anisina                         SR0000763779              11/10/14             1/5/15          12/3/14       1/9/18
                                                                             Side 3, Pt. 1: The Lost Art of
Sony Music Entertainment               Pink Floyd                            Conversation                                   SR0000763779              11/10/14            1/5/15          12/23/14       1/9/18
Sony Music Entertainment               Pink Floyd                            Side 3, Pt. 3: Night Light                     SR0000763779              11/10/14            1/5/15           12/3/14       1/9/18
Sony Music Entertainment               Pink Floyd                            Side 4, Pt. 1: Calling                         SR0000763779              11/10/14            1/5/15           12/6/14       1/9/18
Sony Music Entertainment               Pink Floyd                            Side 4, Pt. 3: Surfacing                       SR0000763779              11/10/14            1/5/15           12/3/14       1/9/18
Sony Music Entertainment               Pink Floyd                            Side 4, Pt. 4: Louder Than Words               SR0000763779              11/10/14            1/5/15           12/6/14       3/7/17
Sony Music Entertainment               Pitbull                               Day Drinking                                   SR0000763598              11/24/14           12/2/14            3/1/15      3/29/15
Sony Music Entertainment               Pitbull                               Fun                                            SR0000763598              11/24/14           12/2/14            3/1/15     12/12/17
Sony Music Entertainment               Pitbull                               This Is Not A Drill                            SR0000763598              11/24/14           12/2/14            3/1/15      3/29/15
Sony Music Entertainment               Sia                                   Big Girls Cry                                  SR0000756330                7/8/14           8/25/14           7/24/14      7/15/17
Sony Music Entertainment               Sia                                   Elastic Heart                                  SR0000743410              11/19/13            4/8/14          10/16/15     11/29/17
Sony Music Entertainment               Sia                                   Fire Meet Gasoline                             SR0000756330                7/8/14           8/25/14          11/10/14     12/12/17
Sony Music Entertainment               Sia                                   Hostage                                        SR0000756330                7/8/14           8/25/14          10/17/15      7/15/17
Sony Music Entertainment               Stevie Ray Vaughan                    Life Without You                               SR0000069762               8/28/85           1/31/86          11/12/14       1/7/18
Sony Music Entertainment               Stevie Ray Vaughan                    Pride And Joy                                  SR0000046797                6/3/83           8/15/83          11/12/14       1/7/18
Sony Music Entertainment               Stevie Ray Vaughan                    Wall Of Denial                                 SR0000105420               5/31/89           6/26/89          11/12/14       1/7/18
                                       Stevie Ray Vaughan & Double
Sony Music Entertainment               Trouble                               Cold Shot                                      SR0000055881               5/25/84           8/17/84          11/12/14     10/21/17
                                       Stevie Ray Vaughan & Double
Sony Music Entertainment               Trouble                               Crossfire (Live)                               SR0000310500               11/8/00           7/23/01          11/28/14       1/7/18
                                       Stevie Ray Vaughan & Double
Sony Music Entertainment               Trouble                               Life Without You                               SR0000078688               11/5/86            2/6/87          11/12/14     10/21/17

     * Due to a data input error, the copyright registration date for "Midnight Memories" by One Direction appears as "2/12/15" in PX 21.
       As listed here, "12/16/13" is the correct copyright registration date, per the copyright registration certificate.
                                                                                                                  10
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                                                                                                               Registration   Publication       Registration      Infringement Infringement
             Plaintiff                         Artist                            Track Title                    Number           Date              Date             BeginDate    Enddate
                               Stevie Ray Vaughan & Double
Sony Music Entertainment       Trouble                         Love Struck Baby                            SR0000046797                6/3/83           8/15/83         11/12/14       1/7/18
                               Stevie Ray Vaughan & Double
Sony Music Entertainment       Trouble                         Say What!                                   SR0000069762              8/28/85           1/31/86          11/12/14       1/7/18
Sony Music Entertainment       The Strokes                     80's Comedown Machine                       SR0000721205              3/26/13           5/20/13            6/9/14       1/9/18
Sony Music Entertainment       The Strokes                     Call It Fate, Call It Karma                 SR0000721205              3/26/13           5/20/13            6/9/14       1/9/18
Sony Music Entertainment       The Strokes                     Call Me Back                                SR0000678099              3/22/11             6/6/11          5/14/15       1/9/18
Sony Music Entertainment       The Strokes                     Chances                                     SR0000721205              3/26/13           5/20/13           6/16/14       1/9/18
Sony Music Entertainment       The Strokes                     Games                                       SR0000678099              3/22/11             6/6/11          11/2/14       1/9/18
Sony Music Entertainment       The Strokes                     Happy Ending                                SR0000721205              3/26/13           5/20/13            6/9/14       1/9/18
Sony Music Entertainment       The Strokes                     Heart In A Cage                             SR0000742193             12/30/05             4/2/14          11/2/14       1/9/18
Sony Music Entertainment       The Strokes                     Juicebox                                    SR0000742192             10/11/05             4/2/14          11/2/14       1/9/18
Sony Music Entertainment       The Strokes                     Machu Picchu                                SR0000678099              3/22/11             6/6/11          11/2/14       1/9/18
Sony Music Entertainment       The Strokes                     Metabolism                                  SR0000678099              3/22/11             6/6/11          5/14/15       1/9/18
Sony Music Entertainment       The Strokes                     One Way Trigger                             SR0000721205              3/26/13           5/20/13            6/9/14       1/9/18
Sony Music Entertainment       The Strokes                     Partners In Crime                           SR0000721205              3/26/13           5/20/13            6/9/14       1/9/18
Sony Music Entertainment       The Strokes                     Slow Animals                                SR0000721205              3/26/13           5/20/13            6/9/14       1/9/18
Sony Music Entertainment       The Strokes                     Tap Out                                     SR0000721205              3/26/13           5/20/13            6/9/14       1/9/18
Sony Music Entertainment       The Strokes                     Two Kinds Of Happiness                      SR0000678099              3/22/11             6/6/11          11/2/14       1/9/18
Sony Music Entertainment       The Strokes                     Under Cover Of Darkness                     SR0000678099              3/22/11             6/6/11          11/2/14       1/9/18
                                                                                                                              SR0000334531 /    SR0000334531 /
                                                                                                                                 2003-06-18,       2003-08-20,
                                                                                                           SR0000334531 &     SR0000334532 /    SR0000334532 /
Sony Music Entertainment       Three 6 Mafia                   Bin Laden                                   SR0000334532           2003-06-18        2003-08-20           4/30/14      3/21/18
Sony Music Entertainment       Three 6 Mafia                   Body Parts 3 (Explicit)                     SR0000386683              9/14/05           4/12/06            8/2/14      3/22/18
Sony Music Entertainment       Three 6 Mafia                   Corner Man                                  SR0000614397              6/20/08           7/28/08          10/11/14     10/11/14
                                                                                                                              SR0000334531 /    SR0000334531 /
                                                                                                                                 2003-06-18,       2003-08-20,
                                                                                                           SR0000334531 &     SR0000334532 /    SR0000334532 /
Sony Music Entertainment       Three 6 Mafia                   Ghetto Chick                                SR0000334532           2003-06-18        2003-08-20           6/26/14      3/22/18
Sony Music Entertainment       Three 6 Mafia                   Half On s Sack (Explicit)                   SR0000386683              9/14/05           4/12/06           5/18/14      3/22/18
Sony Music Entertainment       Three 6 Mafia                   Let's Plan A Robbery (Explicit)             SR0000386683              9/14/05           4/12/06            8/2/14       8/2/14
                                                                                                                              SR0000334531 /    SR0000334531 /
                                                                                                                                 2003-06-18,       2003-08-20,
                                                                                                           SR0000334531 &     SR0000334532 /    SR0000334532 /
Sony Music Entertainment       Three 6 Mafia                   Rainbow Colors                              SR0000334532           2003-06-18        2003-08-20           6/26/14      3/22/18
Sony Music Entertainment       Three 6 Mafia                   Roll With It (Explicit)                     SR0000386683              9/14/05           4/12/06            8/2/14     12/30/17
                                                                                                                              SR0000334531 /    SR0000334531 /
                                                                                                                                 2003-06-18,       2003-08-20,
                                                                                                           SR0000334531 &     SR0000334532 /    SR0000334532 /
Sony Music Entertainment       Three 6 Mafia                   Shake Dat Jelly                             SR0000334532           2003-06-18        2003-08-20           6/26/14      3/22/18
                                                                                                                              SR0000334531 /    SR0000334531 /
                                                                                                                                 2003-06-18,       2003-08-20,
                                                                                                           SR0000334531 &     SR0000334532 /    SR0000334532 /
Sony Music Entertainment       Three 6 Mafia                   Testin My Gangsta                           SR0000334532           2003-06-18        2003-08-20           4/30/14      3/22/18
                                                                                                                              SR0000334531 /    SR0000334531 /
                                                                                                                                 2003-06-18,       2003-08-20,
                                                                                                           SR0000334531 &     SR0000334532 /    SR0000334532 /
Sony Music Entertainment       Three 6 Mafia                   Wolf Wolf                                   SR0000334532           2003-06-18        2003-08-20           4/30/14      3/21/18
Sony Music Entertainment       Usher                           Climax                                      SR0000731104              6/12/12           6/13/12           1/22/14      6/16/17
Sony Music Entertainment       Usher                           Dive                                        SR0000731104              6/12/12           6/13/12           7/25/16      7/31/16
Sony Music Entertainment       Usher                           Papers                                      SR0000652023              3/26/10           4/27/10           7/25/16      2/13/18
Sony Music Entertainment       Usher                           Show Me                                     SR0000731104              6/12/12           6/13/12           7/25/16      7/31/16
Sony Music Entertainment       Usher                           Twisted                                     SR0000731104              6/12/12           6/13/12          12/23/15      7/31/16
Sony Music Entertainment       Yo Gotti                        Cold Blood (Explicit)                       SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Sony Music Entertainment       Yo Gotti                        F-U (Explicit)                              SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Sony Music Entertainment       Yo Gotti                        I Am                                        SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Sony Music Entertainment       Yo Gotti                        I Know (Explicit)                           SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Sony Music Entertainment       Yo Gotti                        ION Want It                                 SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Sony Music Entertainment       Yo Gotti                        King Sh*t (Explicit)                        SR0000737838             10/17/13          12/20/13          11/26/13     11/29/17
Sony Music Entertainment       Yo Gotti                        LeBron James (Explicit)                     SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Sony Music Entertainment       Yo Gotti                        Pride to the Side                           SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Sony Music Entertainment       Yo Gotti                        Respect That You Earn                       SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Sony Music Entertainment       Yo Gotti                        Sorry                                       SR0000737837             11/19/13          12/20/13           1/26/14     11/29/17
Tooth & Nail, LLC              Norma Jean                      Opposite Of Left And Wrong                  SR0000638129                8/5/08          9/17/08           7/30/16      7/30/16
UMG Recordings Inc.            2 Chainz                        Birthday Song                               SR0000706416              7/24/12           8/21/12          10/21/15      8/21/17
UMG Recordings Inc.            2 Chainz                        Dope Peddler                                SR0000706415              8/14/12           8/21/12           10/2/13      8/21/17
UMG Recordings Inc.            2 Chainz                        Ghetto Dreams                               SR0000706415              8/14/12           8/21/12          11/26/13      8/21/17
UMG Recordings Inc.            2Pac                            Black Starry Night (Interlude) (Explicit)   SR0000276481             11/18/97           1/24/00           3/13/14      9/13/16
UMG Recordings Inc.            2Pac                            Crooked Nigga Too                           SR0000366107             12/14/04             2/4/05           1/3/14      4/17/18
UMG Recordings Inc.            2Pac                            Fair Xchange                                SR0000323532             11/26/02           2/28/03           5/26/14      4/17/18
UMG Recordings Inc.            2Pac                            Fuck Friendz                                SR0000295873              3/27/01           5/16/01           9/20/13       1/4/18
UMG Recordings Inc.            2Pac                            Thugz Mansion                               SR0000323532             11/26/02           2/28/03          12/13/17     12/13/17
UMG Recordings Inc.            38 Special                      Caught Up In You                            SR0000035509              4/19/82             6/7/82         12/30/14     12/21/15
UMG Recordings Inc.            38 Special                      Hold On Loosely                             SR0000024235              1/21/81           2/20/81          11/12/14       1/1/18
UMG Recordings Inc.            50 Cent                         Back Down                                   SR0000337801              2/11/03           3/26/03            6/6/14     12/31/17
UMG Recordings Inc.            50 Cent                         Death To My Enemies                         SR0000633257             11/16/09           12/9/09            9/7/14      8/14/17
UMG Recordings Inc.            50 Cent                         Get In My Car                               SR0000366051                3/3/05          3/18/05           6/26/14      8/14/17
UMG Recordings Inc.            50 Cent                         Heat                                        SR0000337801              2/11/03           3/26/03            6/6/14     12/31/17
UMG Recordings Inc.            50 Cent                         In Da Club                                  SR0000323562                2/4/03            3/4/03           6/6/14       2/4/18
UMG Recordings Inc.            50 Cent                         Patiently Waiting                           SR0000337801              2/11/03           3/26/03            6/6/14     12/31/17
UMG Recordings Inc.            Aaron Neville                   Let It Snow, Let It Snow, Let It Snow       SR0000183411              10/5/93           2/18/94          10/19/13       3/5/16
UMG Recordings Inc.            Aerosmith                       Angel                                       SR0000153061              4/20/93             5/4/93          1/17/15      2/22/18
UMG Recordings Inc.            Aerosmith                       Dude (Looks Like A Lady)                    SR0000087670              8/21/87           11/9/87            2/5/15      2/22/18
UMG Recordings Inc.            Aerosmith                       Hangman Jury                                SR0000085369              8/25/87           11/9/87           4/26/15     11/20/17
UMG Recordings Inc.            Aerosmith                       Love In An Elevator                         SRu000161912                   n/a            9/1/89           2/5/15       2/5/18
UMG Recordings Inc.            Aerosmith                       Rag Doll                                    SR0000085369              8/25/87           11/9/87          12/23/13       2/4/18


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                                                                                                           Registration   Publication      Registration      Infringement Infringement
            Plaintiff                    Artist                          Track Title                        Number           Date             Date             BeginDate    Enddate
UMG Recordings Inc.         Aerosmith                    The Other Side                                SRu000161912                  n/a            9/1/89           2/5/15       2/3/18
UMG Recordings Inc.         Aerosmith                    What It Takes                                 SRu000161912                  n/a            9/1/89           2/5/15       2/3/18
UMG Recordings Inc.         Alex Clare                   Treading Water                                SR0000700527              7/11/11           5/24/12          8/25/15      8/27/15
UMG Recordings Inc.         American Authors             Best Day Of My Life                           SR0000720641              3/19/13            4/5/13          5/16/14      3/19/18
UMG Recordings Inc.         Amy Grant                    Baby Baby (Heart In Motion Mix)               SR0000131890              2/11/91           5/28/91          7/20/14       2/4/18
                                                         Christmas Lullaby (I Will Lead You Home) (A
UMG Recordings Inc.         Amy Grant                    Christmas To Remember Album Version)          SR0000271866             10/19/99         11/10/99           9/23/15       8/2/16
UMG Recordings Inc.         Amy Grant                    Out In The Open                               SR0000340814              8/19/03          9/24/03           9/23/15       8/2/16
UMG Recordings Inc.         Amy Winehouse                Know You Now                                  SR0000614121             10/20/03         12/19/07           7/29/13       2/6/18
UMG Recordings Inc.         Amy Winehouse                Love Is A Losing Game                         SR0000407451              3/13/07          5/29/07          10/28/15      2/11/18
UMG Recordings Inc.         Amy Winehouse                Mr Magic (Through The Smoke)                  SR0000614121             10/20/03         12/19/07           7/29/13      9/21/17
UMG Recordings Inc.         Amy Winehouse                Teach Me Tonight                              SR0000614121             10/20/03         12/19/07            6/9/13       2/6/18
UMG Recordings Inc.         Amy Winehouse                Wake Up Alone                                 SR0000407451              3/13/07          5/29/07          12/27/14       2/6/18
UMG Recordings Inc.         Amy Winehouse                What Is It About Men                          SR0000614121             10/20/03         12/19/07           7/29/13      2/11/18
UMG Recordings Inc.         Ariana Grande                Baby I                                        SR0000729456              7/22/13          9/11/13           9/24/13      8/16/15
UMG Recordings Inc.         Ariana Grande                Hands On Me                                   SR0000757296              8/25/14            9/9/14         11/15/14      2/18/18
UMG Recordings Inc.         Ariana Grande                Intro                                         SR0000757296              8/25/14            9/9/14           5/2/16      2/18/18
UMG Recordings Inc.         Ariana Grande                My Everything                                 SR0000757296              8/25/14            9/9/14         11/21/15      2/18/18
UMG Recordings Inc.         Ariana Grande                Only 1                                        SR0000757296              8/25/14            9/9/14          7/24/16      2/18/18
UMG Recordings Inc.         Ariana Grande                Piano                                         SR0000729458               9/3/13          9/11/13           9/24/13      7/25/16
UMG Recordings Inc.         Ariana Grande                Problem                                       SR0000743514              4/28/14          5/30/14          10/31/15      2/18/18
UMG Recordings Inc.         Ariana Grande                The Way                                       SR0000722427              3/26/13          6/17/13          10/26/15      8/21/17
UMG Recordings Inc.         Asia                         Countdown To Zero                             SR0000067710             11/11/85         12/10/85            1/4/16      2/25/16
UMG Recordings Inc.         Asia                         Heat Of The Moment                            SR0000033700              3/15/82          3/23/82          12/17/14      10/1/16
UMG Recordings Inc.         Asia                         Only Time Will Tell                           SR0000033700              3/15/82          3/23/82           2/21/16      2/25/16
UMG Recordings Inc.         Asia                         Time Again                                    SR0000033700              3/15/82          3/23/82           2/18/16      2/25/16
UMG Recordings Inc.         August Alsina                Benediction                                   SR0000748699              3/25/14          5/15/14          11/11/15       6/7/17
UMG Recordings Inc.         August Alsina                Ghetto                                        SR0000739036              2/11/14            3/7/14          3/27/14       6/7/17
UMG Recordings Inc.         August Alsina                No Love                                       SR0000748698              4/15/14          5/15/14          10/25/14       6/7/17
UMG Recordings Inc.         August Alsina                Numb                                          SR0000736072             12/10/13            1/8/14          5/21/14       6/7/17
UMG Recordings Inc.         Avicii                       Addicted To You                               SR0000732601              9/17/13          10/8/13           10/1/13      7/16/17
UMG Recordings Inc.         Avicii                       Shame On Me (Explicit)                        SR0000732601              9/17/13          10/8/13           10/1/13      7/16/17
UMG Recordings Inc.         Azealia Banks                212                                           SR0000732922              4/24/12          9/25/13          11/22/14      10/1/16
UMG Recordings Inc.         Bad Meets Evil               Fast Lane                                     SR0000678637               5/3/11          7/11/11          10/16/15      3/18/18
UMG Recordings Inc.         Bad Meets Evil               Lighters (Explicit)                           SR0000678636              6/14/11          7/11/11           5/22/12      3/18/18
UMG Recordings Inc.         Big Boi                      Descending                                    SR0000714482             12/11/12         12/26/12          12/26/13      9/24/17
UMG Recordings Inc.         Big Boi                      Higher Res                                    SR0000714482             12/11/12         12/26/12          12/26/13      9/24/17
UMG Recordings Inc.         Big Boi                      Lines                                         SR0000714482             12/11/12         12/26/12           1/22/14      9/24/17
UMG Recordings Inc.         Big Boi                      Mama Told Me                                  SR0000710232              10/9/12          11/1/12          12/26/13      9/24/17
UMG Recordings Inc.         Big Boi                      Objectum Sexuality                            SR0000714482             12/11/12         12/26/12          12/26/13      9/24/17
UMG Recordings Inc.         Big Boi                      Raspberries                                   SR0000714482             12/11/12         12/26/12          12/26/13      9/24/17
UMG Recordings Inc.         Big Boi                      Tangerine                                     SR0000663150               7/6/10          7/22/10           6/13/14      7/21/17
UMG Recordings Inc.         Big Boi                      The Thickets                                  SR0000714482             12/11/12         12/26/12          12/26/13      9/24/17
UMG Recordings Inc.         Big Boi                      Thom Pettie                                   SR0000714482             12/11/12         12/26/12          12/26/13      9/24/17
UMG Recordings Inc.         Big Boi                      Tremendous Damage                             SR0000714482             12/11/12         12/26/12          12/26/13      9/24/17
UMG Recordings Inc.         Big Sean                     10 2 10                                       SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     All Figured Out                               SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     All Your Fault                                SR0000766152              2/24/15            4/6/15           4/2/16     11/17/17
UMG Recordings Inc.         Big Sean                     Ashley                                        SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     Beware                                        SR0000730543              6/25/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     Blessings                                     SR0000766140              1/30/15            4/6/15         10/17/15     12/19/17
UMG Recordings Inc.         Big Sean                     Celebrity (Explicit)                          SR0000678630              6/28/11          7/11/11          11/24/14       5/8/17
UMG Recordings Inc.         Big Sean                     Dance (A$$)                                   SR0000678630              6/28/11          7/11/11           6/21/14       5/8/17
UMG Recordings Inc.         Big Sean                     Dark Sky (Skyscrapers)                        SR0000766152              2/24/15            4/6/15          4/19/16     11/17/17
UMG Recordings Inc.         Big Sean                     Fire                                          SR0000730544              8/20/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     First Chain                                   SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     Guap (Explicit)                               SR0000711108             10/26/12         11/14/12           1/15/15       8/9/17
UMG Recordings Inc.         Big Sean                     I Do It (Explicit)                            SR0000678631              5/10/11          7/11/11           6/21/14       5/8/17
UMG Recordings Inc.         Big Sean                     Intro (Explicit)                              SR0000678630              6/28/11          7/11/11            7/3/14      3/12/18
UMG Recordings Inc.         Big Sean                     MILF                                          SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     Mona Lisa                                     SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     My Last                                       SR0000675635               3/1/11            4/4/11          6/21/14       5/8/17
UMG Recordings Inc.         Big Sean                     Nothing Is Stopping You                       SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     One Man Can Change The World                  SR0000766363              2/17/15            4/6/15           2/2/17      5/11/17
UMG Recordings Inc.         Big Sean                     Outro                                         SR0000766152              2/24/15            4/6/15          4/19/16     11/17/17
UMG Recordings Inc.         Big Sean                     Paradise                                      SR0000752369              10/7/14          11/6/14           4/18/15     11/17/17
UMG Recordings Inc.         Big Sean                     Play No Games                                 SR0000766152              2/24/15            4/6/15          4/18/15     11/17/17
UMG Recordings Inc.         Big Sean                     Research                                      SR0000766152              2/24/15            4/6/15          4/18/15     11/17/17
UMG Recordings Inc.         Big Sean                     Sierra Leone                                  SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
UMG Recordings Inc.         Big Sean                     So Much More (Explicit)                       SR0000678630              6/28/11          7/11/11            8/3/14       5/8/17
UMG Recordings Inc.         Big Sean                     Stay Down                                     SR0000766152              2/24/15            4/6/15          4/19/16     11/17/17
UMG Recordings Inc.         Big Sean                     Switch Up (Explicit)                          SR0000721314               4/6/13          4/19/13            5/7/15       8/9/17
UMG Recordings Inc.         Big Sean                     Win Some, Lose Some                           SR0000766688              2/17/15          2/29/16           4/19/16     11/17/17
UMG Recordings Inc.         Big Sean                     World Ablaze                                  SR0000730542              8/27/13          9/11/13           9/26/13       8/9/17
                                                                                                                          SR0000633585 /   SR0000633585 /
                                                                                                                             2009-05-19,      2009-06-30,
                                                                                                       SR0000633585 /     SR0000412274 /   SR0000412274 /
UMG Recordings Inc.         Black Eyed Peas              Imma Be                                       SR0000412274                  n/a       2010-03-04            7/6/14      8/30/17
UMG Recordings Inc.         Black Eyed Peas              Like That                                     SR0000378166               6/7/05          7/15/05           4/11/14      7/15/16
UMG Recordings Inc.         Blue October                 Congratulations                               SR0000388117               4/4/06          4/13/06           5/11/15      6/13/17
UMG Recordings Inc.         Blue October                 Everlasting Friend                            SR0000388117               4/4/06          4/13/06           7/13/15      6/13/17
UMG Recordings Inc.         Blue October                 Razorblade                                    SR0000337739               8/5/03            9/9/03          4/13/16       1/5/17
UMG Recordings Inc.         Blue October                 Say It (Explicit)                             SR0000629145              3/24/09          4/10/09           4/13/16       1/5/17
                                                                                                                          NF0000000137 /   RE0000931699 /
                                                                                                                              1973-9-14,       2001-12-21
                                                                                                       NF0000000137 /     RE0000931699 /   NF0000000137 /
UMG Recordings Inc.         Bob Marley & The Wailers     Get Up, Stand Up                              RE0000931699                  n/a       1973-09-14           3/29/14       1/7/18

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                                                                                                 Registration   Publication      Registration      Infringement Infringement
            Plaintiff                    Artist                   Track Title                     Number           Date             Date             BeginDate    Enddate
UMG Recordings Inc.         Bobby Brown             My Prerogative                           SR0000093332              6/20/88          7/12/88          10/11/14       3/3/18
UMG Recordings Inc.         Bon Jovi                Bad Medicine                             SR0000100048              9/19/88         10/24/88           3/26/16      12/7/16
UMG Recordings Inc.         Canaan Smith            Love You Like That                       SR0000746713              7/21/14            8/7/14          4/14/15      9/17/16
UMG Recordings Inc.         Candice Glover          In The Middle                            SR0000740316              2/18/14          3/10/14           4/21/15       3/2/16
UMG Recordings Inc.         Carly Rae Jepsen        Call Me Maybe                            SR0000696123              2/22/12          3/19/12          10/15/13       6/3/17
UMG Recordings Inc.         Cassadee Pope           Champagne                                SR0000735511              10/8/13         10/18/13          11/26/13      1/28/15
UMG Recordings Inc.         Cassadee Pope           One Song Away                            SR0000735511              10/8/13         10/18/13          11/26/13      1/28/15
UMG Recordings Inc.         Cassadee Pope           Wasting All These Tears                  SR0000724674               6/4/13          6/24/13           10/3/13     12/10/17
UMG Recordings Inc.         Chamillionaire          Good Morning                             SR0000637166             10/13/09          12/7/09           7/12/16      2/13/17
UMG Recordings Inc.         Charles Hamilton        New York Raining                         SR0000762662              3/18/15          4/27/15           7/18/16     12/11/16
UMG Recordings Inc.         Colbie Caillat          Begin Again                              SR0000637479              8/25/09          9/17/09            8/2/13     10/24/15
UMG Recordings Inc.         Colbie Caillat          Fearless                                 SR0000637479              8/25/09          9/17/09            8/2/13     10/24/15
UMG Recordings Inc.         Colbie Caillat          Think Good Thoughts                      SR0000679496              7/12/11          7/26/11           11/6/14     10/24/15
UMG Recordings Inc.         Commodores              Oh No                                    SR0000027457              6/22/81          6/25/81          11/29/15     12/21/15
UMG Recordings Inc.         Common                  Between Me, You & Liberation             SR0000323538             12/10/02            3/4/03          1/14/15       2/9/15
UMG Recordings Inc.         Common                  Make My Day (Explicit)                   SR0000619987              12/9/08         12/22/08           3/22/14     10/14/14
UMG Recordings Inc.         Crystal Castles         Vietnam                                  SR0000656101              4/23/10          6/17/10          10/22/15      7/25/16
UMG Recordings Inc.         D-12                    Just Like U (Explicit)                   SR0000357106              4/27/04          6/14/04           11/7/15      4/20/18
UMG Recordings Inc.         Def Leppard             Animal                                   SR0000090420              7/27/87            4/6/88           7/2/14      2/19/18
UMG Recordings Inc.         Def Leppard             Excitable                                SR0000090420              7/27/87            4/6/88          10/3/14       2/5/18
UMG Recordings Inc.         Def Leppard             Love And Affection                       SR0000090420              7/27/87            4/6/88          3/17/15      2/19/18
UMG Recordings Inc.         Def Leppard             Love Bites                               SR0000090420              7/27/87            4/6/88           7/2/14      9/24/17
UMG Recordings Inc.         Def Leppard             Photograph                               SR0000042982              1/17/83            3/9/81           7/2/14      2/19/18
UMG Recordings Inc.         Def Leppard             Pour Some Sugar On Me                    SR0000090420              7/27/87            4/6/88           7/2/14      2/19/18
UMG Recordings Inc.         Def Leppard             Run Riot                                 SR0000090420              7/27/87            4/6/88          3/17/15       1/7/18
UMG Recordings Inc.         Disclosure              January                                  SR0000724303               6/4/13          6/27/13            2/7/14      7/15/17
UMG Recordings Inc.         Disclosure              Voices                                   SR0000724303               6/4/13          6/27/13           11/6/15       2/6/17
UMG Recordings Inc.         DMX                     Dogs Out                                 SR0000346181              9/16/03         12/16/03           2/15/14      9/11/17
UMG Recordings Inc.         DMX                     Shot Down                                SR0000346181              9/16/03         12/16/03           3/27/14      3/17/18
UMG Recordings Inc.         DMX                     Who We Be                                SR0000303068              9/25/01          11/5/01            8/1/14      3/17/18
UMG Recordings Inc.         Dr. Dre                 Housewife (Explicit)                     SR0000277983             11/16/99          2/28/00            8/9/15      7/13/17
UMG Recordings Inc.         Dr. Dre                 Xxplosive (Explicit)                     SR0000277983             11/16/99          2/28/00           7/17/14      4/28/18
UMG Recordings Inc.         Easton Corbin           A Thing For You                          SR0000709974              9/18/12          11/5/12          12/23/13      8/15/15
UMG Recordings Inc.         Easton Corbin           All Over The Road                        SR0000709974              9/18/12          11/5/12          12/23/13      8/15/15
UMG Recordings Inc.         Easton Corbin           Are You With Me                          SR0000709974              9/18/12          11/5/12          12/23/13      3/20/17
UMG Recordings Inc.         Easton Corbin           Dance Real Slow                          SR0000709974              9/18/12          11/5/12            2/5/14      8/15/15
UMG Recordings Inc.         Easton Corbin           This Feels A Lot Like Love               SR0000709974              9/18/12          11/5/12          12/23/13      8/15/15
UMG Recordings Inc.         Eli Young Band          Just Add Moonlight                       SR0000742659               3/3/14          3/20/14           3/24/14       8/7/15
UMG Recordings Inc.         Ellie Goulding          Aftertaste                               SR0000776106              11/6/15          12/2/15           5/23/16       6/1/17
UMG Recordings Inc.         Ellie Goulding          Lights                                   SR0000671828               3/8/11          3/21/11          10/13/13      6/22/17
UMG Recordings Inc.         Ellie Goulding          Something In The Way You Move            SR0000776103              10/9/15          12/2/15            6/2/16       6/1/17
UMG Recordings Inc.         Elvis Costello          God Give Me Strength                     SR0000260216              9/29/98          10/9/98           2/15/14      1/24/17
UMG Recordings Inc.         Elvis Costello          I Still Have That Other Girl             SR0000260216              9/29/98          10/9/98           3/22/16      3/23/16
UMG Recordings Inc.         Elvis Costello          In The Darkest Place                     SR0000260216              9/29/98          10/9/98           3/22/16      3/23/16
UMG Recordings Inc.         Elvis Costello          This House Is Empty Now                  SR0000260216              9/29/98          10/9/98           3/22/16      3/23/16
UMG Recordings Inc.         Eminem                  ***** Please II                          SR0000287944              5/23/00            6/5/00           1/7/14      3/20/18
UMG Recordings Inc.         Eminem                  Ass Like That                            SR0000364769             11/12/04         12/29/04           8/13/13      4/21/18
UMG Recordings Inc.         Eminem                  Bad Guy (Explicit)                       SR0000735449              11/5/13         11/15/13            2/7/14      4/23/18
UMG Recordings Inc.         Eminem                  Berzerk                                  SR0000729822              8/27/13          9/23/13            2/7/14     12/17/17
UMG Recordings Inc.         Eminem                  Big Weenie                               SR0000364769             11/12/04         12/29/04           8/13/13      4/22/18
UMG Recordings Inc.         Eminem                  Business (Explicit)                      SR0000317924              5/26/02          5/29/02            1/6/14      4/27/18
UMG Recordings Inc.         Eminem                  Guilty Conscience (Explicit)             SR0000262686              2/23/99          3/29/99            1/6/14      4/23/18
UMG Recordings Inc.         Eminem                  Guts Over Fear                           SR0000747848              8/25/14            9/8/14         10/22/15     11/29/17
UMG Recordings Inc.         Eminem                  Just Lose It                             SR0000362082              9/28/04         11/26/04           8/13/13      4/27/18
UMG Recordings Inc.         Eminem                  My Name Is                               SR0000262686              2/23/99          3/29/99           10/5/13      4/22/18
UMG Recordings Inc.         Eminem                  Not Afraid                               SR0000653571               5/3/10            7/1/10         10/16/15      4/27/18
UMG Recordings Inc.         Eminem                  Rain Man                                 SR0000364769             11/12/04         12/29/04           8/13/13     12/17/17
UMG Recordings Inc.         Eminem                  Rap God (Explicit)                       SR0000735451             10/15/13         11/15/13            2/7/14     12/17/17
UMG Recordings Inc.         Eminem                  Say Goodbye Hollywood                    SR0000317924              5/26/02          5/29/02           1/13/14      4/20/18
UMG Recordings Inc.         Eminem                  Sing For The Moment                      SR0000317924              5/26/02          5/29/02           10/3/13      4/23/18
UMG Recordings Inc.         Eminem                  Stan                                     SR0000287944              5/23/00            6/5/00          11/6/15      4/27/18
UMG Recordings Inc.         Eminem                  The Monster                              SR0000735449              11/5/13         11/15/13          11/12/13      4/22/18
UMG Recordings Inc.         Eminem                  The Real Slim Shady                      SR0000293541              5/16/00          2/21/01           9/29/13      4/27/18
UMG Recordings Inc.         Eminem                  The Way I Am                             SR0000287944              5/23/00            6/5/00         10/22/15      4/27/18
UMG Recordings Inc.         Eminem                  Without Me                               SR0000317924              5/26/02          5/29/02           10/3/13      4/23/18
UMG Recordings Inc.         Enrique Iglesias        Let Me Be Your Lover                     SR0000742694              3/18/14            4/8/14         11/25/15      7/31/17
UMG Recordings Inc.         Enrique Iglesias        Only A Woman                             SR0000742694              3/18/14            4/8/14          4/26/14      7/31/17
                                                                                                                N00000040224 /   RE0000908776 /
                                                                                                                    1976-10-1,       2004-12-20
                                                                                             N00000040224 /     RE0000908776 /   N00000040224 /
UMG Recordings Inc.         Eric Clapton            Double Trouble                           RE0000908776            1976-10-1       1976-10-01           7/16/14      12/8/17
UMG Recordings Inc.         Erykah Badu             Fall In Love (Your Funeral)              SR0000647748              3/30/10          4/13/10          10/10/15      7/20/17
UMG Recordings Inc.         Erykah Badu             Get MuNNY                                SR0000647748              3/30/10          4/13/10          12/19/13      7/20/17
UMG Recordings Inc.         Fall Out Boy            Centuries                                SR0000750127               9/9/14          10/9/14            2/6/15      9/17/16
UMG Recordings Inc.         Fergie                  All That I Got (The Make Up Song)        SR0000393675              9/19/06         10/17/06            8/7/13      6/22/17
UMG Recordings Inc.         Fergie                  Clumsy                                   SR0000393675              9/19/06         10/17/06            8/7/13      6/22/17
UMG Recordings Inc.         Fergie                  Fergalicious                             SR0000393675              9/19/06         10/17/06            8/7/13      6/22/17
UMG Recordings Inc.         Fergie                  Finally                                  SR0000393675              9/19/06         10/17/06            8/7/13      6/22/17
UMG Recordings Inc.         Fergie                  Glamorous                                SR0000393675              9/19/06         10/17/06            8/7/13      2/12/18
UMG Recordings Inc.         Fergie                  Mary Jane Shoes                          SR0000393675              9/19/06         10/17/06            8/7/13      6/22/17
UMG Recordings Inc.         Fergie                  Voodoo Doll                              SR0000393675              9/19/06         10/17/06            8/7/13      6/22/17
UMG Recordings Inc.         Flyleaf                 Cassie                                   SR0000383448              9/30/05          2/23/06           5/13/15     12/21/17
UMG Recordings Inc.         Flyleaf                 So I Thought                             SR0000383448              9/30/05          2/23/06            6/5/16     12/21/17
UMG Recordings Inc.         French Montana          **** What Happens Tonight                SR0000722499              5/21/13          6/17/13          11/22/13       9/9/15
UMG Recordings Inc.         French Montana          Bust It Open                             SR0000722499              5/21/13          6/17/13           9/17/13       9/9/15
UMG Recordings Inc.         French Montana          Freaks                                   SR0000718983              2/14/13            3/8/13         11/22/13      2/13/17
UMG Recordings Inc.         French Montana          Gifted                                   SR0000722499              5/21/13          6/17/13          11/22/13       9/9/15

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                                                                                                   Registration   Publication        Registration     Infringement Infringement
            Plaintiff                      Artist                   Track Title                     Number           Date               Date            BeginDate    Enddate
UMG Recordings Inc.         French Montana            I Told Em (Explicit)                     SR0000722499               5/21/13           6/17/13         11/22/13       9/9/15
UMG Recordings Inc.         French Montana            Ocho Cinco                               SR0000722499               5/21/13           6/17/13         12/23/14       9/9/15
UMG Recordings Inc.         French Montana            Once In A While                          SR0000722499               5/21/13           6/17/13         11/22/13       9/9/15
UMG Recordings Inc.         French Montana            Paranoid                                 SR0000722499               5/21/13           6/17/13         11/22/13       9/9/15
UMG Recordings Inc.         French Montana            Throw It In The Bag                      SR0000722499               5/21/13           6/17/13         12/23/14       9/9/15
UMG Recordings Inc.         French Montana            Trap House                               SR0000722499               5/21/13           6/17/13         11/22/13       9/9/15
UMG Recordings Inc.         French Montana            We Go Where Ever We Want                 SR0000722499               5/21/13           6/17/13         11/22/13       9/9/15
UMG Recordings Inc.         French Montana            When I Want                              SR0000722499               5/21/13           6/17/13         11/22/13       9/9/15
UMG Recordings Inc.         Gary Allan                Songs About Rain                         SR0000343068               9/30/03          11/10/03          5/30/16       7/5/16
UMG Recordings Inc.         George Strait             Give It All We Got Tonight               SR0000712472              11/19/12          12/14/12          3/21/15      5/29/16
UMG Recordings Inc.         George Strait             I Just Want To Dance With You            SR0000252101                4/7/98           5/18/98          6/18/14      11/2/17
UMG Recordings Inc.         George Strait             Ocean Front Property                     SR0000079124                1/5/87           2/24/87           2/7/16      11/2/17
UMG Recordings Inc.         George Strait             The Best Day                             SR0000278800                1/4/00           3/20/00          6/18/14      11/2/17
UMG Recordings Inc.         George Strait             The Chill Of An Early Fall               SR0000128640               3/19/91           3/26/91          6/18/14      11/2/17
UMG Recordings Inc.         Gorgon City               Go All Night                             SR0000766143               10/6/14            4/6/15         11/13/15     11/29/17
UMG Recordings Inc.         Guns N' Roses             Chinese Democracy                        SR0000622777              11/23/08           1/21/09          9/14/13     10/21/17
UMG Recordings Inc.         Guns N' Roses             I.R.S.                                   SR0000622777              11/23/08           1/21/09          9/14/13      6/25/16
UMG Recordings Inc.         Guns N' Roses             Prostitute                               SR0000622777              11/23/08           1/21/09          9/14/13     10/21/17
UMG Recordings Inc.         Guns N' Roses             Street Of Dreams                         SR0000622777              11/23/08           1/21/09          9/14/13      6/25/16
UMG Recordings Inc.         Guns N' Roses             There Was A Time                         SR0000622777              11/23/08           1/21/09         10/11/14     10/21/17
UMG Recordings Inc.         Gwen Stefani              Bubble Pop Electric                      SR0000364759              11/23/04          12/29/04           5/4/14      4/10/16
UMG Recordings Inc.         Gwen Stefani              Now That You Got It                      SR0000400614               12/5/06          12/29/06          8/30/13      6/30/16
UMG Recordings Inc.         Hatebreed                 Below The Bottom                         SR0000311743               3/26/02           5/14/02          6/18/15       5/1/17
UMG Recordings Inc.         Ja Rule                   Wonderful (Explicit)                     SR0000362155               10/5/04          12/29/04          6/28/14      4/29/18
UMG Recordings Inc.         James Bay                 Incomplete                               SR0000766215               3/23/15            4/6/15          8/27/15       8/2/16
UMG Recordings Inc.         Janet Jackson             Miss You Much                            SR0000109115                9/8/89          11/27/89         10/21/15       2/4/18
UMG Recordings Inc.         Jessie J                  Casualty Of Love                         SR0000674864               2/22/11           4/28/11           9/6/13      8/12/16
UMG Recordings Inc.         Jessie J                  Rainbow                                  SR0000674861               4/12/11           4/28/11           9/6/13      6/19/15
UMG Recordings Inc.         Jessie Ware               Running                                  SR0000698466               2/26/12           4/25/12         10/24/13      7/15/17
UMG Recordings Inc.         Jessie Ware               Tough Love                               SR0000746942               7/22/14           5/29/07         10/17/15       3/5/16
UMG Recordings Inc.         Jhené Aiko                Brave                                    SR0000758150                9/9/14           9/29/14         11/12/14       7/6/17
UMG Recordings Inc.         Jhené Aiko                Pretty Bird (Freestyle)                  SR0000758150                9/9/14           9/29/14         11/12/14       9/8/16
UMG Recordings Inc.         Jhené Aiko                Spotless Mind                            SR0000758150                9/9/14           9/29/14         11/12/14       7/6/17
UMG Recordings Inc.         Jhené Aiko                The Worst                                SR0000737555              11/11/13          11/22/13         10/27/15       4/3/17
UMG Recordings Inc.         Jhené Aiko                To Love & Die                            SR0000758150                9/9/14           9/29/14         11/12/14       9/8/16
UMG Recordings Inc.         Jimmy Eat World           A Praise Chorus                          SR0000288525               7/24/01            8/6/01           6/1/16      7/15/16
UMG Recordings Inc.         John Legend               Bliss (Explicit)                         SR0000763373               9/18/12          10/14/12          1/28/14     12/23/17
UMG Recordings Inc.         Johnny Cash               Wanted Man                               SR0000138685               2/19/91            2/3/92          9/11/12     12/26/17
UMG Recordings Inc.         Justin Bieber             Bad Day                                  SR0000732686               11/4/13          11/21/13          1/22/14     10/28/16
UMG Recordings Inc.         Justin Bieber             Purpose                                  SR0000775670              11/13/15          12/21/15          7/30/16      11/1/17
UMG Recordings Inc.         Justin Bieber             PYD                                      SR0000733727              11/18/13          12/18/13          2/28/14     10/28/16
UMG Recordings Inc.         Justin Bieber             What Do You Mean?                        SR0000773004               8/28/15          10/14/15          2/27/16     12/12/17
UMG Recordings Inc.         Kanye West                Black Skinhead                           SR0000724178               6/18/13           6/27/13          9/26/13     12/23/17
UMG Recordings Inc.         Kanye West                Blood On The Leaves                      SR0000724178               6/18/13           6/27/13           1/4/14     12/23/17
UMG Recordings Inc.         Kanye West                Bound 2                                  SR0000724178               6/18/13           6/27/13          9/26/13     12/23/17
UMG Recordings Inc.         Kanye West                Guilt Trip                               SR0000724178               6/18/13           6/27/13          9/26/13     12/23/17
UMG Recordings Inc.         Kanye West                Hold My Liquor                           SR0000724178               6/18/13           6/27/13           1/4/14     12/23/17
UMG Recordings Inc.         Kanye West                I Am A God                               SR0000724178               6/18/13           6/27/13           1/4/14     12/23/17
UMG Recordings Inc.         Kanye West                I'm In It                                SR0000724178               6/18/13           6/27/13          1/28/14      7/31/14
UMG Recordings Inc.         Kanye West                Mercy.1 (Explicit)                       SR0000763373               9/18/12          10/14/12          7/24/14     12/22/14
UMG Recordings Inc.         Kanye West                New Slaves                               SR0000724178               6/18/13           6/27/13          9/26/13     12/23/17
UMG Recordings Inc.         Kanye West                On Sight                                 SR0000724178               6/18/13           6/27/13           1/4/14     12/23/17
UMG Recordings Inc.         Kanye West                The One (Explicit)                       SR0000763373               9/18/12          10/14/12         11/13/13     12/23/17
UMG Recordings Inc.         Kanye West                To The World                             SR0000763373               9/18/12          10/14/12         10/23/15     12/23/17
UMG Recordings Inc.         Kendrick Lamar            Alright                                  SR0000767371               3/16/15           5/12/15           8/8/15      3/18/18
UMG Recordings Inc.         Kendrick Lamar            Black Boy Fly                            SR0000710032              10/22/12           11/5/12          8/24/15      4/17/18
UMG Recordings Inc.         Kendrick Lamar            Complexion (A Zulu Love)                 SR0000767371               3/16/15           5/12/15          5/23/16      4/23/18
UMG Recordings Inc.         Kendrick Lamar            good kid                                 SR0000710032              10/22/12           11/5/12          9/26/13      4/24/18
UMG Recordings Inc.         Kendrick Lamar            King Kunta                               SR0000767371               3/16/15           5/12/15           9/8/15      3/16/18
UMG Recordings Inc.         Kendrick Lamar            m.A.A.d city                             SR0000710032              10/22/12           11/5/12           4/3/14      4/29/18
UMG Recordings Inc.         Kendrick Lamar            Money Trees                              SR0000710032              10/22/12           11/5/12          9/26/13      4/29/18
UMG Recordings Inc.         Kendrick Lamar            Real                                     SR0000710032              10/22/12           11/5/12          9/26/13      3/17/18
UMG Recordings Inc.         Kendrick Lamar            The Blacker The Berry                    SR0000759769               2/14/15           3/12/15          4/10/15      4/23/18
UMG Recordings Inc.         Kendrick Lamar            These Walls                              SR0000767371               3/16/15           5/12/15          4/10/15      4/23/18
UMG Recordings Inc.         Keyshia Cole              Stubborn                                 SR0000712478              11/19/12          12/14/12          11/8/13       7/2/16
UMG Recordings Inc.         Kid Cudi                  Erase Me                                 SR0000695773               8/24/10            3/7/11         11/16/15      4/29/18
UMG Recordings Inc.         Kid Cudi                  Heart Of A Lion (Kid Cudi Theme Music)   SR0000637865               9/15/09          10/15/09          8/17/13      4/25/18
UMG Recordings Inc.         Kid Cudi                  Immortal                                 SR0000720054               4/16/13            5/9/13          10/4/13      10/6/17
UMG Recordings Inc.         Kid Cudi                  Make Her Say                             SR0000637865               9/15/09          10/15/09          7/18/15      4/28/18
UMG Recordings Inc.         Kid Cudi                  REVOFEV                                  SR0000696989               11/9/10            3/7/11          9/29/14      4/29/18
UMG Recordings Inc.         Kid Cudi                  SATELLITE FLIGHT                         SR0000742775               2/25/14            5/5/14          7/16/15      10/6/17
UMG Recordings Inc.         Kid Cudi                  The Mood                                 SR0000637865               9/15/09          10/15/09          3/10/16      4/29/18
UMG Recordings Inc.         Kid Cudi                  Up Up & Away                             SR0000637865               9/15/09          10/15/09          8/17/13      4/28/18
UMG Recordings Inc.         Kiss                      Good Girl Gone Bad                       SR0000087124               9/14/87          10/29/87           7/4/16      8/16/17
                                                                                                                  N00000030780 /
                                                                                                                       1976-3-19,
                                                                                               N00000030780 /     RE0000908419 /
UMG Recordings Inc.         Kiss                      King Of The Night Time World             RE0000908419             1976-3-19          12/20/04          12/5/13      8/16/17
UMG Recordings Inc.         Lana Del Rey              Black Beauty                             SR0000750726               6/17/14           7/11/14         10/12/14      11/7/16
UMG Recordings Inc.         Lana Del Rey              Brooklyn Baby                            SR0000750724                6/8/14           7/11/14         10/12/14      11/7/16
UMG Recordings Inc.         Lana Del Rey              Cruel World                              SR0000750726               6/17/14           7/11/14         10/26/15      11/7/16
                                                                                                                  SR0000692991 /     SR0000692991 /
                                                                                                                      2012-01-31         2012-02-10
                                                                                               SR0000692991 /     SR0000412523 /     SR0000412523 /
UMG Recordings Inc.         Lana Del Rey              Diet Mountain Dew                        SR0000412523                    n/a       2014-09-19          8/25/13      9/12/17
UMG Recordings Inc.         Lana Del Rey              Florida Kilos                            SR0000750726               6/17/14           7/11/14         10/26/15      11/7/16
UMG Recordings Inc.         Lana Del Rey              Fucked My Way Up To The Top (Explicit)   SR0000750726               6/17/14           7/11/14         10/26/15      11/7/16

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                                                                                                            Registration   Publication       Registration      Infringement Infringement
            Plaintiff                       Artist                           Track Title                     Number           Date              Date             BeginDate    Enddate
UMG Recordings Inc.         Lana Del Rey                     Guns And Roses                             SR0000750726              6/17/14           7/11/14          10/17/15      11/7/16
UMG Recordings Inc.         Lana Del Rey                     Money Power Glory                          SR0000750726              6/17/14           7/11/14          10/26/15      11/7/16
UMG Recordings Inc.         Lana Del Rey                     Old Money                                  SR0000750726              6/17/14           7/11/14           11/4/16      11/7/16
UMG Recordings Inc.         Lana Del Rey                     Pretty When You Cry                        SR0000750726              6/17/14           7/11/14          10/26/15      11/7/16
UMG Recordings Inc.         Lana Del Rey                     Sad Girl                                   SR0000750726              6/17/14           7/11/14          10/26/15      11/7/16
UMG Recordings Inc.         Lana Del Rey                     Shades Of Cool                             SR0000750721              5/26/14           7/11/14          10/26/15      11/7/16
UMG Recordings Inc.         Lana Del Rey                     The Other Woman                            SR0000750726              6/17/14           7/11/14          10/26/15      11/7/16
UMG Recordings Inc.         Lana Del Rey                     Ultraviolence                              SR0000750722                6/4/14          7/11/14          10/26/15      11/7/16
UMG Recordings Inc.         Lana Del Rey                     West Coast                                 SR0000750720              4/22/14           7/11/14          10/22/15     12/12/17
UMG Recordings Inc.         Lionel Richie                    Change                                     SR0000212531              4/16/96             5/3/96          7/23/14      7/30/16
UMG Recordings Inc.         Lionel Richie                    What You Are                               SR0000391372              9/12/06          10/17/06          12/21/13      7/30/16
UMG Recordings Inc.         Lloyd Banks                      I Get High                                 SR0000360559              6/29/04           10/1/04           11/5/15      11/7/16
UMG Recordings Inc.         Lloyd Banks                      Playboy                                    SR0000360559              6/29/04           10/1/04           11/5/15      11/7/16
UMG Recordings Inc.         Logic                            Never Enough (Explicit)                    SR0000760985             10/21/14          11/12/14           12/4/14      9/26/17
UMG Recordings Inc.         Logic                            Under Pressure (Explicit)                  SR0000760985             10/21/14          11/12/14           1/29/15      9/26/17
UMG Recordings Inc.         Lorde                            Swingin Party                              SR0000726964                6/7/13            8/2/13          1/11/14      12/1/17
UMG Recordings Inc.         Ludacris                         Beast Mode                                 SR0000768224              3/11/15           5/12/15           4/21/16     12/23/16
UMG Recordings Inc.         Ludacris                         Burning Bridges                            SR0000755632             12/16/14             1/9/15          4/21/16     12/23/16
UMG Recordings Inc.         Ludacris                         Call Ya Bluff                              SR0000768223              3/10/15           5/12/15           4/21/16     12/23/16
UMG Recordings Inc.         Ludacris                         Charge It To The Rap Game                  SR0000768226              3/24/15           5/12/15           4/21/16     12/23/16
UMG Recordings Inc.         Ludacris                         Come And See Me                            SR0000768225              3/17/15           5/12/15           4/21/16     12/23/16
UMG Recordings Inc.         Ludacris                         In My Life                                 SR0000755632             12/16/14             1/9/15          4/15/15     12/23/16
UMG Recordings Inc.         Ludacris                         Ludaversal Intro                           SR0000768222              3/31/15           5/12/15           4/21/16     12/23/16
UMG Recordings Inc.         Ludacris                         My Chick Bad                               SR0000647279              2/23/10           3/30/10           5/17/15     10/16/16
UMG Recordings Inc.         Ludacris                         Not Long                                   SR0000768222              3/31/15           5/12/15           4/15/15     12/23/16
UMG Recordings Inc.         Ludacris                         Ocean Skies                                SR0000768222              3/31/15           5/12/15           4/21/16     12/23/16
UMG Recordings Inc.         Ludacris                         Problems                                   SR0000755632             12/16/14             1/9/15          4/15/15     12/23/16
UMG Recordings Inc.         Ludacris                         Rest Of My Life                            SR0000711900              11/2/12          11/28/12            7/3/14      1/17/15
UMG Recordings Inc.         Ludacris                         This Has Been My World                     SR0000768222              3/31/15           5/12/15           4/21/16     12/23/16
                                                                                                                           SR0000612879 /    SR0000612879 /
                                                                                                                               2008-04-15        2008-05-08
                                                                                                        SR0000612879 /     SR0000412567 /    SR0000412567 /
UMG Recordings Inc.         Mariah Carey                     Bye Bye                                    SR0000412567                   n/a       2014-10-17            5/5/14      4/17/17
                                                                                                                           SR0000322441 /    SR0000322441 /
                                                                                                                               2002-11-26        2002-12-18
                                                                                                        SR0000322441 /     SR0000412554 /    SR0000412554 /
UMG Recordings Inc.         Mariah Carey                     Irresistible (West Side Connection)        SR0000412554                   n/a       2014-10-17           8/27/14       3/3/17
                                                                                                                           SR0000612879 /    SR0000612879 /
                                                                                                                               2008-04-15        2008-05-08
                                                                                                        SR0000612879 /     SR0000412567 /    SR0000412567 /
UMG Recordings Inc.         Mariah Carey                     Last Kiss                                  SR0000412567                   n/a       2014-10-17            5/5/14      4/17/17
                                                                                                                           SR0000612879 /    SR0000612879 /
                                                                                                                               2008-04-15        2008-05-08
                                                                                                        SR0000612879 /     SR0000412567 /    SR0000412567 /
UMG Recordings Inc.         Mariah Carey                     Love Story                                 SR0000412567                   n/a       2014-10-17            5/5/14      4/17/17
                                                                                                                           SR0000612879 /    SR0000612879 /
                                                                                                                               2008-04-15        2008-05-08
                                                                                                        SR0000612879 /     SR0000412567 /    SR0000412567 /
UMG Recordings Inc.         Mariah Carey                     Side Effects                               SR0000412567                   n/a       2014-10-17            5/5/14      4/17/17
UMG Recordings Inc.         Mariah Carey                     The Art Of Letting Go                      SR0000736946             11/12/13           1/23/14            7/2/14      7/13/15
                                                                                                                           SR0000321443 /    SR0000321443 /
                                                                                                                               2002-09-24        2002-12-07
                                                                                                        SR0000321443 /     SR0000412533 /    SR0000412533 /
UMG Recordings Inc.         Mariah Carey                     Through The Rain                           SR0000412533                   n/a       2014-10-17           5/26/14       3/3/17
                                                                                                                           SR0000370795 /    SR0000370795 /
                                                                                                                               2005-04-12        2005-05-20
                                                                                                        SR0000370795 /     SR0000412532 /    SR0000412532 /
UMG Recordings Inc.         Mariah Carey                     We Belong Together                         SR000412532                    n/a       2014-10-17           3/29/14     12/22/17
UMG Recordings Inc.         Marilyn Manson                   Arma-goddamn-motherfuckin-geddon           SR0000632764                5/5/09          6/10/09           12/3/14      8/18/16
UMG Recordings Inc.         Marilyn Manson                   Disposable Teens                           SR0000288448             11/15/00           2/21/01           9/13/13       8/6/17
UMG Recordings Inc.         Marilyn Manson                   Four Rusted Horses                         SR0000631742              4/14/09             5/7/09          4/10/14      8/18/16
UMG Recordings Inc.         Marilyn Manson                   In The Shadow Of The Valley Of Death       SR0000288448             11/15/00           2/21/01           3/13/14       8/6/17
UMG Recordings Inc.         Marilyn Manson                   mOBSCENE                                   SR0000331578             11/15/00           2/21/01            4/5/14     11/17/16
UMG Recordings Inc.         Marilyn Manson                   Para-noir                                  SR0000337799              4/22/03             6/9/03          3/13/14      8/18/16
UMG Recordings Inc.         Marilyn Manson                   Thaeter                                    SR0000337799              4/22/03             6/9/03          7/13/15      6/20/16
UMG Recordings Inc.         Marilyn Manson                   The Fall Of Adam                           SR0000288448             11/15/00           2/21/01           7/31/14       8/6/17
UMG Recordings Inc.         Marilyn Manson                   The Golden Age Of Grotesque                SR0000337799              4/22/03             6/9/03          7/31/14       8/6/17
UMG Recordings Inc.         Marilyn Manson                   Use Your Fist And Not Your Mouth           SR0000337799              4/22/03             6/9/03          7/31/14      8/18/16

UMG Recordings Inc.         Marky Mark And The Funky Bunch   Good Vibrations                            SR0000134780               7/12/91           9/26/91         10/25/15     12/11/17
UMG Recordings Inc.         Maroon 5                         Coming Back For You                        SR0000763864                9/2/14           9/29/14         11/13/14      8/19/17
UMG Recordings Inc.         Maroon 5                         It Was Always You                          SR0000763861               7/29/14           9/29/14         11/13/14      8/19/17
UMG Recordings Inc.         Maroon 5                         My Heart Is Open                           SR0000763864                9/2/14           9/29/14         11/13/14       6/1/17
UMG Recordings Inc.         Maroon 5                         Payphone                                   SR0000705168               4/17/12           7/12/12          9/25/13       5/8/17
UMG Recordings Inc.         Marvin Gaye                      Anger                                      SR0000005020              12/15/78          12/19/78           5/1/16       9/4/17
UMG Recordings Inc.         Marvin Gaye                      Praise                                     SR0000024441               1/15/81           1/21/81          3/28/16      8/20/17
UMG Recordings Inc.         Mary J. Blige                    Real Love                                  SR0000149212               7/28/92            9/3/92          6/26/14       3/5/18
UMG Recordings Inc.         Nas                              Accident Murderers                         SR0000705208               7/17/12            8/2/12         10/10/13      8/14/17
UMG Recordings Inc.         Ne-Yo                            She Got Her Own                            SR0000616454               9/16/08           9/26/08          5/26/15      7/10/16
UMG Recordings Inc.         Ne-Yo                            She Knows (Explicit)                       SR0000750246               9/16/14           10/9/14          1/17/15      9/17/16
UMG Recordings Inc.         Nelly                            Headphones                                 SR0000732607               9/30/13           10/8/13         11/23/13       3/8/17
UMG Recordings Inc.         Nelly                            Hey Porsche                                SR0000718963               2/19/13            3/8/13           9/3/14      7/22/17
UMG Recordings Inc.         Nelly                            Party People                               SR0000613225               3/20/08            6/5/08          6/12/14      7/22/17
UMG Recordings Inc.         Nick Jonas                       Chains                                     SR0000747346               7/30/14           8/27/14         11/12/14      5/16/17
UMG Recordings Inc.         Night Ranger                     Sister Christian                           SR0000054375              10/17/83           6/12/84         12/13/14      10/1/16
UMG Recordings Inc.         Nine Inch Nails                  Starfuckers, Inc.                          SR0000276696               7/20/99          12/27/99          8/31/13       5/1/17
UMG Recordings Inc.         Nirvana                          All Apologies                              SR0000172276               9/14/93           9/20/93         10/11/13      3/19/18


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                                                                                                        Registration   Publication       Registration      Infringement Infringement
            Plaintiff                      Artist                    Track Title                         Number           Date              Date             BeginDate    Enddate
UMG Recordings Inc.         Nirvana                   Breed                                         SR0000135335               9/24/91         10/31/91           10/3/13      2/16/18
UMG Recordings Inc.         Nirvana                   Come As You Are                               SR0000135335               9/24/91         10/31/91           10/3/13       2/3/18
UMG Recordings Inc.         Nirvana                   Curmudgeon                                    SR0000146536               7/21/92            9/3/92         11/24/14      8/18/16
UMG Recordings Inc.         Nirvana                   Drain You                                     SR0000135335               9/24/91         10/31/91           10/3/13       2/2/18
UMG Recordings Inc.         Nirvana                   Dumb                                          SR0000172276               9/14/93          9/20/93          10/11/13     12/18/17
UMG Recordings Inc.         Nirvana                   Endless, Nameless                             SR0000135335               9/24/91         10/31/91          11/24/14     12/27/16
UMG Recordings Inc.         Nirvana                   Even In His Youth                             SR0000137645              11/19/91            1/9/92         10/25/14     12/10/17
UMG Recordings Inc.         Nirvana                   Heart Shaped Box                              SR0000172276               9/14/93          9/20/93          10/11/13     12/18/17
UMG Recordings Inc.         Nirvana                   Heart-Shaped Box                              SR0000227411               10/1/96         10/25/96           8/25/14     12/18/17
UMG Recordings Inc.         Nirvana                   In Bloom                                      SR0000135335               9/24/91         10/31/91           10/3/13      3/19/18
UMG Recordings Inc.         Nirvana                   Lake Of Fire                                  SR0000178690               11/1/94          11/8/94           10/1/12      3/19/18
UMG Recordings Inc.         Nirvana                   Lithium                                       SR0000135335               9/24/91         10/31/91           10/3/13     12/28/17
UMG Recordings Inc.         Nirvana                   Lounge Act                                    SR0000135335               9/24/91         10/31/91           10/3/13       2/2/18
UMG Recordings Inc.         Nirvana                   Milk It                                       SR0000172276               9/14/93          9/20/93          10/11/13     12/18/17
UMG Recordings Inc.         Nirvana                   On A Plain                                    SR0000135335               9/24/91         10/31/91           10/3/13      2/16/18
UMG Recordings Inc.         Nirvana                   Pennyroyal Tea                                SR0000172276               9/14/93          9/20/93          10/11/13      3/19/18
UMG Recordings Inc.         Nirvana                   Plateau                                       SR0000178690               11/1/94          11/8/94           10/1/12     12/18/17
UMG Recordings Inc.         Nirvana                   Polly                                         SR0000135335               9/24/91         10/31/91           10/3/13      3/19/18
UMG Recordings Inc.         Nirvana                   Radio Friendly Unit Shifter                   SR0000172276               9/14/93          9/20/93          10/11/13     12/18/17
UMG Recordings Inc.         Nirvana                   Rape Me                                       SR0000172276               9/14/93          9/20/93          10/11/13      3/19/18
UMG Recordings Inc.         Nirvana                   Scentless Apprentice                          SR0000172276               9/14/93          9/20/93          10/11/13      3/19/18
UMG Recordings Inc.         Nirvana                   Serve The Servants                            SR0000172276               9/14/93          9/20/93          10/11/13     12/18/17
UMG Recordings Inc.         Nirvana                   Smells Like Teen Spirit                       SR0000137645              11/19/91            1/9/92          10/3/13      3/19/18
UMG Recordings Inc.         Nirvana                   Something In The Way                          SR0000135335               9/24/91         10/31/91           10/3/13      3/19/18
UMG Recordings Inc.         Nirvana                   Spank Thru                                    SR0000227411               10/1/96         10/25/96          11/25/14      3/19/18
UMG Recordings Inc.         Nirvana                   Stay Away                                     SR0000135335               9/24/91         10/31/91           10/3/13      3/19/18
UMG Recordings Inc.         Nirvana                   Territorial Pissings                          SR0000135335               9/24/91         10/31/91           10/3/13       2/2/18
UMG Recordings Inc.         Nirvana                   The Man Who Sold The World                    SR0000178690               11/1/94          11/8/94           7/26/15      3/19/18
UMG Recordings Inc.         Nirvana                   Very Ape                                      SR0000172276               9/14/93          9/20/93          10/11/13     12/18/17
UMG Recordings Inc.         No Doubt                  Hey Baby                                      SR0000305872              12/11/01          1/23/02           1/15/14      2/11/17
UMG Recordings Inc.         Of Monsters And Men       We Sink                                       SR0000769375                6/9/15          7/29/15           4/26/16      7/16/16
UMG Recordings Inc.         Olivia Newton-John        Physical                                      SR0000032995               9/21/81            1/4/82         11/29/15      5/25/17
UMG Recordings Inc.         Phillip Phillips          Get Up Get Down                               SR0000712841              11/19/12         12/14/12           6/19/16      7/25/17
UMG Recordings Inc.         Public Enemy              911 Is A Joke                                 SR0000766282                4/6/90            4/6/15          1/19/16      11/9/17
UMG Recordings Inc.         Public Enemy              Black Steel In The Hour Of Chaos (Explicit)   SR0000099400               6/14/88         12/21/88           2/23/16      9/29/17
UMG Recordings Inc.         Public Enemy              Countdown To Armageddon                       SR0000099400               6/14/88         12/21/88           2/23/16      9/29/17
UMG Recordings Inc.         Public Enemy              Fight The Power                               SR0000118396                4/6/90            7/5/90           2/7/16     10/12/17
UMG Recordings Inc.         Public Enemy              Louder Than A Bomb                            SR0000099400               6/14/88         12/21/88           2/23/16      9/29/17
UMG Recordings Inc.         Public Enemy              Night Of The Living Baseheads (Explicit)      SR0000099400               6/14/88         12/21/88           2/23/16      9/29/17
UMG Recordings Inc.         Public Enemy              Party For Your Right To Fight                 SR0000099400               6/14/88         12/21/88           2/23/16      4/17/18
UMG Recordings Inc.         Public Enemy              Pollywanacraka                                SR0000118396                4/6/90            7/5/90          1/19/16       5/2/17
UMG Recordings Inc.         Public Enemy              Prophets Of Rage                              SR0000099400               6/14/88         12/21/88           2/23/16      9/29/17
UMG Recordings Inc.         Public Enemy              Reggie Jax                                    SR0000099400               6/14/88         12/21/88           1/19/16       2/9/16
UMG Recordings Inc.         Public Enemy              Terminator X To The Edge Of Panic             SR0000099400               6/14/88         12/21/88           2/23/16      4/17/18
UMG Recordings Inc.         Pusha T                   Pain                                          SR0000733365               10/8/13         10/18/13          10/21/13      11/5/16
UMG Recordings Inc.         Quincy Jones              One Hundred Ways                              SR0000025221               3/10/81          3/26/81           9/16/15     12/21/15
                                                                                                                         N000006437 /    RE0000860638 /
                                                                                                                             1973-5-4,       2001-12-21
                                                                                                    N000006437 /       RE0000860638 /    N00000006437 /
UMG Recordings Inc.         Quincy Jones              Summer In The City                            RE0000860638              1973-5-4       1973-05-04           5/17/16      10/6/16
UMG Recordings Inc.         Rainbow                   Stone Cold                                    SR0000035340               4/12/82          5/17/82           1/17/15      7/10/16
                                                                                                                       SR0000276238 /    SR0000276238 /
                                                                                                                          1999-11-30,       1999-12-27,
                                                                                                    SR0000276238 /      SR0000276560     SR0000276560 /
UMG Recordings Inc.         Rakim                     Real Sh**t                                    SR0000276560          /1999-12-14        2000-01-18            5/1/16      8/11/16
UMG Recordings Inc.         Rakim                     Stay A While                                  SR0000250129               11/4/97          2/19/98            5/1/16      8/11/16
                                                                                                                       SR0000276238 /    SR0000276238 /
                                                                                                                          1999-11-30,       1999-12-27,
                                                                                                    SR0000276238 /      SR0000276560     SR0000276560 /
UMG Recordings Inc.         Rakim                     Uplift                                        SR0000276560          /1999-12-14        2000-01-18            5/1/16      8/11/16
UMG Recordings Inc.         Rick Ross                 Blessing In Disguise                          SR0000750285                3/3/14            4/8/14          3/24/14      8/19/17
UMG Recordings Inc.         Rick Ross                 Free Mason                                    SR0000656701              7/20/10             8/6/10          4/21/14       3/5/16
UMG Recordings Inc.         Rick Ross                 Nobody                                        SR0000750285                3/3/14            4/8/14          3/24/14      8/19/17
UMG Recordings Inc.         Rick Ross                 Presidential                                  SR0000706411              7/31/12           8/21/12            1/5/14       3/2/17
UMG Recordings Inc.         Rick Ross                 Rich Forever                                  SR0000706411              7/31/12           8/21/12           10/4/13       3/2/17
UMG Recordings Inc.         Rick Ross                 Rich Is Gangsta                               SR0000750285                3/3/14            4/8/14          1/29/15      8/19/17
UMG Recordings Inc.         Rick Ross                 Sixteen                                       SR0000706411              7/31/12           8/21/12           10/4/13      4/11/17
UMG Recordings Inc.         Rick Ross                 Tears Of Joy                                  SR0000656701              7/20/10             8/6/10          3/25/14      4/11/17
UMG Recordings Inc.         Rick Ross                 What A Shame                                  SR0000750285                3/3/14            4/8/14          3/24/14      8/19/17
UMG Recordings Inc.         Rihanna                   Cheers (Drink To That)                        SR0000684805             11/16/10           12/6/10            5/5/14      3/19/18
UMG Recordings Inc.         Rihanna                   Cockiness (Love It)                           SR0000689431             11/21/11          12/12/11           1/13/15      3/19/18
UMG Recordings Inc.         Rihanna                   Loveeeeeee Song                               SR0000712658             11/19/12          12/14/12          11/26/13      3/19/18
UMG Recordings Inc.         Rihanna                   No Love Allowed                               SR0000712658             11/19/12          12/14/12          11/26/13      3/19/18
UMG Recordings Inc.         Rihanna                   Photographs                                   SR0000644571             11/23/09          12/22/09           9/10/13      3/19/18
UMG Recordings Inc.         Rihanna                   Phresh Out The Runway                         SR0000712658             11/19/12          12/14/12           1/23/14      1/15/16
UMG Recordings Inc.         Rihanna                   Push Up On Me                                 SR0000411459                6/5/07          6/29/07           6/30/14      3/19/18
UMG Recordings Inc.         Rihanna                   Question Existing                             SR0000411459                6/5/07          6/29/07           9/10/13      3/19/18
UMG Recordings Inc.         Rihanna                   Right Now                                     SR0000712658             11/19/12          12/14/12            8/6/16      3/19/18
UMG Recordings Inc.         Rihanna                   Rude Boy                                      SR0000644571             11/23/09          12/22/09           5/10/14      3/19/18
UMG Recordings Inc.         Rihanna                   Russian Roulette                              SR0000644571             11/23/09          12/22/09           2/28/16      3/19/18
UMG Recordings Inc.         Rihanna                   Say It                                        SR0000411459                6/5/07          6/29/07          12/22/14      3/12/18
UMG Recordings Inc.         Rihanna                   Stay                                          SR0000712658             11/19/12          12/14/12           5/27/16      4/29/18
UMG Recordings Inc.         Rihanna                   Te Amo                                        SR0000644571             11/23/09          12/22/09           2/28/16       1/2/18
UMG Recordings Inc.         Rihanna                   Umbrella                                      SR0000411460              5/22/07           6/29/07           1/12/15      3/19/18
UMG Recordings Inc.         Rihanna                   What Now                                      SR0000712658             11/19/12          12/14/12          12/21/13      3/19/18
UMG Recordings Inc.         Rise Against              Help Is On The Way                            SR0000671825              1/25/11           3/21/11          12/15/15       1/9/18
UMG Recordings Inc.         Rixton                    Me And My Broken Heart                        SR0000750877              3/18/14           6/16/14           7/13/14       5/8/17

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                                                                                                    Registration   Publication        Registration      Infringement Infringement
            Plaintiff                      Artist                     Track Title                    Number           Date               Date             BeginDate    Enddate
UMG Recordings Inc.         Rixton                    Wait On Me                                SR0000746711               7/23/14             8/7/14          3/27/15     11/29/17
UMG Recordings Inc.         Rob Zombie                (Go To) California                        SR0000303801              11/13/01           12/10/01          7/16/14      3/12/17
UMG Recordings Inc.         Rob Zombie                American Witch                            SR0000388142               3/28/06            4/13/06          5/21/14       8/7/17
UMG Recordings Inc.         Rob Zombie                Bring Her Down (To Crippletown)           SR0000303801              11/13/01           12/10/01          7/16/14      3/12/17
UMG Recordings Inc.         Rob Zombie                Call Of The Zombie                        SR0000257901               8/25/98             9/8/98          7/13/15      3/12/17
UMG Recordings Inc.         Rob Zombie                Dead Girl Superstar                       SR0000303801              11/13/01           12/10/01          7/16/14      3/12/17
UMG Recordings Inc.         Rob Zombie                Demon Speeding                            SR0000304086              10/30/01           11/23/01          7/16/14      3/26/17
UMG Recordings Inc.         Rob Zombie                Demonoid Phenomenon                       SR0000257901               8/25/98             9/8/98          7/16/14      3/12/17
UMG Recordings Inc.         Rob Zombie                Dragula                                   SR0000257901               8/25/98             9/8/98          7/16/14       5/2/17
UMG Recordings Inc.         Rob Zombie                Feel So Numb                              SR0000303801              11/13/01           12/10/01          7/16/14      3/26/17
UMG Recordings Inc.         Rob Zombie                Foxy, Foxy [CC]                           SR0000387849               2/14/06             4/6/06          7/16/14       8/7/17
UMG Recordings Inc.         Rob Zombie                Ging Gang Gong De Do Gong De Laga Raga    SR0000720050               4/23/13             5/9/13          5/12/16      3/12/17
UMG Recordings Inc.         Rob Zombie                How To Make A Monster                     SR0000257901               8/25/98             9/8/98          7/16/14      3/12/17
UMG Recordings Inc.         Rob Zombie                Living Dead Girl                          SR0000257901               8/25/98             9/8/98          7/16/14       5/2/17
UMG Recordings Inc.         Rob Zombie                Lords Of Salem                            SR0000388142               3/28/06            4/13/06          7/16/14       8/7/17
UMG Recordings Inc.         Rob Zombie                Lucifer Rising                            SR0000720050               4/23/13             5/9/13          5/12/16      3/12/17
UMG Recordings Inc.         Rob Zombie                Never Gonna Stop (The Red Red Kroovy)     SR0000303801              11/13/01           12/10/01          7/16/14      3/26/17
UMG Recordings Inc.         Rob Zombie                Return Of The Phantom Stranger            SR0000257901               8/25/98             9/8/98           8/4/14      3/12/17
                                                      The Ballad Of Resurrection Joe And Rosa
UMG Recordings Inc.         Rob Zombie                Whore                                     SR0000257901               8/25/98             9/8/98           8/4/14      3/12/17
UMG Recordings Inc.         Rob Zombie                The Beginning Of The End                  SR0000257901               8/25/98             9/8/98          1/27/16      3/12/17
UMG Recordings Inc.         Rob Zombie                The Girl Who Loved The Monsters           SR0000720050               4/23/13             5/9/13          5/12/16      3/12/17
UMG Recordings Inc.         Rob Zombie                Trade In Your Guns For A Coffin           SR0000720050               4/23/13             5/9/13          5/12/16      3/12/17
UMG Recordings Inc.         Rob Zombie                Two-Lane Blacktop                         SR0000349703               9/23/03           11/10/03          7/16/14      3/26/17
                                                                                                                   SR0000728226 /     SR0000728226 /
                                                                                                                       2013-07-30         2013-08-05
                                                                                                SR0000728226 /     SR0000412690 /     SR0000412690 /
UMG Recordings Inc.         Robin Thicke              Feel Good                                 SR0000412690                   n/a        2015-10-30           9/26/13      4/11/17
                                                                                                                   SR0000728227 /     SR0000728227 /
                                                                                                                       2013-06-30        2013-08-05,
                                                                                                SR0000728227 /     SR0000412677 /     SR0000412677 /
UMG Recordings Inc.         Robin Thicke              Give It 2 U                               SR0000412677                    n/a       2015-10-30           9/26/13      4/11/17
                                                                                                                   SR0000728226 /     SR0000728226 /
                                                                                                                       2013-07-30        2013-08-05,
                                                                                                SR0000728226 /     SR0000412690 /     SR0000412690 /
UMG Recordings Inc.         Robin Thicke              Go Stupid 4 U                             SR0000412690                    n/a       2015-10-30           9/26/13      4/11/17
                                                                                                                    SR0000644566      SR0000644566 /
                                                                                                                      /2009-12-15        2009-12-22,
                                                                                                SR0000644566 /     SR0000412697 /     SR0000412697 /
UMG Recordings Inc.         Robin Thicke              Rollacoasta                               SR0000412697                    n/a       2015-10-30            6/3/14      4/11/17
                                                                                                                          N46706 /
                                                                                                                        1977-8-29,
                                                                                                N46706 /           RE0000926498 /
UMG Recordings Inc.         Rush                      Closer To The Heart                       RE0000926498             1977-8-29          12/30/05            1/7/15       1/1/18
UMG Recordings Inc.         Rush                      Limelight                                 SR0000025005                2/9/81             3/9/81           1/7/15       1/1/18
UMG Recordings Inc.         Rush                      Tom Sawyer                                SR0000025005                2/9/81             3/9/81           1/7/15       1/1/18
UMG Recordings Inc.         Ryan Adams                Nobody Girl                               SR0000302576               9/25/01           11/1/01            5/1/14      2/14/17
UMG Recordings Inc.         ScHoolboy Q               Break The Bank (Explicit)                 SR0000740384               1/21/14           3/10/14           6/17/14      3/28/17
UMG Recordings Inc.         ScHoolboy Q               Studio (Explicit)                         SR0000740379               2/25/14           3/10/14          11/25/15      3/28/17
                                                                                                                   SR0000134531 /     SR0000134531 /
                                                                                                                      1990-11-06,        1991-09-27,
                                                                                                SR0000134531 /     SR0000185465 /     SR0000185465 /
UMG Recordings Inc.         Scorpions                 Wind Of Change                            SR0000185465           1990-11-06         1994-04-11           8/11/14      4/19/18
UMG Recordings Inc.         Sia                       Elastic Heart                             SR0000743410              11/19/13             4/8/14         10/16/15     11/29/17
UMG Recordings Inc.         Skylar Grey               Back From The Dead (Explicit)             SR0000726642                7/9/13           7/23/13          12/31/14       6/1/15
UMG Recordings Inc.         Snoop Dogg                Fresh Pair of Panties On                  SR0000364858              11/16/04          12/29/04           8/22/13      4/29/18
UMG Recordings Inc.         Snoop Dogg                Girl Like U                               SR0000364858              11/16/04          12/29/04            7/6/16      4/29/18
UMG Recordings Inc.         Snoop Dogg                Promise I                                 SR0000364858              11/16/04          12/29/04            6/8/15      11/6/17
                                                                                                                   SR0000212342 /     SR0000212342 /
                                                                                                                      1993-11-08,        1994-01-14,
                                                                                                SR0000212342 /     SR0000227057 /     SR0000227057 /
UMG Recordings Inc.         Snoop Doggy Dogg          Gin And Juice                             SR0000227057                    n/a       1996-09-12           2/24/14      3/13/18
                                                                                                                   SR0000212342 /     SR0000212342 /
                                                                                                                      1993-11-08,        1994-01-14,
                                                                                                SR0000212342 /     SR0000227057 /     SR0000227057 /
UMG Recordings Inc.         Snoop Doggy Dogg          Murder Was the Case                       SR0000227057                    n/a       1996-09-12           5/10/15      3/18/18
UMG Recordings Inc.         Soundgarden               An Unkind                                 SR0000230417               5/21/96             2/6/97         11/15/14      8/18/15
UMG Recordings Inc.         Soundgarden               Applebite                                 SR0000230417               5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden               Black Hole Sun                            SR0000280540                3/8/94           4/12/00           6/17/14       2/5/18
UMG Recordings Inc.         Soundgarden               Blow Up The Outside World                 SR0000230417               5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden               Boot Camp                                 SR0000230417               5/21/96             2/6/97         11/15/14      1/21/15
UMG Recordings Inc.         Soundgarden               Dusty                                     SR0000230417               5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden               Face Pollution                            SR0000136536               10/8/91          11/15/91            2/6/14      5/20/17
UMG Recordings Inc.         Soundgarden               Fell On Black Days                        SR0000280540                3/8/94           4/12/00            7/1/14       7/7/17
UMG Recordings Inc.         Soundgarden               Head Down                                 SR0000280540                3/8/94           4/12/00            7/1/14     10/22/16
UMG Recordings Inc.         Soundgarden               Holy Water                                SR0000136536               10/8/91          11/15/91           8/29/14      4/26/18
UMG Recordings Inc.         Soundgarden               Jesus Christ Pose                         SR0000136536               10/8/91          11/15/91           1/29/14      5/20/17
UMG Recordings Inc.         Soundgarden               Let Me Drown                              SR0000280540                3/8/94           4/12/00            4/8/14     10/22/16
UMG Recordings Inc.         Soundgarden               Mailman                                   SR0000280540                3/8/94           4/12/00            7/1/14       7/7/17
UMG Recordings Inc.         Soundgarden               Mind Riot                                 SR0000136536               10/8/91          11/15/91           7/30/14       6/4/17
UMG Recordings Inc.         Soundgarden               My Wave                                   SR0000280540                3/8/94           4/12/00            4/8/14       7/7/17
UMG Recordings Inc.         Soundgarden               Never Named                               SR0000230417               5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden               Never The Machine Forever                 SR0000230417               5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden               No Attention                              SR0000230417               5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden               Outshined                                 SR0000136536               10/8/91          11/15/91            2/6/14      4/18/18
UMG Recordings Inc.         Soundgarden               Overfloater                               SR0000230417               5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden               Pretty Noose                              SR0000231546                4/9/96             2/6/97         11/15/14     12/28/17


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                                                                                                     Registration     Publication         Registration      Infringement Infringement
            Plaintiff                       Artist                       Track Title                  Number             Date                Date             BeginDate    Enddate
UMG Recordings Inc.         Soundgarden                Rhinosaur                                 SR0000230417                  5/21/96             2/6/97         11/15/14      1/21/15
UMG Recordings Inc.         Soundgarden                Room A Thousand Years Wide                SR0000136536                  10/8/91           11/15/91          7/30/14      5/20/17
UMG Recordings Inc.         Soundgarden                Rusty Cage                                SR0000136536                  10/8/91           11/15/91          1/29/14      4/26/18
UMG Recordings Inc.         Soundgarden                Searching With My Good Eye Closed         SR0000136536                  10/8/91           11/15/91          7/30/14      4/18/18
UMG Recordings Inc.         Soundgarden                Slaves & Bulldozers                       SR0000136536                  10/8/91           11/15/91           8/4/14      5/20/17
UMG Recordings Inc.         Soundgarden                Somewhere                                 SR0000136536                  10/8/91           11/15/91           2/6/14      4/18/18
UMG Recordings Inc.         Soundgarden                Superunknown                              SR0000280540                   3/8/94            4/12/00           4/8/14       7/7/17
UMG Recordings Inc.         Soundgarden                Switch Opens                              SR0000230417                  5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden                The Day I Tried To Live                   SR0000280540                   3/8/94            4/12/00           7/1/14     12/15/17
UMG Recordings Inc.         Soundgarden                Tighter & Tighter                         SR0000230417                  5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden                Ty Cobb                                   SR0000230417                  5/21/96             2/6/97         11/15/14     10/22/16
UMG Recordings Inc.         Soundgarden                Zero Chance                               SR0000230417                  5/21/96             2/6/97         11/15/14     10/22/16
                                                                                                                                          RE0000867314 /
                                                                                                                     N17144 / 1974-6-         2002-06-26
                                                                                                 N17144 /           28, RE0000867314      N00000017144 /
UMG Recordings Inc.         Sparks                     Amateur Hour                              RE0000867314              / 1974-6-28        1974-06-28           12/3/14      1/27/17
                                                                                                                                          RE0000906117 /
                                                                                                                     NF2049 / 1975-9-         2004-12-20
                                                                                                 NF2049 /           15, RE0000906117      NF0000002049 /
UMG Recordings Inc.         Sparks                     Get In The Swing                          RE0000906117              / 1975-9-15        1975-09-15           12/3/14      1/27/17
                                                                                                                                          RE0000906120 /
                                                                                                                    NF2052 / 1974-11-         2004-12-20
                                                                                                 NF2052 /           1, RE0000906120 /     NF0000002052 /
UMG Recordings Inc.         Sparks                     Never Turn Your Back On Mother Earth      RE0000906120               1974-11-1         1973-11-01           12/3/14      1/27/17
                                                                                                                                          RE0000906120 /
                                                                                                                    NF2052 / 1974-11-         2004-12-20
                                                                                                 NF2052 /           1, RE0000906120 /     NF0000002052 /
UMG Recordings Inc.         Sparks                     Something for the Girl With Everything    RE0000906120                1974-11-1        1973-11-01           12/3/14      1/27/17
UMG Recordings Inc.         St. Vincent                Birth In Reverse                          SR0000740341                 12/10/13           3/10/14           3/13/14      9/25/16
UMG Recordings Inc.         St. Vincent                Bring Me Your Loves                       SR0000740346                  2/25/14           3/10/14           3/13/14      9/25/16
UMG Recordings Inc.         St. Vincent                Digital Witness                           SR0000740338                  1/14/14           3/10/14           3/13/14      9/25/16
UMG Recordings Inc.         St. Vincent                Huey Newton                               SR0000740346                  2/25/14           3/10/14           3/13/14      9/25/16
UMG Recordings Inc.         St. Vincent                Prince Johnny                             SR0000740334                  2/11/14           3/10/14           3/30/14      1/31/16
UMG Recordings Inc.         St. Vincent                Psychopath                                SR0000740346                  2/25/14           3/10/14           3/13/14      9/25/16
UMG Recordings Inc.         St. Vincent                Rattlesnake                               SR0000740346                  2/25/14           3/10/14           3/13/14      9/25/16
UMG Recordings Inc.         St. Vincent                Regret                                    SR0000740346                  2/25/14           3/10/14           3/13/14      9/25/16
UMG Recordings Inc.         Stat Quo                   By My Side                                SR0000401289                  12/5/06          12/29/06            5/9/15      4/21/18
UMG Recordings Inc.         Stevie Wonder              Do I Do                                   SR0000034977                    5/4/82            5/3/82         11/12/15      1/31/17
                                                                                                                       SR0000128533 /     SR0000128533 /
                                                                                                                           1991-01-22,       1991-03-29,
                                                                                                 SR0000128533 /        SR0000139005 /     SR0000139005 /
UMG Recordings Inc.         Sting                      All This Time                             SR0000139005               1991-01-22        1992-02-03           6/25/16     10/10/17
UMG Recordings Inc.         Sting                      Fields Of Gold                            SR0000174453                    3/9/93         11/12/93           6/15/16     10/10/17
UMG Recordings Inc.         Sting                      I Hung My Head                            SR0000658285                  7/13/10           7/22/10           6/25/16     10/10/17
UMG Recordings Inc.         Sting                      Love Is The Seventh Wave                  SR0000065041                  6/10/85           6/27/85           6/25/16     10/10/17
UMG Recordings Inc.         Sublime                    Garden Grove (Explicit)                   SR0000224105                  7/30/96           8/13/96           4/17/14       1/9/18
UMG Recordings Inc.         Sum 41                     88                                        SR0000364835                 10/12/04           1/14/05           6/12/16     11/13/16
UMG Recordings Inc.         Susan Tedeschi             Back To The River                         SR0000618089                 10/28/08          11/13/08           6/25/16      6/25/16
UMG Recordings Inc.         Tame Impala                Backwards                                 SR0000743315                  3/11/14           4/22/14           2/26/16      7/11/16
UMG Recordings Inc.         Tame Impala                Gossip                                    SR0000770351                  7/17/15           8/26/15            8/9/15       9/1/17
UMG Recordings Inc.         Tame Impala                Let It Happen                             SR0000763812                  3/12/15           5/15/15            8/9/15      2/22/18
UMG Recordings Inc.         Tame Impala                Love/Paranoia                             SR0000770351                  7/17/15           8/26/15            8/9/15      2/22/18
UMG Recordings Inc.         Tame Impala                Nangs                                     SR0000770351                  7/17/15           8/26/15            8/9/15       9/1/17
UMG Recordings Inc.         Tame Impala                Past Life                                 SR0000770351                  7/17/15           8/26/15            8/9/15      2/22/18
UMG Recordings Inc.         Tame Impala                Reality In Motion                         SR0000770351                  7/17/15           8/26/15            8/9/15       9/1/17
UMG Recordings Inc.         Tame Impala                The Moment                                SR0000770351                  7/17/15           8/26/15            8/9/15      2/22/18
UMG Recordings Inc.         Tears For Fears            Everybody Wants To Rule The World         SR0000060715                  3/15/85           3/21/85            5/5/14     11/30/17
UMG Recordings Inc.         Tears For Fears            Mad World                                 SR0000045985                  4/11/83           3/14/83           6/16/14     12/13/17
UMG Recordings Inc.         Tears For Fears            Mothers Talk                              SR0000060715                  3/15/85           3/21/85            5/5/14     10/22/17
UMG Recordings Inc.         Tears For Fears            Pale Shelter                              SR0000045985                  4/11/83           3/14/83            5/5/14     10/22/17
UMG Recordings Inc.         Tears For Fears            Shout                                     SR0000060715                  3/15/85           3/21/85            5/5/14     12/13/17
UMG Recordings Inc.         Tesla                      Love Song                                 SR0000101952                    2/1/89          3/30/89           1/17/15      8/20/15
UMG Recordings Inc.         Teyana Taylor              Broken Hearted Girl                       SR0000759515                  11/4/14          11/28/14           1/30/15       9/8/16
UMG Recordings Inc.         Teyana Taylor              Business                                  SR0000759512                 10/21/14          11/28/14           1/30/15       9/8/16
UMG Recordings Inc.         Teyana Taylor              Do Not Disturb                            SR0000759511                 10/28/14          11/28/14           1/30/15       2/9/17
UMG Recordings Inc.         Teyana Taylor              In The Air                                SR0000759515                  11/4/14          11/28/14           1/30/15       9/8/16
UMG Recordings Inc.         Teyana Taylor              Maybe                                     SR0000746175                  6/17/14           7/25/14           4/19/16       9/8/16
UMG Recordings Inc.         Teyana Taylor              Put Your Love On                          SR0000759515                  11/4/14          11/28/14           1/30/15       9/8/16
UMG Recordings Inc.         Teyana Taylor              Request                                   SR0000759515                  11/4/14          11/28/14           1/30/15       9/8/16
UMG Recordings Inc.         The Avett Brothers         Another Is Waiting                        SR0000736177                  8/20/13           11/1/13            1/4/14       4/1/17
UMG Recordings Inc.         The Avett Brothers         Bring Your Love To Me                     SR0000736170                 10/15/13           11/1/13            1/4/14       4/1/17
UMG Recordings Inc.         The Avett Brothers         Good To You                               SR0000736170                 10/15/13           11/1/13            1/4/14       4/1/17
                                                                                                                        SR0000625827      SR0000625827 /
                                                                                                                          /2009-03-17,       2009-04-10,
                                                                                                 SR0000625827 /        SR0000412277 /     SR0000412277 /
UMG Recordings Inc.         The Black Eyed Peas        Boom Boom Pow                             SR0000412277                       n/a       2010-03-04           4/11/14      2/12/18
UMG Recordings Inc.         The Black Eyed Peas        Don't Lie                                 SR0000378166                    6/7/05          7/15/05           4/11/14      8/13/14
UMG Recordings Inc.         The Black Eyed Peas        Feel It                                   SR0000378166                    6/7/05          7/15/05           4/11/14      7/15/16
UMG Recordings Inc.         The Black Eyed Peas        Gone Going                                SR0000378166                    6/7/05          7/15/05           4/11/14      7/15/16
                                                                                                                       SR0000633584 /     SR0000633584 /
                                                                                                                           2009-06-09,       2009-06-30,
                                                                                                 SR0000633584 /        SR0000412278 /     SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas        I Gotta Feeling                           SR0000412278                       n/a       2010-03-04            7/3/12     10/17/17
                                                                                                                       SR0000633584 /     SR0000633584 /
                                                                                                                           2009-06-09,       2009-06-30,
                                                                                                 SR0000633584 /        SR0000412278 /     SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas        Mare                                      SR0000412278                       n/a       2010-03-04            7/6/14     11/25/15


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                                                                                                               SR0000633584 /   SR0000633584 /
                                                                                                                  2009-06-09,      2009-06-30,
                                                                                            SR0000633584 /     SR0000412278 /   SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas     Meet Me Halfway                         SR0000412278                  n/a       2010-03-04           4/11/14      2/12/18
UMG Recordings Inc.         The Black Eyed Peas     My Humps                                SR0000378166               6/7/05          7/15/05           4/11/14     10/21/16
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                                                                                            SR0000633584 /     SR0000412278 /   SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas     Now Generation                          SR0000412278                  n/a       2010-03-04            7/6/14     11/25/15
                                                                                                               SR0000633584 /   SR0000633584 /
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                                                                                            SR0000633584 /     SR0000412278 /   SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas     Party All The Time                      SR0000412278                  n/a       2010-03-04            7/6/14     11/25/15
UMG Recordings Inc.         The Black Eyed Peas     Pump It                                 SR0000378166               6/7/05          7/15/05           4/11/14      2/17/17
                                                                                                               SR0000633584 /   SR0000633584 /
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                                                                                            SR0000633584 /     SR0000412278 /   SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas     Ring-A-Ling                             SR0000412278                  n/a       2010-03-04          12/28/14     11/25/15
                                                                                                               SR0000633584 /   SR0000633584 /
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                                                                                            SR0000633584 /     SR0000412278 /   SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas     Rock That Body                          SR0000412278                  n/a       2010-03-04           4/11/14      5/17/16
UMG Recordings Inc.         The Black Eyed Peas     Sexy                                    SR0000334398              6/24/03          8/12/03           3/19/16      7/15/16
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                                                                                            SR0000633584 /     SR0000412278 /   SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas     Showdown                                SR0000412278                  n/a       2010-03-04            7/6/14     11/25/15
UMG Recordings Inc.         The Black Eyed Peas     Union                                   SR0000378166               6/7/05          7/15/05           4/11/14      7/15/16
UMG Recordings Inc.         The Black Eyed Peas     Where Is The Love?                      SR0000334303               6/3/03          7/22/03           4/11/14      2/20/18
                                                                                                               SR0000633584 /   SR0000633584 /
                                                                                                                  2009-06-09,      2009-06-30,
                                                                                            SR0000633584 /     SR0000412278 /   SR0000412278 /
UMG Recordings Inc.         The Black Eyed Peas     Where Ya Wanna Go                       SR0000412278                  n/a       2010-03-04           4/11/14      7/15/16
UMG Recordings Inc.         The Game                Higher                                  SR0000366733              1/18/05            3/1/05         10/22/13       9/8/16
UMG Recordings Inc.         The-Dream               Falsetto                                SR0000628399             12/11/07            1/9/08          6/11/15       9/8/16
UMG Recordings Inc.         Tony Bennett            Cheek To Cheek                          SR0000760843              9/23/14         10/29/14           12/3/14     11/26/15
UMG Recordings Inc.         Tove Lo                 Habits (Stay High)                      SR0000740680              1/14/14            4/7/14         10/19/15       5/7/17
UMG Recordings Inc.         Tove Lo                 This Time Around                        SR0000756263              9/30/14         10/16/14            3/1/16       5/7/17
UMG Recordings Inc.         Vanessa Williams        Save The Best For Last                  SR0000141365              8/20/91          4/21/92           7/28/14     12/12/17
UMG Recordings Inc.         Warlock                 True As Steel                           SR0000076943             10/27/86          11/6/86           1/19/16       3/5/16
UMG Recordings Inc.         will.i.am               Bang Bang                               SR0000720058              4/23/13            5/9/13          1/23/14       5/8/17
UMG Recordings Inc.         will.i.am               Scream & Shout                          SR0000712989             11/20/12         12/12/12           1/23/14       5/8/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Always                                  SR0000720427              4/16/13            5/9/13         11/23/13       5/1/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Area 52                                 SR0000720427              4/16/13            5/9/13         11/20/13     10/16/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Black Tongue                            SR0000332650              4/29/03            6/9/03          2/11/15      6/22/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Buried Alive                            SR0000720427              4/16/13            5/9/13         11/26/13       5/1/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Cheated Hearts                          SR0000392825              3/28/06          7/11/06           8/22/15      6/22/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Despair                                 SR0000720427              4/16/13            5/9/13         11/23/13       5/1/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Dragon Queen                            SR0000629251              3/10/09          4/10/09          10/20/15       4/5/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Dull Life                               SR0000629251              3/10/09          4/10/09          10/20/15       4/5/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Gold Lion                               SR0000388823               2/7/06            4/6/06           3/7/15      6/22/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Hysteric                                SR0000629251              3/10/09          4/10/09          10/28/15       4/5/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Isis                                    SR0000641805              7/24/07          8/13/07           8/22/15      6/22/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Little Shadow                           SR0000629251              3/10/09          4/10/09          10/20/15       4/6/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Mosquito                                SR0000720427              4/16/13            5/9/13         11/23/13     10/16/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Pin                                     SR0000332650              4/29/03            6/9/03          2/17/15      6/22/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Rich                                    SR0000332650              4/29/03            6/9/03          2/11/15      6/22/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Sacrilege                               SR0000720428               3/1/13            5/9/13         11/23/13     10/16/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Shame and Fortune                       SR0000629251              3/10/09          4/10/09          10/28/15       4/5/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Skeletons                               SR0000629251              3/10/09          4/10/09          10/20/15       4/5/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Slave                                   SR0000720427              4/16/13            5/9/13         11/23/13     10/16/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Soft Shock                              SR0000629251              3/10/09          4/10/09          10/20/15     10/16/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Subway                                  SR0000720427              4/16/13            5/9/13         11/23/13      8/18/16
UMG Recordings Inc.         Yeah Yeah Yeahs         These Paths                             SR0000720427              4/16/13            5/9/13         11/20/13     10/16/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Turn Into                               SR0000392825              3/28/06          7/11/06           8/22/15      6/22/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Under The Earth                         SR0000720427              4/16/13            5/9/13         11/26/13     10/16/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Way Out                                 SR0000392825              3/28/06          7/11/06           5/23/15      6/22/17
UMG Recordings Inc.         Yeah Yeah Yeahs         Wedding Song                            SR0000720427              4/16/13            5/9/13         11/23/13       5/1/16
UMG Recordings Inc.         Yeah Yeah Yeahs         Zero                                    SR0000628560              2/24/09          3/31/09            3/7/15       4/5/17
UMG Recordings Inc.         Yelawolf                Best Friend                             SR0000768228              4/14/15          5/12/15           5/23/15     11/21/15
UMG Recordings Inc.         Yelawolf                Get The **** Up!                        SR0000669545             11/22/10          12/6/10           6/30/16       7/1/16
UMG Recordings Inc.         Yelawolf                Love Is Not Enough                      SR0000669545             11/22/10          12/6/10          11/12/14      6/30/16
UMG Recordings Inc.         Yelawolf                Marijuana                               SR0000669545             11/22/10          12/6/10          11/12/14       7/1/16
UMG Recordings Inc.         Yelawolf                Outer Space                             SR0000768229              4/21/15          5/12/15           5/23/15     11/21/15
UMG Recordings Inc.         Yelawolf                Pop The Trunk                           SR0000661525             11/22/10          12/6/10          11/12/14     11/29/17
UMG Recordings Inc.         Yelawolf                That's What We On Now                   SR0000669545             11/22/10          12/6/10          11/12/14      6/30/16
UMG Recordings Inc.         Yelawolf                Trunk Muzik                             SR0000669545             11/22/10          12/6/10            2/2/15       7/1/16
UMG Recordings Inc.         YG                      Do It To Ya                             SR0000766210              3/18/14            4/8/14           4/2/14      7/27/17
UMG Recordings Inc.         Young Jeezy             Air Forces                              SR0000375159              7/26/05            9/6/05          3/12/16      3/22/18
UMG Recordings Inc.         Young Jeezy             Bang (Explicit)                         SR0000375159              7/26/05            9/6/05          4/19/16       3/1/18
UMG Recordings Inc.         Young Jeezy             Bottom Of The Map                       SR0000375159              7/26/05            9/6/05          4/19/16       3/1/18
UMG Recordings Inc.         Young Jeezy             Gangsta Music                           SR0000375159              7/26/05            9/6/05          3/12/16       3/1/18
UMG Recordings Inc.         Young Jeezy             Get Ya Mind Right                       SR0000375159              7/26/05            9/6/05          4/19/16       3/1/18
UMG Recordings Inc.         Young Jeezy             Go Crazy                                SR0000380918              8/30/05          10/7/05           4/19/16       3/1/18
UMG Recordings Inc.         Young Jeezy             Hustlaz Ambition                        SR0000616586               9/2/08          9/26/08           6/27/16     10/11/17
UMG Recordings Inc.         Young Jeezy             I Do                                    SR0000705221             12/20/11          1/17/12           3/18/14      11/4/17
UMG Recordings Inc.         Young Jeezy             Last Of A Dying Breed (Explicit)        SR0000375159              7/26/05            9/6/05           8/6/14      2/18/18


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             Plaintiff                        Artist                   Track Title                    Number           Date              Date             BeginDate    Enddate
UMG Recordings Inc.             Young Jeezy              Standing Ovation                        SR0000375159               7/26/05            9/6/05          4/19/16       3/1/18
UMG Recordings Inc.             Young Jeezy              Talk To Em                              SR0000375159               7/26/05            9/6/05          4/19/16       3/1/18
UMG Recordings Inc.             Young Jeezy              Tear It Up                              SR0000375159               7/26/05            9/6/05          7/10/15      2/19/18
UMG Recordings Inc.             Young Jeezy              Thug Motivation 101                     SR0000375159               7/26/05            9/6/05         11/11/15      3/22/18
UMG Recordings Inc.             Young Jeezy              Trap Star                               SR0000375159               7/26/05            9/6/05          3/12/16       3/1/18
Warner Bros. Records Inc.       Alanis Morissette        Perfect                                 SR0000213545               6/13/95            8/2/95          3/16/16      8/24/16
Warner Bros. Records Inc.       Alanis Morissette        You Oughta Know                         SR0000213545               6/13/95            8/2/95          7/18/15       2/3/18
Warner Bros. Records Inc.       Bat For Lashes           Laura                                   SR0000713135               7/24/12          11/26/12         12/21/13       5/9/15
Warner Bros. Records Inc.       Blake Shelton            My Eyes (feat. Gwen Sebastian)          SR0000721082               3/26/13           5/10/13          10/1/13      3/10/16
Warner Bros. Records Inc.       Blake Shelton            Ready To Roll                           SR0000693085               7/12/11           8/26/11          1/10/14      5/26/15
Warner Bros. Records Inc.       Deep Purple              Dealer                                  N-28621                   12/18/75            1/2/76          3/27/14     12/20/17
Warner Bros. Records Inc.       Deep Purple              Love Child                              N-28621                   12/18/75            1/2/76          3/27/14     12/20/17
Warner Bros. Records Inc.       Depeche Mode             A Question Of Time                      SR0000070735               3/31/86           4/18/86         11/10/15      3/18/18
Warner Bros. Records Inc.       Depeche Mode             Behind The Wheel                        SR0000087111               10/6/87           12/7/87         11/10/15      3/18/18
Warner Bros. Records Inc.       Depeche Mode             Enjoy the Silence                       SR0000117407               3/30/90            5/9/90         11/10/15      3/18/18
Warner Bros. Records Inc.       Depeche Mode             Everything Counts                       SR0000049161               9/12/83          10/18/83         10/20/15      3/18/18
Warner Bros. Records Inc.       Depeche Mode             I Feel You                              SR0000152019               3/23/93            4/8/93         10/20/15      3/18/18
Warner Bros. Records Inc.       Depeche Mode             Personal Jesus (7" Version)             SR0000107471               9/22/89          10/29/89         11/10/15      3/18/18
                                                         Walking In My Shoes (2006 Remastered
Warner Bros. Records Inc.       Depeche Mode             Version)                                SR0000152019               3/23/93            4/8/93         11/10/15      3/18/18
Warner Bros. Records Inc.       Eric Clapton             Come On In My Kitchen                   SR0000350862               3/22/04           4/27/04           7/3/14      4/30/18
Warner Bros. Records Inc.       Eric Clapton             I Want A Little Girl (Live)             SR0000321368               11/5/02           12/5/02          5/24/15      12/8/17
Warner Bros. Records Inc.       Eric Clapton             Me And The Devil Blues                  SR0000350862               3/22/04           4/27/04         11/21/14      4/30/18
                                                         Piece Of My Heart (Remastered Album
Warner Bros. Records Inc.       Faith Hill               Version)                                SR0000651459              10/2/07           8/15/08            2/4/16       3/7/18
Warner Bros. Records Inc.       Fleetwood Mac            Go Your Own Way                         N-39857                   2/10/77           2/11/77          11/10/15      3/20/18
Warner Bros. Records Inc.       Gorillaz                 New Genius (Brother)                    SR0000409208              3/26/01             1/4/07          8/23/13       1/9/18
                                                                                                                    SR0000146183 /    SR0000146183 /
                                                                                                                       1992-06-30,       1992-08-17,
                                                                                                 SR0000146183,      SR0000199317 /    SR0000199317 /
Warner Bros. Records Inc.       House Of Pain            Jump Around                             SR0000199317           1992-07-28        1994-10-11           4/11/14     12/11/17
Warner Bros. Records Inc.       Ice-T                    What Ya Wanna Do?                       SR0000109404             10/10/89           12/8/89           5/11/14      6/26/16
Warner Bros. Records Inc.       Jason Derulo             Bubblegum (feat. Tyga)                  SR0000763207              4/15/14           6/26/14            5/3/14      7/25/15
Warner Bros. Records Inc.       Jason Derulo             Wiggle                                  SR0000763207              4/15/14           6/26/14            5/3/14       3/7/17
Warner Bros. Records Inc.       Mastodon                 Divinations                             SR0000643231              3/23/09           5/19/09           6/16/14      1/29/17
Warner Bros. Records Inc.       Mastodon                 Ghost Of Karelia                        SR0000643231              3/23/09           5/19/09           6/16/14      1/29/17
Warner Bros. Records Inc.       Mastodon                 Oblivion                                SR0000643231              3/23/09           5/19/09           6/16/14      1/29/17
Warner Bros. Records Inc.       My Chemical Romance      Planetary (GO!) [Lags Gallows Remix]    SR0000681139             11/22/10           8/15/11           7/20/16      3/23/18
Warner Bros. Records Inc.       PARTYNEXTDOOR            Muse                                    SR0000764694                9/9/14          3/18/15           8/16/15       8/9/17
Warner Bros. Records Inc.       Rod Stewart              Baby Jane                               SR0000046171                6/6/83          7/20/83           8/10/15      2/20/18
Warner Bros. Records Inc.       Sex Pistols              Bodies                                  N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              Holidays In The Sun                     N 47290                  11/17/77          11/29/77           4/24/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              Liar                                    N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              New York                                N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              No Feelings                             N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              No Future (God Save the Queen)          N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              Pretty Vacant                           N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              Problems                                N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              Seventeen                               N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       Sex Pistols              Sub-Mission                             N 47290                  11/17/77          11/29/77           4/19/14     12/26/17
Warner Bros. Records Inc.       The Doobie Brothers      Minute By Minute (LP Version)           SR0000005958              12/7/78           1/15/79           1/13/14      8/13/17
Warner Bros. Records Inc.       The Goo Goo Dolls        Better Days                             SR0000614360             11/13/07          12/13/07           3/18/14      5/23/17
Warner Bros. Records Inc.       The Goo Goo Dolls        Black Balloon                           SR0000614360             11/13/07          12/13/07            2/7/14     10/10/17
Warner Bros. Records Inc.       The Goo Goo Dolls        Caught In The Storm                     SR0000734774                5/6/13          7/26/13           5/20/14      5/23/17
Warner Bros. Records Inc.       The Goo Goo Dolls        Iris                                    SR0000614360             11/13/07          12/13/07            2/7/14      3/12/18
Warner Bros. Records Inc.       The Goo Goo Dolls        Slide                                   SR0000246538              9/22/98           10/2/98            2/8/14     12/28/17
Warner Bros. Records Inc.       The Pretenders           Back On The Chain Gang                  SR0000051852              1/16/84             2/9/84          7/30/16       5/8/17
Warner Bros. Records Inc.       The Replacements         All Shook Down                          SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Asking Me Lies                          SR0000101222                2/1/89            3/8/89          2/24/15       7/9/16
Warner Bros. Records Inc.       The Replacements         Attitude                                SR0000123634              9/25/90          10/29/90           3/19/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Back To Back                            SR0000101222                2/1/89            3/8/89          2/24/15       7/9/16
Warner Bros. Records Inc.       The Replacements         Bastards Of Young                       SR0000066568             10/14/85           11/1/85           11/4/15       7/9/16
Warner Bros. Records Inc.       The Replacements         Bent Out Of Shape                       SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Dose Of Thunder                         SR0000066568             10/14/85           11/1/85           11/4/15       7/9/16
Warner Bros. Records Inc.       The Replacements         Happy Town                              SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Hold My Life                            SR0000066568             10/14/85           11/1/85           11/4/15      4/26/18
Warner Bros. Records Inc.       The Replacements         I. O. U.                                SR0000081634              4/28/87           5/21/87            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Kiss Me On The Bus                      SR0000066568             10/14/85           11/1/85           5/19/15       7/9/16
Warner Bros. Records Inc.       The Replacements         Lay It Down Clown                       SR0000066568             10/14/85           11/1/85           5/19/15      4/26/18
Warner Bros. Records Inc.       The Replacements         Left Of The Dial                        SR0000066568             10/14/85           11/1/85           11/4/15       7/9/16
Warner Bros. Records Inc.       The Replacements         Little Mascara                          SR0000066568             10/14/85           11/1/85           5/19/15      4/26/18
Warner Bros. Records Inc.       The Replacements         Merry Go Round                          SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         My Little Problem                       SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Never Mind                              SR0000081634              4/28/87           5/21/87            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Nightclub Jitters                       SR0000081634              4/28/87           5/21/87            6/9/16      4/26/18
Warner Bros. Records Inc.       The Replacements         Nobody                                  SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         One Wink At A Time                      SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Red Red Wine                            SR0000081634              4/28/87           5/21/87            6/9/16      4/26/18
Warner Bros. Records Inc.       The Replacements         Sadly Beautiful                         SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Shooting Dirty Pool                     SR0000081634              4/28/87           5/21/87            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Skyway                                  SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Someone Take The Wheel                  SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16
Warner Bros. Records Inc.       The Replacements         Swingin Party (LP Version)              SR0000066568             10/14/85           11/1/85           11/4/15       7/9/16
Warner Bros. Records Inc.       The Replacements         Talent Show                             SR0000101222                2/1/89            3/8/89          2/24/15       7/9/16
Warner Bros. Records Inc.       The Replacements         The Ledge                               SR0000081634              4/28/87           5/21/87            6/9/16      4/26/18
Warner Bros. Records Inc.       The Replacements         Valentine                               SR0000081634              4/28/87           5/21/87           2/24/15      4/26/18
Warner Bros. Records Inc.       The Replacements         When It Began                           SR0000123634              9/25/90          10/29/90            6/9/16       7/9/16

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                                                                                                                     Registration      Publication       Registration      Infringement Infringement
              Plaintiff                         Artist                               Track Title                      Number              Date              Date             BeginDate    Enddate
Warner Bros. Records Inc.        ZZ Top                              Apologies To Pearly                        N-42383                         7/3/72            4/8/77          2/22/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              Enjoy And Get It On                        N-39542                       12/28/76           2/11/77          2/22/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              Gimme All Your Lovin'                      SR0000045132                   3/28/83           5/24/83          2/15/12     12/31/17
Warner Bros. Records Inc.        ZZ Top                              Give It Up                                 SR0000123661                  10/16/90          10/29/90          1/20/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              Gun Love                                   SR0000178359                   4/14/92           3/15/93          2/19/12       2/4/18
Warner Bros. Records Inc.        ZZ Top                              I Need You Tonight                         SR0000045132                   3/28/83           5/24/83          2/22/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              Jesus Just Left Chicago (LP Version)       N-8355 (RE 860-132)             7/9/73           7/27/75          2/19/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              La Grange                                  N-8355 (RE 860-132)             7/9/73           7/27/75          1/19/12       3/4/18
Warner Bros. Records Inc.        ZZ Top                              Move Me On Down The Line (LP Version)      N-8355 (RE 860-132)             7/9/73           7/27/75          2/22/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              Pearl Necklace                             SR0000028347                   7/20/81           7/30/81          2/19/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              Sleeping Bag                               SR0000066959                  10/28/85          11/12/85          2/19/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              Tube Snake Boogie                          SR0000028347                   7/20/81           7/30/81          2/19/12     11/19/17
Warner Bros. Records Inc.        ZZ Top                              Tush                                       N-23927 (RE 888-489)           4/25/75           5/19/75          1/14/12     12/28/17
Warner Bros. Records Inc.        ZZ Top                              Viva Las Vegas                             SR0000178359                   4/14/92           3/15/93          1/20/12       2/4/18
Zomba Recording LLC              *NSYNC                              This I Promise You                         SR0000284595                   3/21/00           6/19/00          9/24/12       2/9/17
Zomba Recording LLC              A Tribe Called Quest                Description Of A Fool                      SR0000114854                   6/15/89            4/3/90          3/26/14      2/25/17
Zomba Recording LLC              Backstreet Boys                     Drowning                                   SR0000291879                   9/25/01           10/1/01          2/22/12     12/18/17
Zomba Recording LLC              Britney Spears                      Ooh Ooh Baby                               SR0000609604                  10/26/07           11/1/07           5/5/14      6/29/17
Zomba Recording LLC              Justin Timberlake                   Cry Me A River                             SR0000319834                   11/5/02          11/12/02          2/24/14      3/19/18
Zomba Recording LLC              Justin Timberlake                   Damn Girl (Explicit)                       SR0000319834                   11/5/02          11/12/02          8/15/13      2/20/18
Zomba Recording LLC              Justin Timberlake                   Like I Love You                            SR0000321888                   8/27/02           10/7/02         11/23/15      2/20/18
Zomba Recording LLC              Justin Timberlake                   Rock Your Body                             SR0000319834                   11/5/02          11/12/02         11/23/15      2/20/18
                                 Justin Timberlake
Zomba Recording LLC              (feat. Timbaland & Three 6 Mafia)   Chop Me Up                                 SR0000395943                   8/30/06          10/23/06          10/6/13      3/16/17
Zomba Recording LLC              Usher                               Do It To Me                                SR0000354784                   3/23/04            6/1/04         11/16/15      8/31/17
Zomba Recording LLC              Usher                               Seduction                                  SR0000352165                   10/5/04           12/6/04         11/16/15      3/10/18
Zomba Recording LLC              Usher                               Superstar                                  SR0000354784                   3/23/04            6/1/04         11/16/15      2/13/18




SOUND RECORDINGS FOR WHICH PLAINTIFFS DO NOT SEEK STATUTORY DAMAGES

                                                                                                                     Registration      Publication       Registration      Infringement Infringement
              Plaintiff                         Artist                               Track Title                      Number              Date              Date             BeginDate    Enddate
                                                                                                                                       SR0000780790 /    SR0000780790 /
                                                                                                                                          2015-06-23,       2016-03-24,
                                                                                                                SR0000780790,          SR0000781231 /    SR0000781231 /
Atlantic Recording Corporation   Trey Songz                          About You                                  SR0000781231               2015-06-23        2016-03-24           8/23/15       7/9/16
Arista Music                     Foo Fighters                        The Pretender                              SR0000748786                    8/7/07            4/2/14           5/8/12       2/4/18
                                                                                                                                       SR0000780218 /    SR0000780218 /
                                                                                                                                          2014-08-19,       2015-04-13,
                                                                                                                SR0000780218,          SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation   Wiz Khalifa                         KK (feat. Project Pat Juicy J)             SR0000780234               2014-08-19        2015-04-13           11/6/14     12/31/17
                                                                                                                                       SR0000780218 /    SR0000780218 /
                                                                                                                                          2014-08-19,       2015-04-13,
                                                                                                                  SR0000780218,        SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation   Wiz Khalifa                         Still Down (feat. Chevy Woods Ty Dolla $ign) SR0000780234             2014-08-19        2015-04-13           2/21/15     12/31/17
                                                                                                                                       SR0000780218 /    SR0000780218 /
                                                                                                                                          2014-08-19,       2015-04-13,
                                                                                                                SR0000780218,          SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation   Wiz Khalifa                         The Sleaze                                 SR0000780234               2014-08-19        2015-04-13           11/6/14     12/31/17
                                                                                                                                       SR0000780218 /    SR0000780218 /
                                                                                                                                          2014-08-19,       2015-04-13,
                                                                                                                SR0000780218,          SR0000780234 /    SR0000780234 /
Atlantic Recording Corporation   Wiz Khalifa                         True Colors (feat. Nicki Minaj)            SR0000780234               2014-08-19        2015-04-13           11/6/14     12/31/17
Capitol Records LLC              Jennifer Lopez                      Same Girl                                  SR0000750734                  6/17/14           7/11/14           6/16/14       3/7/17
Capitol Records LLC              Katy Perry                          By The Grace Of God                        SR0000734382                 10/22/13          10/28/13          10/20/13      6/26/17
Capitol Records LLC              Katy Perry                          Choose Your Battles                        SR0000734382                 10/22/13          10/28/13          10/20/13      6/26/17
Capitol Records LLC              Katy Perry                          Dark Horse                                 SR0000734382                 10/22/13          10/28/13           10/1/13      7/12/17
Sony Music Entertainment         John Legend                         The Beginning...                           SR0000732357                  5/14/13           10/1/13           9/25/13       4/4/17
Sony Music Entertainment         John Legend                         Who Do We Think We Are                     SR0000732358                  3/25/13           10/1/13           9/25/13      8/22/17
Sony Music Entertainment         One Direction                       Ready to Run                               SR0000766240                  11/6/14           2/12/15          11/20/14      9/17/15




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